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                                               09/07/23       ID: CHC202252660
                                                          20:04:25    Exhibit Ex. I    Pg
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CHANA RINGEL AND CR
LAKEWOOD, INDIVIDUALLY,                        SUPERIOR COURT OF NEW JERSEY
AND DERIVATIVELY ON BEHALF                   CHANCERY DIVISION: OCEAN COUNTY
OF BCR LAKEWOOD HOLDINGS,
LLC,                                                          Civil Action

      Plaintiffs,

             vs.

BR LAKEWOOD, LLC AND                                 Docket No. OCN-C-127-15
BENJAMIN RINGEL,

      Defendants,

CHANA RINGEL,
INDIVIDUALLY, AND
DERIVATIVELY ON BEHALF OF
BCR OAKRIDGE, LLC,                                   Docket No. OCN-C-152-16

      Plaintiffs,                                       ORDER TO SHOW CAUSE

             vs.

BENJAMIN RINGEL, SUNSET
HILL OAKRIDGE PLAZA, LLC,
JOHN DOES 1-10, AND ABC
CORPORATION 1-10,

      Defendants.



      THIS MATTER HAVING BEEN OPEN TO THE COURT by Defendants

Benjamin Ringel, BR Lakewood, LLC, and Sunset Hill Oakridge Plaza,

LLC   (“Defendants”),        by   and    through     their     counsel,      Patterson

Belknap Webb & Tyler LLP (Peter C. Harvey, Esq., appearing) seeking

relief pursuant to and R. 4:1:10-3 by way of Order to Show Cause,

and   it   appearing      that     Chana    Ringel      and    CR   Lakewood,         LLC,
       OCN-C-000127-15
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                          09/07/2306:11:43 PM Pg
                                      Entered    2 of 3 Trans
                                               09/07/23       ID: CHC202252660
                                                          20:04:25    Exhibit Ex. I   Pg
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individually, and derivatively on behalf of BCR Lakewood Holdings,

LLC and BCR Oakridge, LLC (“Plaintiffs”) have notice of this

application, and based upon the pleadings and proceedings had to

date herein; and good cause having been shown;


     It is on this _________ day of March 2022:


     ORDERED that Plaintiffs appear and show cause before the

Superior Court at the Ocean County Courthouse in Toms River, New

Jersey, on March __, 2022, at 9:00 o’clock in the forenoon or as

soon thereafter as counsel can be heard, why an order should not

be issued:


     1. Ordering that Plaintiffs Chana Ringel and CR Lakewood,
        LLC, individually, and derivatively on behalf of BCR
        Lakewood Holdings, LLC and BCR Oakridge, LLC
        (“Plaintiffs”) withdraw the action filed in New York
        Supreme Court on May 30, 2021 (the “New York Action”);

     2. Ordering and declaring that, having filed the New York
        Action, Plaintiffs have breached and violated the Term
        Sheet, dated October 26, 2020, memorializing the parties’
        settlement in this case;

     3. Ordering and declaring that, as a result of such breach,
        the Term Sheet is now null and void;

     4. Ordering that the Pinewood Property shall be transferred
        to Defendant BR Lakewood, LLC, who shall purchase Chana
        Ringel’s share in the Pinewood Property for the amount
        proposed in Defendants’ letter to Plaintiffs, dated
        January 7, 2022;




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     5. Ordering that Plaintiffs shall pay Defendants their
        reasonable attorneys’ fees and costs incurred in
        connection with enforcing the Term Sheet and defending
        against the improperly filed New York Action, in an
        amount to be determined by the Court; and

     6. Granting such other relief as the Court deems equitable
        and just; and it is further
     ORDERED that Plaintiffs shall file any opposition papers to

Defendants’ application no later than March __, 2022; and


     ORDERED that Defendants shall file any reply papers no

later than ___________, 2022.




                                 ______________________________________
                                 HON. FRANCIS R. HODGSON, JR.
                                 Presiding Judge
                                 Chancery Division




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CHANA RINGEL AND CR
LAKEWOOD, INDIVIDUALLY,                       SUPERIOR COURT OF NEW JERSEY
AND DERIVATIVELY ON BEHALF                   CHANCERY DIVISION:OCEAN COUNTY
OF BCR LAKEWOOD HOLDINGS,
LLC,                                                         Civil Action

       Plaintiffs,

              vs.

BR LAKEWOOD, LLC AND                              Docket No. OCN-C-127-15
BENJAMIN RINGEL,

       Defendants,

CHANA RINGEL,
INDIVIDUALLY, AND
DERIVATIVELY ON BEHALF OF
BCR OAKRIDGE, LLC,                                   Docket No. OCN-C-152-16

       Plaintiffs,                             CERTIFICATION OF PETER C. HARVEY
                                                   IN SUPPORT OF DEFENDANTS’
              vs.                                    ORDER TO SHOW CAUSE

BENJAMIN RINGEL, SUNSET
HILL OAKRIDGE PLAZA, LLC,
JOHN DOES 1-10, AND ABC
CORPORATION 1-10,

       Defendants.



       I, PETER C. HARVEY, being of full age, certify as follows:

       1.     I am an attorney at law of the State of New Jersey and

a partner at the law firm of Patterson Belknap Webb & Tyler LLP,

counsel for Defendants-Appellants Benjamin Ringel, BR Lakewood,

LLC,    and    Sunset      Hill     Oakridge      Plaza,      LLC     (collectively,

“Defendants”) in connection with the above-captioned matter and

the related, pending appeal.                I submit this Certification in
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                                       Entered  2 of 274 Trans ID: CHC202252660
                                                          20:04:25    Exhibit Ex. I   Pg
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support of Defendants’ Order to Show Cause, pursuant to Rule 4:52.

I am familiar with the facts set forth in this Certification and

documents attached hereto.

     2.     Attached hereto as EXHIBIT A is a true and accurate copy

of the trial docket of Case Number OCN-C-152-16.

     3.     Attached hereto as EXHIBIT B is a true and accurate copy

of Defendants’ Motion to Enforce the Settlement, dated March 10,

2020.

     4.     Attached hereto as EXHIBIT C is a true and accurate copy

of this Court’s Order, dated May 8, 2020.

     5.     Attached hereto as EXHIBIT D is a true and accurate copy

of the Term Sheet executed by both parties, dated October 26, 2020.

     6.     Attached hereto as EXHIBIT E is a true and accurate copy

of this Court’s Order, dated August 25, 2021.

     7.     Attached hereto as EXHIBIT F is a true and accurate copy

of Plaintiffs’ Order to Show Cause, dated August 11, 2021.

     8.     Attached hereto as EXHIBIT G is a true and accurate copy

of Defendants’ Opposition to Plaintiffs’ Order to Show Cause and

in support of Defendants’ Cross-Motion for an Order declaring BR

Lakewood LLC the highest bidder, dated August 17, 2021.

     9.     Attached hereto as EXHIBIT H is a true and accurate copy

of Defendants’ Notice of Docketing, dated October 7, 2021.




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     10.    Attached hereto as EXHIBIT I is a true and accurate copy

of proof of service of Defendants-Appellants’ opening brief in the

Appellate Division, dated January 20, 2022.

     11.    Attached hereto as EXHIBIT J is a true and accurate copy

of Defendants’ Motion for a Stay of Proceedings Pending Appeal,

dated January 26, 2022.

     12.    Attached hereto as EXHIBIT K is a true and accurate copy

of the Brief on Behalf of Plaintiffs in support of Order to Show

Cause, dated January 27, 2022.

     13.    Attached hereto as EXHIBIT L is a true and accurate copy

of the letter from Peter Harvey to Efrem Schwalb and Matthew

Fiorovanti, dated January 7, 2022.

     14.    Attached hereto as EXHIBIT M is a true and accurate copy

of Rushmore Capital, LLC’s Order to Show Cause, dated January 19,

2022.

     I hereby certify that the above statements made by me are

true.    I am aware that if any of the above statements made by me

are willfully false, I am subject to punishment.

DATED:   March 9, 2022

                                                      /s/ Peter C. Harvey____

                                                             Peter C. Harvey

                                        PATTERSON BELKNAP WEBB & TYLER LLP
                                        1133 Avenue of Americans
                                        New York, NY 10036-6710
                                        Tel: (212) 336-2000
                                        Fax: (212) 336-2222
                                        E-Mail: pcharvey@pbwt.com
                                           3
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                                              Chancery Case Summary
Case Number: OCN C-000152-16
Case Caption: Ringel Vs Ringel
Court: General Equity                         Venue: Ocean                        Case Initiation Date: 07/05/2016
Case Type: Other General Equity               Case Status: Closed
Case Track:                                   Judge: Francis Hodgson

Plaintiffs
Chana Ringel AKA Bcr Oakridge Llc
Party Description: Individual                                                     Attorney Name: Efrem Tobias Schwalb
Address Line 1: 225 West 83Rd Street                    Address Line 2: Apt 3T    Attorney Bar ID: 031261995

City: New York                   State: NY              Zip: 10024                Phone:

Attorney Email: ESCHWALB@KOFFSKYSCHWALB.COM
Benjamin Ringel AKA Bcr Oakridge Llc
Party Description: Individual                                                     Attorney Name:
Address Line 1:                                         Address Line 2:           Attorney Bar ID:
City:                            State:                 Zip: 00000                Phone:
Attorney Email:
Defendants
Sunset Hill Oakridgeplaza Llc
Party Description: Corp                                                           Attorney Name: Peter Charles Harvey
Address Line 1: 90 Merrall Drive                        Address Line 2:           Attorney Bar ID: 035131989

City: Lawrence                   State: NY              Zip: 11559                Phone:

Attorney Email: PCHARVEY@PBWT.COM
Benjamin Ringel
Party Description: Individual                                                     Attorney Name: Peter Charles Harvey
Address Line 1: 90 Merrall Drive                        Address Line 2:           Attorney Bar ID: 035131989

City: Lawrence                   State: NY              Zip: 11559                Phone:

Attorney Email: PCHARVEY@PBWT.COM
Chana Ringel
Party Description: Individual                                                     Attorney Name: Efrem Tobias Schwalb
Address Line 1:                                         Address Line 2:           Attorney Bar ID: 031261995

City:                            State:                 Zip: 00000                Phone:

Attorney Email: ESCHWALB@KOFFSKYSCHWALB.COM
Abc Corp 1-10
Party Description: Fictitious                                                     Attorney Name:
Address Line 1:                                         Address Line 2:           Attorney Bar ID:
City:                            State:                 Zip: 00000                Phone:
Attorney Email:
John Does 1-10
Party Description: Fictitious                                                     Attorney Name:
Address Line 1:                                         Address Line 2:           Attorney Bar ID:
City:                            State:                 Zip: 00000                Phone:
Attorney Email:
Jdwc Llc
Party Description: Corp                                                           Attorney Name: Donald F Campbell
Address Line 1:                                         Address Line 2:           Attorney Bar ID: 030402001

City:                            State:                 Zip: 00000                Phone:
                   OCN-C-000127-15
             23-22655              03/09/2022
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                                                    Entered  6 of 274 Trans ID: CHC202252660
                                                                       20:04:25    Exhibit Ex. I                       Pg
                                                  10 of 374
Attorney Email: DCAMPBELL@GHCLAW.COM
Rushmore Capital Llc
Party Description: Corp                                                                        Attorney Name: Angelo Anthony Stio
Address Line 1:                                              Address Line 2:                   Attorney Bar ID: 014791997

City:                           State:                       Zip: 00000                        Phone:

Attorney Email: ANGELO.STIO@TROUTMAN.COM

Case Proceeding
Created       Scheduled   Court                                                                         Proceeding
Date          Time        Room      Judge Name          Proceeding Description   Motion Type            Status          Motion Status

                                                                                 MOTION FOR ORDER
07/05/2016    09:00       018       FRANCIS   HODGSON   MOTION HEARING           TO SHOW CAUSE          RSCHED
                                                                                 HEARING
07/12/2016    02:00       018       FRANCIS   HODGSON   PROCEEDING                                      COMPLETED
                                                                                 MOTION FOR ORDER
08/19/2016    09:00       018       FRANCIS   HODGSON   MOTION HEARING           TO SHOW CAUSE          COMPLETED       CM
                                                                                 HEARING
10/14/2016    09:00       018       FRANCIS   HODGSON   MOTION HEARING           MOTION TO RELIEVE      COMPLETED       CM
                                                                                 COUNSEL
                                                        CASE MANAGEMENT
11/28/2016    09:00       018       FRANCIS   HODGSON   CONFERENCE                                      ADJ DISC INC

12/05/2016    09:00       018       FRANCIS   HODGSON   CASE MANAGEMENT                                 ADJ NO
                                                        CONFERENCE                                      JUDGE
                                                        CASE MANAGEMENT
01/09/2017    09:00       018       FRANCIS   HODGSON   CONFERENCE                                      COMPLETED
02/17/2017    09:00       018       FRANCIS   HODGSON   MOTION HEARING                                  ADJOURNED       AJ
03/03/2017    09:00       018       FRANCIS   HODGSON   MOTION HEARING                                  CANCEL          CC
04/28/2017    09:00       018       FRANCIS   HODGSON   MOTION HEARING                                  COMPLETED       CM
05/01/2017    11:00       018       FRANCIS   HODGSON   TRIAL READINESS                                 RSCHED
                                                        CONFERENCE
07/31/2017    11:00       018       FRANCIS   HODGSON   CASE MANAGEMENT                                 COMPLETED
                                                        CONFERENCE
08/04/2017    09:00       018       FRANCIS   HODGSON   MOTION HEARING                                  RSCHED
08/18/2017    09:00       018       FRANCIS   HODGSON   MOTION HEARING                                  ADJOURNED       AJ
09/01/2017    09:00       018       FRANCIS   HODGSON   MOTION HEARING                                  ADJOURNED       AJ
09/15/2017    09:00       018       FRANCIS   HODGSON   MOTION HEARING                                  COMPLETED       CM
11/28/2017    11:00       018       FRANCIS   HODGSON   CASE MANAGEMENT                                 COMPLETED
                                                        CONFERENCE
02/02/2018    09:00       018       FRANCIS   HODGSON   CASE MANAGEMENT                                 RSCHED
                                                        CONFERENCE
                                                        CASE MANAGEMENT
02/16/2018    09:00       018       FRANCIS   HODGSON   CONFERENCE                                      RSCHED

03/02/2018    09:00       018       FRANCIS   HODGSON   CASE MANAGEMENT                                 COMPLETED
                                                        CONFERENCE
                                                                                 MISCELLANEOUS
06/08/2018    09:00       018       FRANCIS   HODGSON   MOTION HEARING           MOTION                 ADJOURNED       AJ

06/22/2018    09:00       018       FRANCIS   HODGSON   MOTION HEARING           MISCELLANEOUS          COMPLETED       CM
                                                                                 MOTION
06/22/2018    09:00       018       FRANCIS   HODGSON   MOTION HEARING                                  COMPLETED       CM
                                                                                 MOTION TO STRIKE
08/17/2018    09:00       018       FRANCIS   HODGSON   MOTION HEARING           ANSWER                 ADJOURNED       AJ

08/20/2018    09:00       018       FRANCIS   HODGSON   CASE MANAGEMENT                                 RSCHED
                                                        CONFERENCE
                                                                                 MOTION TO STRIKE
09/28/2018    09:00       018       FRANCIS   HODGSON   MOTION HEARING           ANSWER                 ADJOURNED       AJ

10/09/2018    09:00       018       FRANCIS   HODGSON   CASE MANAGEMENT                                 RSCHED
                                                        CONFERENCE
                                                                                 MOTION TO STRIKE
10/26/2018    09:00       018       FRANCIS   HODGSON   MOTION HEARING           ANSWER                 COMPLETED       CM

11/05/2018    09:00       018       FRANCIS   HODGSON   CASE MANAGEMENT                                 CANCEL
                                                        CONFERENCE
11/30/2018    09:00       018       FRANCIS   HODGSON   MOTION HEARING                                  ADJOURNED       AJ
                                                                                 MISCELLANEOUS
11/30/2018    09:00       018       FRANCIS   HODGSON   MOTION HEARING           MOTION                 ADJOURNED       AJ
11/30/2018    09:00       018       FRANCIS   HODGSON   MOTION HEARING                                  ADJOURNED       AJ
12/07/2018    09:00       018       FRANCIS   HODGSON   MOTION HEARING                                  COMPLETED       CM
12/07/2018    09:00       018       FRANCIS   HODGSON   MOTION HEARING           MISCELLANEOUS          COMPLETED       CM
                                                                                 MOTION
12/07/2018    09:00       018       FRANCIS   HODGSON   MOTION HEARING                                  COMPLETED       CM
12/07/2018    09:00       018       FRANCIS   HODGSON   MOTION HEARING                                  COMPLETED       CM
12/07/2018    09:00       018       FRANCIS   HODGSON   MOTION HEARING                                  COMPLETED       CM
01/25/2019    09:00       018       FRANCIS   HODGSON   MOTION HEARING                                  COMPLETED       CM
                   OCN-C-000127-15
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                                                                                         MOTION TO
04/26/2019     09:00           018     FRANCIS   HODGSON       MOTION HEARING            WITHDRAW AS               COMPLETED        CM
                                                                                         COUNSEL
                                                               TRIAL READINESS
05/06/2019     10:00           018     FRANCIS   HODGSON       CONFERENCE                                          COMPLETED

06/17/2019     01:30           018     FRANCIS   HODGSON       CASE MANAGEMENT                                     COMPLETED
                                                               CONFERENCE
06/25/2019     09:00           018     FRANCIS   HODGSON       TRIAL                                               RSCHED
07/01/2019     01:30           025     FRANCIS   HODGSON       CASE MANAGEMENT                                     COMPLETED
                                                               CONFERENCE
07/01/2019     09:00           025     FRANCIS   HODGSON       CASE MANAGEMENT                                     RSCHED
                                                               CONFERENCE
07/23/2019     09:00           025     FRANCIS   HODGSON       TRIAL                                               RSCHED
09/27/2019     08:59           025     FRANCIS   HODGSON       MOTION HEARING            MOTION FOR                ADJOURNED        AJ
                                                                                         SUMMARY JUDGMENT
10/11/2019     08:59           025     FRANCIS   HODGSON       MOTION HEARING            MOTION FOR                COMPLETED        CM
                                                                                         SUMMARY JUDGMENT
10/28/2019     01:30           025     FRANCIS   HODGSON       TRIAL                                               RSCHED
10/29/2019     09:00           025     FRANCIS   HODGSON       TRIAL                                               RSCHED
02/21/2020     09:00           025     FRANCIS   HODGSON       TRIAL                                               RSCHED
02/25/2020     09:00           025     FRANCIS   HODGSON       TRIAL                                               ADJRN ILL
03/27/2020     09:00           025     FRANCIS   HODGSON       MOTION HEARING                                      ADJOURNED        AJ
04/01/2020     09:30           025     FRANCIS   HODGSON       TRIAL                                               CANCEL
04/24/2020     09:00           025     FRANCIS   HODGSON       MOTION HEARING                                      ADJOURNED        AJ
05/08/2020     09:00           025     FRANCIS   HODGSON       MOTION HEARING                                      COMPLETED        CM
07/24/2020     09:00           REMO    FRANCIS   HODGSON       MOTION HEARING                                      COMPLETED        CM
                               T
                               REMO
07/24/2020     09:00           T       FRANCIS   HODGSON       MOTION HEARING                                      COMPLETED        CM

10/16/2020     09:00           REMO    FRANCIS   HODGSON       MOTION HEARING                                      COMPLETED        CM
                               T
                                                               CASE MANAGEMENT
01/29/2021     10:30           VIDEO   FRANCIS   HODGSON       CONFERENCE                                          COMPLETED

05/20/2021     11:30           VIDEO   FRANCIS   HODGSON       CASE MANAGEMENT                                     COMPLETED
                                                               CONFERENCE
06/04/2021     09:00           VIDEO   FRANCIS   HODGSON       MOTION HEARING                                      COMPLETED        CM
                                                               CASE MANAGEMENT
07/07/2021     02:00           VIDEO   FRANCIS   HODGSON       CONFERENCE                                          CANCEL
                                                                                         MOTION FOR ORDER
01/20/2022     10:00           VIDEO   FRANCIS   HODGSON       MOTION HEARING            TO SHOW CAUSE             ADJOURNED        AJ
                                                                                         HEARING
                                                                                         MOTION FOR ORDER
01/28/2022     10:00           VIDEO   FRANCIS   HODGSON       MOTION HEARING            TO SHOW CAUSE             ADJOURNED        AJ
                                                                                         HEARING
                                                                                         MOTION FOR ORDER
02/04/2022     09:00           VIDEO   FRANCIS   HODGSON       MOTION HEARING            TO SHOW CAUSE             COMPLETED        CM
                                                                                         HEARING
                                                                                         MOTION FOR ORDER
02/04/2022     09:00           VIDEO   FRANCIS   HODGSON       MOTION HEARING            TO SHOW CAUSE             COMPLETED        CM
                                                                                         HEARING
03/11/2022     09:00           REMO    FRANCIS   HODGSON       MOTION HEARING                                      RSCHED
                               T
03/11/2022     09:00           VIDEO   FRANCIS   HODGSON       MOTION HEARING                                      PENDING          PG

Case Actions
Filed Date       Docket Text                                                                      Transaction ID             Entry Date
                 Letter/Correspondence submitted by Aurora Cassirer of TROUTMAN PEPPER
09/10/2021       HAMILTON SANDERS LLP. JEDS EF-944681                                             CHC2021178692              09/10/2021
09/13/2021       Miscellaneous Order submitted by Court                                           CHC2021180599              09/14/2021
05/14/2020       Correspondence uploaded by Case Management Staff submitted by MATTHEW            CHC2020135850              06/03/2020
                 NICHOLAS FIOROVANTI
07/07/2020       Motion To Reconsider Order uploaded by Case Management Staff submitted by        CHC2020176962              07/10/2020
                 BENJAMIN RINGEL
07/16/2020       Motion For Cross Motion uploaded by Case Management Staff submitted by MATTHEW   CHC2020181660              07/20/2020
                 NICHOLAS FIOROVANTI
07/20/2020       Objection To Motion uploaded by Case Management Staff submitted by BENJAMIN      CHC2020182184              07/20/2020
                 RINGEL
09/09/2020       Letter/Correspondence submitted by BRUCE H NAGEL of NAGEL RICE LLP. JEDS EF-     CHC2020215116              09/09/2020
                 219405
09/04/2020       Other Court Initiated Order submitted by Court                                   CHC2020216888              09/11/2020
09/04/2020       Miscellaneous Order submitted by Court                                           CHC2020216893              09/11/2020
09/04/2020       Miscellaneous Order uploaded by Case Management Staff submitted by MATTHEW       CHC2020216898              09/11/2020
                 NICHOLAS FIOROVANTI
09/11/2020       Motion submitted by BRUCE H NAGEL of NAGEL RICE LLP. JEDS EF-226038              CHC2020217260              09/11/2020
10/01/2020       Brief/Letter Brief submitted by MATTHEW NICHOLAS FIOROVANTI of GIORDANO          CHC2020232118              10/01/2020
                 HALLERAN & CIESLA, PC. JEDS EF-270732
                   OCN-C-000127-15
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                       Doc 2-9 Filed          06:11:43
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                                                    Entered  8 of 274 Trans ID: CHC202252660
                                                                       20:04:25    Exhibit Ex. I                        Pg
                                                  12 of 374
10/12/2020     Brief/Letter Brief submitted by BRUCE H NAGEL of NAGEL RICE LLP. JEDS EF-291060     CHC2020238461   10/12/2020
               Order To Reconsider Order uploaded by Case Management Staff submitted by
10/16/2020     BENJAMIN RINGEL                                                                     CHC2020242206   10/16/2020

01/28/2021     Letter/Correspondence submitted by MATTHEW NICHOLAS FIOROVANTI of                   CHC202118228    01/28/2021
               GIORDANO HALLERAN & CIESLA, PC. JEDS EF-509530
02/11/2021     Letter/Correspondence submitted by MATTHEW NICHOLAS FIOROVANTI of                   CHC202127633    02/11/2021
               GIORDANO HALLERAN & CIESLA, PC. JEDS EF-535833
04/20/2021     Letter/Correspondence submitted by Michael J Canning of GIORDANO HALLERAN &         CHC202177453    04/20/2021
               CIESLA, PC. JEDS EF-675003
04/22/2021     Correspondence uploaded by Case Management Staff submitted by BENJAMIN RINGEL       CHC202181050    04/26/2021
05/14/2021     Letter/Correspondence submitted by Matthew Nicholas Fiorovanti of GIORDANO          CHC202195769    05/14/2021
               HALLERAN & CIESLA, PC. JEDS EF-722742
05/14/2021     Correspondence uploaded by Case Management Staff submitted by BENJAMIN RINGEL       CHC202196699    05/17/2021
05/19/2021     Letter/Correspondence submitted by Matthew Nicholas Fiorovanti of GIORDANO          CHC202199064    05/19/2021
               HALLERAN & CIESLA, PC. JEDS EF-732056
05/19/2021     Letter/Correspondence submitted by Matthew Nicholas Fiorovanti of GIORDANO          CHC202199105    05/19/2021
               HALLERAN & CIESLA, PC. JEDS EF-732163
05/20/2021     Other Court Initiated Order submitted by Court                                      CHC202199679    05/20/2021
05/26/2021     Motion submitted by Matthew Nicholas Fiorovanti of GIORDANO HALLERAN & CIESLA,      CHC2021105976   05/26/2021
               PC. JEDS EF-745674
06/02/2021     Letter/Correspondence submitted by Frederick R Gruen of GRUEN & GOLDSTEIN. JEDS     CHC2021109596   06/02/2021
               EF-753954
06/03/2021     Letter/Correspondence submitted by Matthew Nicholas Fiorovanti of GIORDANO          CHC2021110961   06/03/2021
               HALLERAN & CIESLA, PC. JEDS EF-757173
06/03/2021     Letter/Correspondence submitted by Frederick R Gruen of GRUEN & GOLDSTEIN. JEDS     CHC2021111035   06/03/2021
               EF-757387
06/03/2021     Correspondence submitted by Court                                                   CHC2021113204   06/07/2021
06/04/2021     Other Court Initiated Order submitted by Court                                      CHC2021114008   06/07/2021
               Letter/Correspondence submitted by Bruce H Nagel of NAGEL RICE LLP. JEDS EF-
06/08/2021     770162                                                                              CHC2021115056   06/08/2021

06/09/2021     Letter/Correspondence submitted by Matthew Nicholas Fiorovanti of GIORDANO          CHC2021115353   06/09/2021
               HALLERAN & CIESLA, PC. JEDS EF-771074
06/09/2021     Correspondence submitted by Court                                                   CHC2021115656   06/09/2021
               Letter/Correspondence submitted by Matthew Nicholas Fiorovanti of GIORDANO
07/01/2021     HALLERAN & CIESLA, PC. JEDS EF-811801                                               CHC2021130677   07/01/2021
07/19/2021     Brief/Letter Brief submitted by Bruce H Nagel of NAGEL RICE LLP. JEDS EF-840922     CHC2021140835   07/19/2021
07/19/2021     Objection to motion submitted by Matthew Nicholas Fiorovanti of GIORDANO HALLERAN   CHC2021141218   07/19/2021
               & CIESLA, PC. JEDS EF-842309
08/03/2021     Correspondence submitted by Court                                                   CHC2021155484   08/09/2021
               Order to Show Cause submitted by Matthew Nicholas Fiorovanti of GIORDANO
08/11/2021     HALLERAN & CIESLA, PC. JEDS EF-888164                                               CHC2021157343   08/11/2021
08/17/2021     Objection to motion submitted by Bruce H Nagel of NAGEL RICE LLP. JEDS EF-898832    CHC2021161062   08/17/2021
08/17/2021     Motion submitted by Bruce H Nagel of NAGEL RICE LLP. JEDS EF-898870                 CHC2021161085   08/17/2021
08/17/2021     Motion submitted by Bruce H Nagel of NAGEL RICE LLP. JEDS EF-898792                 CHC2021161183   08/17/2021
08/20/2021     Reply brief submitted by Aurora Cassirer of TROUTMAN PEPPER HAMILTON                CHC2021164470   08/20/2021
               SANDERS LLP. JEDS EF-907121
08/20/2021     Reply brief submitted by Matthew Nicholas Fiorovanti of GIORDANO HALLERAN &         CHC2021164489   08/20/2021
               CIESLA, PC. JEDS EF-907237
08/23/2021     Order To Show Cause uploaded by Case Management Staff submitted by MATTHEW          CHC2021166700   08/24/2021
               NICHOLAS FIOROVANTI
08/23/2021     Miscellaneous Order uploaded by Case Management Staff submitted by BRUCE H          CHC2021166738   08/24/2021
               NAGEL
08/25/2021     Proposed Form of Order submitted by Matthew Nicholas Fiorovanti of GIORDANO         CHC2021167647   08/25/2021
               HALLERAN & CIESLA, PC. JEDS EF-915131
11/05/2021     Miscellaneous Order submitted by Court                                              CHC2021221459   11/09/2021
01/19/2022     Notice of Appearance submitted by Angelo Anthony Stio of TROUTMAN PEPPER            CHC202214073    01/19/2022
               HAMILTON SANDERS LLP. JEDS EF-1154518
01/19/2022     Order to Show Cause submitted by Angelo Anthony Stio of TROUTMAN PEPPER             CHC202214075    01/19/2022
               HAMILTON SANDERS LLP. JEDS EF-1154523
01/25/2022     Notice of Appearance submitted by Donald F Campbell of GIORDANO HALLERAN &          CHC202218399    01/25/2022
               CIESLA, PC. JEDS EF-1163237
01/25/2022     Notice of Appearance submitted by Steven W Ward of GIORDANO HALLERAN &              CHC202218419    01/25/2022
               CIESLA, PC. JEDS EF-1163336
01/26/2022     Notice of Appearance submitted by Peter Charles Harvey of PATTERSON BELKNAP         CHC202219677    01/26/2022
               WEBB & TYLER LLP. JEDS EF-1166146
01/26/2022     Motion submitted by Peter Charles Harvey of PATTERSON BELKNAP WEBB & TYLER          CHC202219678    01/26/2022
               LLP. JEDS EF-1166148
01/27/2022     Order to Show Cause submitted by Matthew Nicholas Fiorovanti of GIORDANO            CHC202220640    01/27/2022
               HALLERAN & CIESLA, PC. JEDS EF-1167907
               Letter/Correspondence submitted by Matthew Nicholas Fiorovanti of GIORDANO
01/28/2022     HALLERAN & CIESLA, PC. JEDS EF-1168657                                              CHC202221154    01/28/2022

01/28/2022     Letter/Correspondence submitted by Bruce H Nagel of NAGEL RICE LLP. JEDS EF-        CHC202221499    01/28/2022
               1169310
               Order To Show Cause uploaded by Case Management Staff submitted by MATTHEW
01/31/2022     NICHOLAS FIOROVANTI                                                                 CHC202222533    01/31/2022

02/01/2022     Letter/Correspondence submitted by Peter Charles Harvey of PATTERSON BELKNAP        CHC202223435    02/01/2022
               WEBB & TYLER LLP. JEDS EF-1173485
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               Reply brief submitted by Angelo Anthony Stio of TROUTMAN PEPPER HAMILTON
02/02/2022     SANDERS LLP. JEDS EF-1175545                                                        CHC202224419   02/02/2022

02/03/2022     Objection to motion submitted by Matthew Nicholas Fiorovanti of GIORDANO HALLERAN   CHC202225744   02/03/2022
               & CIESLA, PC. JEDS EF-1178346
               Reply brief submitted by Matthew Nicholas Fiorovanti of GIORDANO HALLERAN &
02/03/2022     CIESLA, PC. JEDS EF-1178362                                                         CHC202225759   02/03/2022

02/04/2022     Miscellaneous Order uploaded by Case Management Staff submitted by ANGELO           CHC202228081   02/07/2022
               ANTHONY STIO III
02/14/2022     Other submitted by Peter Charles Harvey of PATTERSON BELKNAP WEBB & TYLER           CHC202233535   02/14/2022
               LLP. JEDS EF-1195598
03/03/2022     Objection to motion submitted by Peter Charles Harvey of PATTERSON BELKNAP WEBB     CHC202247049   03/03/2022
               & TYLER LLP. JEDS EF-1226032
03/03/2022     Objection to motion submitted by Angelo Anthony Stio of TROUTMAN PEPPER             CHC202247159   03/03/2022
               HAMILTON SANDERS LLP. JEDS EF-1226234
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    NAGEL RICE, LLP
    Bruce H. Nagel, Esq. (025931977)
    103 Eisenhower Parkway, Suite 103
    Roseland, New Jersey 07068
    Attorneys for Defendants BR Lakewood, LLC and Benjamin Ringel
    and Sunset Hill Oakridge Plaza, LLC and Benjamin Ringel

                                            SUPERIOR COURT OF NEW JERSEY
    CHANA RINGEL AND CR LAKEWOOD,           CHANCERY DIVISION
    INDIVIDUALLY, AND DERIVATIVELY          OCEAN COUNTY
    ON BEHALF OF BCR LAKEWOOD
    HOLDINGS, LLC,                          DOCKET NO. OCN-C-127-15

           Plaintiffs/Respondents,

                 vs.                                  Civil Action

    BR LAKEWOOD, LLC AND BENJAMIN
    RINGEL,

           Defendants.

    CHANA RINGEL, INDIVIDUALLY, AND
    DERIVATIVELY ON BEHALF OF BCR              DOCKET NO. OCN-C-152-16
    OAKRIDGE, LLC,

           Plaintiffs/Respondents,
                                                      Civil Action
                 vs.

    BENJAMIN RINGEL, SUNSET HILL                NOTICE OF MOTION TO
    OAKRIDGE PLAZA, LLC, JOHN                   ENFORCE SETTLEMENT
    DOES 1-10, AND ABC
    CORPORATION 1-10,

          Defendants/Appellants.


    Matthew Fiorovanti, Esq.
    Giordano Halleran & Ciesla, PC
    125 Half Mile Road Suite 300
    Red Bank, NJ 07701
      OCN-C-000127-15
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    Efrem Schwa1b, Esq.
    Koffsky Schwa1b LLP
    349 Fifth Avenue, Suite 733
    New York, NY 10016


           PLEASE TAKE NOTICE that on March 27, 2020 at 9:00 a.m. or an

     ear1ier date set by the Court,           Nage1 Rice,       LLP,   attorneys for

    Defendants in both the Lakewood matter and the Oakridge matter,

    wi11 move before the Superior Court of New Jersey, Ocean County,

     Chancery Division,      for an Order granting Defendants'             motion to

    enforce the sett1ement reached by the parties.

           PLEASE    TAKE   FURTHER    NOTICE      that,   in    support    of   this

     app1ication,     P1aintiffs    wi11    re1y   upon    the    Certification    of

     Counse1 and 1etter brief submitted herewith.

           A proposed form of Order is submitted herewith.

           Ora1 argument is requested.

                                           NAGEL RICE, LLP
                                           Attorney for Defendants


                                           By: s/Bruce H. Nagel
                                                BRUCE H. NAGEL

    Dated: March 10, 2020
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      NAGEL RICE, LLP
      Bruce H. Nagel, Esq. (025931977)
      103 Eisenhower Parkway, Suite 103
      Roseland, New Jersey 07068
      Attorneys for Defendants BR Lakewood, LLC and Benjamin Ringel
      and Sunset Hill Oakridge Plaza, LLC and Benjamin Ringel

                                              SUPERIOR COURT OF NEW JERSEY
      CHANA RINGEL AND CR LAKEWOOD,           CHANCERY DIVISION
      INDIVIDUALLY, AND DERIVATIVELY          OCEAN COUNTY
      ON BEHALF OF BCR LAKEWOOD
      HOLDINGS, LLC,                          DOCKET NO. OCN-C-127-15

            Plaintiffs/Respondents,

                  vs.                                 Civil Action

      BR LAKEWOOD, LLC AND BENJAMIN
      RINGEL,

            Defendants.

      CHANA RINGEL, INDIVIDUALLY, AND
      DERIVATIVELY ON BEHALF OF BCR             DOCKET NO. OCN-C-152-16
      OAKRIDGE, LLC,

            Plaintiffs/Respondents,
                                                      Civil Action
                  vs.

      BENJAMIN RINGEL, SUNSET HILL               CERTIFICATION OF BRUCE
      OAKRIDGE PLAZA, LLC, JOHN                  NAGEL IN SUPPORT OF MOTION
      DOES 1-10, AND ABC                         TO ENFORCE SETTLEMENT
      CORPORATION 1-10,

            Defendants/Appellants.


            I, BRUCE H. NAGEL hereby certify as follows:

            1.    I     am a   partner with    the   firm of Nagel Rice,      LLP,

      attorneys for Defendants BR Lakewood, LLC and Benjamin Ringel in
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       the    Lakewood matter       and Sunset Hill        Oakridge   Plaza,       LLC   and

       Benjamin Ringel in the Oakridge matter.                This certification is

       submitted     in   support    of    Defendants 1    motion     to    enforce      the

       settlement reached by the parties in both the Lakewood and Oakridge

       matters.

               2.   After three days of trial,            Judge Hodgson invited all

       parties to discuss settlement in chambers. While in chambers, the

       Judge urged all parties to consider settling the matter. After

       some   discussion,    with    the    Judge's   involvement,         the    attorneys

       reached agreement on the material terms of a settlement, subject

       to client approval. The Judge requested that we consult with our

       clients for approval of the terms and then inform His Honor if

       those terms were acceptable. We then spent approximately 25 minutes

       discussing the settlement terms with our clients and came back to

       chambers at approximately 4:30 p.m. to confirm with the Judge that

       the terms were acceptable. Both Mr.            Schwalb and Mr.            Fiorovanti

       advised the Judge that their client had accepted the terms.

               3.   The material terms that were accepted by both parties

      are as follows:

                a. The Pinewood property would be listed for sale with a

                    broker and publicly sold, with each party retaining the

                    right to bid on the property. The parties would request

                    that the broker exempt the parties from the listing

                    agreement.
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                  b.       The four remaining properties comprising BCR Lakewood

                       would be divided into two groups and Chana would have

                       the right to select one of the two groups. Ben would get

                       the other group.

                  c. All remaining issues in the case would be resolved in

                       arbitration.     The parties would attempt                 to    choose   an

                       arbitrator and if they were unable to do so, the court

                       would select the arbitrator.

                  d. Pinewood management would stay in place until the sale.

                  e. The parties would escrow funds from Pinewood to secure

                       the claims to be resolved in arbitration and the court

                       would protect these funds from other creditors.

             4.        I    suggested      that   Mr.     Schwalb      draft    the    term   sheet

       confirming these material terms .                   I   received from him on March

       1, 2020 a term sheet which provided for the sale of Pinewood by

       way of a private auction, a material term which was not discussed

       in chambers or agreed upon by either party. See term sheet annexed

       hereto as Ex.           A.    In fact,       both       sides   accepted the proposed

       settlement which provided for the public sale of Pinewood.

             5.        We    know   that    Chana       understood      and    agreed    that    the

       Pinewood property would be sold at public sale as she confirmed to

       Charles Kushner only minutes after she agreed to the deal in court

       that the property would be sold at public sale.                           ~      email from

       Chana to Mr. Kushner sent on February 27, 2020 at 5:29 p.m. annexed
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       hereto as Ex. B where she stated, "The judge urged us to settle

       and suggested we sell Pinewood on the market as that is the largest

       property and the one we both want, split the others and have a

       trial on the financial piece". Chana clearly knew that the deal

       involved the public sale of Pinewood and she even asked Mr. Kushner

       " ... if you are interested in partnering I would be happy to speak

       with you."      Nowhere   in her   email   does   Chana mention   that    the

       Pinewood property would be sold at a private auction between the

       two parties to the litigation.

             6.    I   annex hereto as Ex.      C the Stipulation of Settlement

       that my office prepared which confirmed the material terms of the

       settlement. In forwarding this stipulation, I informed Mr. Schwalb

       that his term sheet "included many items that were not discussed

       or agreed upon."      See Ex. D.     I   then had a conference call with

       Chana's attorneys who asked for changes/clarifications.             I   annex

       hereto as Ex. Ethe revised Stipulation which clarified some of

       the issues which Chana's counsel raised in the conference call.

             7.    It is high time to end this destructive family dispute.

       The parties have agreed upon material terms and have reserved all

       open issues to be resolved with arbitration. We ask that the court

       enforce the terms agreed upon directly with the court after each

       party had the opportunity to review those terms with counsel.
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             I certify that the foregoing statements made by me are true.

       I understand that if any of the foregoing statements made by me

       are willfully false, I am subject to punishment.


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                                                By : _ _!;l=-,uea=;_..:~:..:....:..-'
                                                            BROCE H. NAGEL
      Dated:    March 10, 2020
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                                                      MAY(     B 2020
NAGEL RICE, LLP
Bruce    H. Nagel,    Esq.   (025931977)                  CHAMBERS OFJR,PJ C'n
                                                              HODGS0N,
                                                   FRANCIS B,COURT OCEAN COUNV
103 Eisenhower       Parkway,   Suite   103
                                                   SUPERIOR"
Roseland,    New Jersey      07068
Attorneys    for   Defendants    BR Lakewood, LLC and Benjamin                   Ringel
and Sunset Hill Oakridge Plaza, LLC and Benjamin Ringel


                                           SUPERIOR COURT OF NEW JERSEY
CHANA RINGEL AND CR LAKEWOOD, : CHANCERY DIVISION
INDIVIDUALLY, AND DERIVATIVELY             OCEAN COUNTY
ON BEHALF OF BCR LAKEWOOD
HOLDINGS, LLC,                          : DOCKET NO. OCN-C-127-15


        Plaintiffs/Respondents,


             vs.                                      Civil Action


BR LAKEWOOD, LLC AND BENJAMIN :
RINGEL,


        Defendants.


CHANA RINGEL, INDIVIDUALLY, AND
DERIVATIVELY ON BEHALF OF BCR :               DOCKET NO. OCN-C-152-16
OAKRIDGE, LLC,


        Plaintiffs/Respondents,
                                                     Civil Action
             vs.


BENJAMIN RINGEL, SUNSET HILL                   ORDER
OAKRIDGE PLAZA, LLC, JOHN
DOES 1-10, AND ABC
CORPORATION 1-10,


      Defendants/Appellants.



      THIS MATTER having been brought before the court on the motion

of Defendants BR Lakewood, LLC and Benjamin Ringel in the Lakewood

matter and Sunset Hill Oakridge Plaza, LLC and Benjamin Ringel in
      OCN-C-000127-15
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the Oakridge matter for an Order enforcing the settlement reached

by the parties.

      IT IS on this          8444 day of              2020;

       ORDERED that:

      1.       The motion by Defendants BR Lakewood, LLC and Benjamin

Ringel in the Lakewood matter, and Sunset Hill Oakridge Plaza, LLC

and   Benjamin       Ringel    in     the    Oakridge     matter     to     enforce     the

settlement reached by the parties is hereby granted.

      2.       The settlement reached by the all the parties on February

27, 2020 is hereby enforced.

      3.       The   terms    of    the     settlement    are    set       forth   in   the

—Term.S11,-e & IA             coo         o thi.,v)   Exhibit A, to the March 10,

2020 Certification of Bruce Nagel.

      4.       A copy of this Order be served on all parties within

seven days of Defendants' receipt.




                                                                              , J.S.C.
                                    FRANCIS RjDGSON, JR. Ft..k<Ch
This motion was:
 10 Opposed
     Unopposed



      s.                            .A4ei         — 41\4 f a-di-41 ia_1(-etd

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                                             FOR THE REASONS
                                             EXPRESSED ON THE RECORD
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                    EXHIBIT D
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                                            TERM SHEET
    1. Signatories — executed by the CR Parties and the BR Parties including the Ringel Children
       Trusts trustees.
    2. Pinewood. Comule1;
                 .
         i.      The Parties agree to sell the Pinewood Complex to a third party purchaser or to either
               Chana Ringel or Benjamin Ringel, solely or in partnership or conjunction with any
              person or entity, via an arm's length sales process ("Sale Process") intended to
              maxien the value of the Pinewood Complex, to be brokered by a mutually acceptable
              real estate broker (the "Broker") pursuant to a. listing agreement with the Broker in a
              form mutually acceptable to the Parties. Within fourteen (14) days from the date of the
              full execution of the Term Sheet, the Parties shall select the Broker. In the event the
              Parties cannot agree on the Broker within this fourteen. (14) day period, the CR Parties
              shall propose the names of three (3) brokers to the BR Parties, who shall select one of
              the proposed brokers to serve as the Broker within seven (7) days. The Sale Process
              shall provide for the sale of the Pinewood Complex to the highest bidder pursuant to a
              binding agreement without any contingencies to closing including without limitation
              any due diligence or mortgage contingency. The proceeds of such sale (net of any
              customary closing coats, apportionment of Property Expenses, and out of pocket costs
              and expenses associated with the sale incurred by, or payable to, the Broker) shall be
              split equally between the CR Parties and the BR Parties, subject to the amount to the
              $2.5 million of escrowed funds from each side ($5 million in total). In the event of
              such contingency, the Parties agree to fully cooperate with the sale of the Pinewood
              Complex, including signing all necessary documents, facilitating access to the
              Pinewood Complex to the Broker, other brokers, and prospective buyers, and promptly
              providing or authorizing the provision of such financial and other information as may
              be requested by prospective buyers. The Parties shall have no discretion over the terms
              and consideration of any sale by the Broker other than that such sale shall comply with
              this provision and the Sale Process.

        ii.     With respect to the disposition of the Pinewood Complex or any ownership interests
              therein, the Parties shall cooperate with each other in good faith and in a timely manner
              to take advantage of any tax savings or tax deferral strategies to maximize realization
              of the value of the Pinewood Complex.

       iii.     The Sales Process shall be under the auspices of the Court, and the Parties agree to
              present any issues or disputes regarding the Sales Process to the Court for resolution in
              the Court's sole discretion and authority. The Court's rulings with regard to the Sales
              Process shall be binding upon the Parties.

    3. Until Closed Affiliated Manages --Prior to the closing of the sale of the Pinewood
       Complex, the Pinewood Complex will continue to be managed by the current management
       company under the Court's existing order consistent with past practice and the distributions
       will continue as they currently exist at the discretion of the current management company.
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       Gainers Complex, Carey Complex, Clifton Center, and Clifton Property -- The BR
       Parties have divided the four remaining properties into two packages with Gertners
       Complex and Carey Complex with any existing mortgages on those properties in one
       package (to be satisfied by the party taking the first package within 60 days of receiving
       the properties), and Clifton Center and Clifton Property with any existing mortgages in the
       second,package (to. be satisfied hy,the party taking the second package within 60 days of
       receiving the properties). Immediately after the execution of the' Settlenierit Agreement
       (the "Selection Date"), Chana shall make the election to take tide to the properties in one
       of the packages by written notice to Benjamin. .The package selected by Chana shall be
       deemed the "Selected Package," the package not selected by Chana shall be deemed the
       "Non-Selected Package," and the date on which Chaim makes her selection shall be
       deemed the "Selection Date." Within 60 days of the Selection Date, the BR Parties shall
       use good faith and. diligent efforts to cause the transfer of exclusive title to the Packaged
       Properties in the Selected Package to CR Lakewood or whoever Chana designates to
       receive the properties in the Selected Package, and the CR Parties shall use good faith and
       diligent efforts to cause the transfer of exclusive title to the Packaged Properties in the Non-
       Selected Package to the BR Parties or whoever Benjamin designates to receive the
       properties in the Non-Selected Package (the "Packaged Properties Closing Date"). The
       transfer of the foregoing properties shall be structured in. such a way as to constitute a
       distribution under Section 731 of the Internal Revenue Code (the "Code"). The Parties
       hereby instruct the accountants and management company of BCR Lakewood, Affiliated
       Management, to ensure that the books and records and tax filings of BCR Lakewood and
       the Companies be consistent with the foregoing treatment and intent.
       In the event either of the Parties does not close or fulfill any of the transactions or transfers
       contemplated by this Agreement, the Parties agree to present any issues or disputes to the
       Court for resolution in the Court's sole discretion and authority. The Court's rulings with
       regard to the Packaged Properties shall be binding upon the Parties.
    5. Arbitration of RemaininKCIalms in the Actions. The Parties shall submit all remaining
       claims in the Actions (the "Remaining Claims") including the parties' respective claims
       for monetary damages in the BCR Lakewood action, and the parties' respective claims in
       the Oakridge action including Chana's claims for equitable relief with respect to the
       Oakridge property owned by Sunset to binding arbitration ("kbitration"), which shall
       occur at a mutually acceptable location in New Jersey. Within fourteen (14) days from the
       date of the full execution of the Settlement Agreement, the Parties shall select a mutually
       acceptable arbitrator ("Arbitrator"), In the event the Parties cannot agree on an arbitrator
       within this fourteen (14) day period, the CR Parties shall propose three (3) arbitrators to
       the ER Parties, who shall select one of the proposed arbitrators to serve as Arbitrator within
       seven (7) days. The Arbitrator shall have the right to award all of the equitable and legal
       relief as requested by the Parties in. the Actions. The Arbitration shall take place within
       two (2) months from the date of the selection of the Arbitrator. In the event the Arbitration
       does not begin within two (2) months (6) from the date of the selection of the Arbitrator,
       the Actions shall continue to be tried before Honorable Francis R. Hodgson, Jr., P.J,Ch.,
       Superior Court of New Jersey, on dates set by the Court.


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    6. Escrowed Funds. In the event the sale of the Pinewood Complex occurs prior to the
       issuance of a final arbitration award in the Arbitration or the entry of final judgment in the
       Actions, the CR Parties and the BR Parties shall each escrow with the Court the sum of
       $2.5 million (Le., $5 million in total) ("Escrowed Funds") as discussed above. The Parties
       shall submit a Consent Order to the Court for filing which provides that the Escrowed
     . Funds .011011 be. .used solely, to. satisfy any claim for monetary relief by any Party in the
       Actions, and that the Escrowed Funds shall not be subject to-eiecliti0n by any jiidgitiett
       creditor of the Parties.
    7. Jurisdiction of the Court. The Court shall maintainJurisdiction over the Parties to enforce
       the terms of the Settlement Agreement.



                           -- SIGNATURE PAGE TO FOLLOW --




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         IN WITNESS WHEREOF, the Parties have caused this Tenn Sheet to be duly executed
 as of the date set forth with their respective signatures below.




  Dated: J       2020
                                                  CHANA RINGEL



                                                  CR LAKEWOOD, LLC

       .c,e-i7 If 2020
  Dated:                                                                       0
  •                                               By: Ghana Ringel
                                                  Title: Manager




  Dated: July   , 2020
                                                  BENJAMIN RINGEL



                                                  BR LAKEWOOD, LLC


  Dated: July   , 2020
                                                  By:
                                                  Title:



                                                  SUNSET HILL OAICRIDGE PLAZA, LLC


  Dated: July   , 2020
                                                  By:
                                                  Title:




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                                                                        Title: Manager


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GIORDANO, HALLERAN & CIESLA, P.C.
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Red Bank, N.J. 07701
(732) 741-3900
Matthew N. Fiorovanti, Esq. (027332006)
KOFFSKY SCHWALB LLC
500 Seventh Avenue, 8th Floor
New York, NY 10018
Attorneys for Plaintiffs, Chana Ringel and CR Lakewood, LLC, individually, and derivatively on
behalf of BCR Lakewood Holdings, LLC and Chana Ringel, individually and derivatively on
behalf of BCR Oakridge, LLC

 CHANA RINGEL and CR LAKEWOOD,                   SUPERIOR COURT OF NEW JERSEY
 LLC, individually, and derivatively on behalf   CHANCERY DIVISION
 of BCR LAKEWOOD HOLDINGS, LLC,                  OCEAN COUNTY

                            Plaintiffs,          DOCKET NO. OCN-C-127-15

                       v.                                       Civil Action

 BR LAKEWOOD, LLC and BENJAMIN
 RINGEL,

                            Defendants.

 CHANA RINGEL, individually, and
 derivatively on behalf of BCR OAKRIDGE,         DOCKET NO. OCN-C-152-16
 LLC,
                                                                Civil Action
                            Plaintiffs,
                                                                  ORDER
                       v.

 BENJAMIN RINGEL, SUNSET HILL
 OAKRIDGE PLAZA, LLC, JOHN DOES 1-
 10, and ABC CORPORATIONS 1-10,

                            Defendants.



       THIS MATTER having been brought to the attention of court by plaintiffs, Chana Ringel

(“Chana”) and CR Lakewood, LLC, individually, and derivatively on behalf of BCR Lakewood

Holdings, LLC and Chana Ringel, individually and derivatively on behalf of BCR Oakridge, LLC
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(collectively, “Plaintiffs”), seeking injunctive relief pursuant to R. 4:52 by way of order to show

cause, and the court having read the papers filed in support thereof and in opposition thereto, and

oral argument, if any, and good cause having been shown;

                          25 day of August, 2021;
         IT IS on this ______

         ORDERED and declared that Rushmore Capital, LLC (“Rushmore Capital”) is the highest

bidder for the real property located at 1703 Lexington Avenue in Lakewood, New Jersey (the

“Pinewood Property”) under the terms of the parties’ settlement agreement for the purchase price

of $47,100,000;

         IT IS FURTHER ORDERED that Mr. Mandelbaum is authorized to finalize the written

contract for the sale of the Pinewood Property to Rushmore Capital within a reasonable time after

the date of this Order; and

         IT IS FURTHER ORDERED that a copy of this Order shall be served on all parties by

electronic filing.




                                                  /s/
                                                 ____________________________________
                                                 HON. FRANCIS J. HODGSON, JR., P.J.Ch.

__X__ Opposed

______ Unopposed


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GIORDANO, HALLERAN & CIESLA, P.C.
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Red Bank, N.J. 07701
(732) 741-3900
Matthew N. Fiorovanti, Esq. (027332006)
KOFFSKY SCHWALB LLC
500 Seventh Avenue, 8th Floor
New York, NY 10018
Attorneys for Plaintiffs, Chana Ringel and CR Lakewood, LLC, individually, and derivatively on
behalf of BCR Lakewood Holdings, LLC and Chana Ringel, individually and derivatively on
behalf of BCR Oakridge, LLC

 CHANA RINGEL and CR LAKEWOOD,                       SUPERIOR COURT OF NEW JERSEY
 LLC, individually, and derivatively on behalf       CHANCERY DIVISION
 of BCR LAKEWOOD HOLDINGS, LLC,                      OCEAN COUNTY

                            Plaintiffs,              DOCKET NO. OCN-C-127-15
                                                 '
                       v.                                        Civil Action
                                                 !

 BR LAKEWOOD, LLC and BENJAMIN
 RINGEL,
                                                 !
                            Defendants.

 CHANA RINGEL, individually, and
 derivatively on behalf of BCR OAKRIDGE,             DOCKET NO. OCN-C-152-16
 LLC,
                                                 1
                                                                 Civil Action
                            Plaintiffs,
                                                          ORDER TO SHOW CAUSE
                                                 !

                       v.
                                                 !

 BENJAMIN RINGEL, SUNSET HILL
 OAKRIDGE PLAZA, LLC, JOHN DOES 1-
 10, and ABC CORPORATIONS 1-10,

                            Defendants.



       This matter being brought before the Court by Matthew N. Fiorovanti, Esq. of Giordano,

Halleran & Ciesla, P.C., attorneys for Plaintiffs, Chana Ringel (“Chana”) and CR Lakewood, LLC,

individually, and derivatively on behalf of BCR Lakewood Holdings, LLC and Chana Ringel,




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individually and derivatively on behalf of BCR Oakridge, LLC (collectively, “Plaintiffs”), seeking

relief by way of injunctive relief pursuant to R. 4:52; and it appearing that defendants BR

Lakewood, LLC, Benjamin Ringel (“Benjamin”) and Sunset Hill Oakridge Plaza, LLC

(collectively, “Defendants”) have notice of this application; and for good cause shown;

         It is on this _____ day of August, 2021, ORDERED that Defendant appear and show cause

before the Superior Court at the Ocean County Courthouse in Toms River, New Jersey at 2:00

o’clock in the afternoon or as soon thereafter as counsel can be heard, on the __ day of August,

2021, why an order should not be issued:

         A.        Declaring and adjudging that Rushmore Capital, LLC is the highest bidder for the
                   real property located at 1703 Lexington Avenue in Lakewood, New Jersey (the
                   “Pinewood Property”) under the terms of the parties’ settlement agreement for the
                   purchase price of $47,100,000;

         B.        Authorizing Mr. Mandelbaum to finalize the written contract for the sale of the
                   Pinewood Property to Rushmore Capital within a reasonable time after the date of
                   the decision on this motion; and

         C.        Granting such other relief as the Court deems equitable and just.




                                                     ____________________________________
                                                     HON. FRANCIS J. HODGSON, JR., P.J.Ch.



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NAGEL RICE, LLP
Bruce H. Nagel, Esq. (025931977)
103 Eisenhower Parkway, Suite 103
Roseland, New Jersey 07068
Attorneys for Defendants BR Lakewood, LLC and Benjamin Ringel
and Sunset Hill Oakridge Plaza, LLC and Benjamin Ringel

                              : SUPERIOR COURT OF NEW JERSEY
CHANA RINGEL AND CR LAKEWOOD, : CHANCERY DIVISION
INDIVIDUALLY, AND DERIVATIVELY OCEAN COUNTY
ON BEHALF OF BCR LAKEWOOD     :
HOLDINGS, LLC,                : DOCKET NO. OCN-C-127-15
                              :
     Plaintiffs/Respondents, :
                              :
          vs.                 :         Civil Action
                              :
BR LAKEWOOD, LLC AND BENJAMIN :
RINGEL,                       :
                              :
     Defendants.              :
______________________________:
CHANA RINGEL, INDIVIDUALLY, AND
DERIVATIVELY ON BEHALF OF BCR :    DOCKET NO. OCN-C-152-16
OAKRIDGE, LLC,                :
                              :
     Plaintiffs/Respondents, :
                              :         Civil Action
          vs.                 :
                              :
BENJAMIN RINGEL, SUNSET HILL :      NOTICE OF CROSS-MOTION
OAKRIDGE PLAZA, LLC, JOHN     :
DOES 1-10, AND ABC            :
CORPORATION 1-10,             :
                              :
     Defendants/Appellants.   :
______________________________:

Matthew Fiorovanti, Esq.
Giordano Halleran & Ciesla, PC
125 Half Mile Road Suite 300
Red Bank, NJ 07701
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Efrem Schwalb, Esq.
Koffsky Schwalb LLP
349 Fifth Avenue, Suite 733
New York, NY 10016


       PLEASE TAKE NOTICE that on August 23, 2021 at 3:30 p.m. or

any later date set by the Court, Nagel Rice, LLP, attorneys for

Defendants in both the Lakewood matter and the Oakridge matter,

will move before the Superior Court of New Jersey, Ocean County,

Chancery Division, for an Order (i) declaring and adjudging that

BR Lakewood, LLC is the highest and best bidder for the real

property located at 1703 Lexington Avenue in Lakewood, New Jersey

(the   “Pinewood       Property”)       under     the     terms     of    the    parties’

settlement agreement with a bid of $46,391,000; (ii) authorizing

Barry Mandelbaum to finalize the written contract for the sale of

the Pinewood Property to BR Lakewood LLC within a reasonable time

after the date of the decision of this motion; and (iii) granting

such other relief as the Court deems equitable and just.

       PLEASE TAKE FURTHER NOTICE that, in support of this cross-

motion, Defendants will rely upon the Certification and letter

brief submitted herewith.
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     A proposed form of Order is submitted herewith.

     Oral argument is requested.

                                          NAGEL RICE, LLP
                                          Attorney for Defendants


                                          By: s/Bruce H. Nagel____
                                               BRUCE H. NAGEL

Dated: August 17, 2021
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NAGEL RICE, LLP
Bruce H. Nagel, Esq. (025931977)
103 Eisenhower Parkway, Suite 103
Roseland, New Jersey 07068
Attorneys for Defendants BR Lakewood, LLC and Benjamin Ringel
and Sunset Hill Oakridge Plaza, LLC and Benjamin Ringel

                              : SUPERIOR COURT OF NEW JERSEY
CHANA RINGEL AND CR LAKEWOOD, : CHANCERY DIVISION
INDIVIDUALLY, AND DERIVATIVELY OCEAN COUNTY
ON BEHALF OF BCR LAKEWOOD     :
HOLDINGS, LLC,                : DOCKET NO. OCN-C-127-15
                              :
     Plaintiffs/Respondents, :
                              :
          vs.                 :         Civil Action
                              :
BR LAKEWOOD, LLC AND BENJAMIN :
RINGEL,                       :
                              :
     Defendants.              :
______________________________:
CHANA RINGEL, INDIVIDUALLY, AND
DERIVATIVELY ON BEHALF OF BCR :    DOCKET NO. OCN-C-152-16
OAKRIDGE, LLC,                :
                              :
     Plaintiffs/Respondents, :
                              :         Civil Action
          vs.                 :
                              :
BENJAMIN RINGEL, SUNSET HILL :      ORDER
OAKRIDGE PLAZA, LLC, JOHN     :
DOES 1-10, AND ABC            :
CORPORATION 1-10,             :
                              :
     Defendants/Appellants.   :
______________________________:

     THIS MATTER having been brought before the court on the cross-

motion of Defendants BR Lakewood, LLC and Benjamin Ringel in the

Lakewood matter and Sunset Hill Oakridge Plaza, LLC and Benjamin
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Ringel    in    the   above    matters      for    an   Order     (i)    declaring       and

adjudging that BR Lakewood, LLC is the highest and best bidder for

the real property located at 1703 Lexington Avenue in Lakewood,

New Jersey (the “Pinewood Property”) under the terms of the

parties’ settlement agreement with a bid of $46,391,000; and (ii)

authorizing Barry Mandelbaum to finalize the written contract for

the sale of the Pinewood Property to BR Lakewood LLC within a

reasonable time after the date of the decision of this motion, and

for good cause shown:

     IT IS on this _____ day of August 2021;

     ORDERED that:

     1.        The Cross-Motion filed by Defendants BR Lakewood, LLC,

Benjamin Ringel and Sunset Hill Oakridge Plaza, LLC is hereby

granted.

     2.        It is hereby declared and adjudged that BR Lakewood, LLC

is the highest and best bidder for the real property located at

1703 Lexington Avenue in Lakewood, New Jersey (the “Pinewood

Property”) under the terms of the parties’ settlement agreement

with a bid of $46,391,000.

     3.        Barry Mandelbaum shall finalize the written contract for

the sale of the Pinewood Property to BR Lakewood LLC within a

reasonable time after the entry of this Order.

     4.        A copy of this Order be served on all parties within

seven days of Defendants’ receipt.
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                                  ____________________________________
                                                                , J.S.C.

This motion was:
____ Opposed
____ Unopposed
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                                      August 17, 2021


Via JEDS
The Honorable Francis R. Hodgson, Jr. P.J. Ch.
206 Court House Lane
Courtroom #25, 1st Floor
Toms River, NJ 08753
     Re:     Chana Ringel v. Benjamin Ringel and Sunset Hill, et al
             Docket No.: OCN-C-152-16
             Chana Ringel, et al v. BR Lakewood, LLC and Benjamin
             Ringel
             Docket No.: OCN-C-127-15
Dear Judge Hodgson:

     We     represent        Benjamin       Ringel      (“Benjamin”)         and     other

defendants (collectively “Defendants”) in the above two matters.

This letter brief is submitted in opposition to the Order to Show

Cause filed by Chana Ringel (“Chana”) and others (“Plaintiffs”)

and in support of Defendants’ cross-motion for an order declaring

and adjudging that BR Lakewood LLC is the highest and best bidder

for the Pinewood Property and authorizing Barry Mandelbaum to

finalize the written contract for the sale of the Pinewood Property




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to BR Lakewood LLC within a reasonable time after the date of the

decision of this motion.

     Pursuant to Your Honor’s June 4, 2021 Order, Mr. Brecher

implemented a “last and best” bid process.                   See Order at Exh. B to

Certification of Matthew Fiorovanti.                     This “best” bid process

included providing bidders with written procedures, a sealed bid

process and a process to open the bids at Mr. Mandelbaum’s office.

Four bids were submitted and the bid by our client, BR Lakewood

LLC (“BR Lakewood”) was the “best” bid as it nets the sellers the

most money.

     The goal of the seller in any real estate deal is to obtain

the most money. As a result, there is only one way to determine

what is the “best” bid – the bid which nets the sellers the most

money.

     Here, BR Lakewood’s gross bid was $46,391,000.                       See Exh. A to

the Certification of Kevin Starkey. Rushmore’s gross bid was

$47,100,000. See Starkey Cert. at Exh. B.                     BR Lakewood owns half

of Pinewood and therefore will not be buying its 50% share. It

will only be buying CR Lakewood LLC’s 50% share. A copy of the

organizational chart of BCR Lakewood is attached as Exh. F                          to the

Starkey      Cert.      Therefore, there will be no New Jersey State

transfer taxes paid on the sale of Pinewood if BR Lakewood is the

purchaser. See Starkey Cert. at ¶7. If Rushmore is the purchaser,

the sellers will have to pay a transfer tax of $567,385.                                 See

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closing statement at Exhibit D to the Starkey Cert.; See Starkey

Cert. at ¶9.

     In addition, under the Gebroe Hammer brokerage agreement, if

BR Lakewood or CR Lakewood buys Pinewood, only a .85% commission

is due versus a 1.85% commission if Rushmore buys it.                        Attached as

Exh. E to the Starkey Cert. is the brokerage commission agreement.

If BR Lakewood is the purchaser, the Gebroe Hammer brokerage

commission would be $394,323 ($46,391,000 x .85%).                        See Exh. C to

the Starkey Cert.; See Starkey Cert. at ¶8.                       If Rushmore is the

purchaser,      the    Gebroe     Hammer         brokerage    commission       would     be

$871,350 ($47,100,000 x 1.85%). See Exh. D to the Starkey Cert.;

See Starkey Cert. at ¶9.

     As a result, if BR Lakewood is the purchaser, the sellers

will net the following:

     $46,391,000 – Sale price

     $6,446,339.53 – Mortgage payoff

     $25,000 – Legal fee

     $394,323.50 - Gebroe Hammer brokerage commission

     $39,525,336.97 – CASH TO SELLERS

(See Exh. C to the Starkey Cert.; See Starkey Cert. at ¶8).

     If Rushmore         is the purchaser, the sellers will net the

following:

     $47,100,000 – Sale price

     $6,446,339.53 – Mortgage payoff
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     $567,385 – New Jersey Transfer Tax

     $25,000 – Legal fee

     $871,350 - Gebroe Hammer brokerage commission

     $39,189,925.47 – CASH TO SELLERS

(See Exh. D to the Starkey Cert.; See Starkey Cert. at ¶9).

     The math is simple. BR Lakewood’s bid is the “best” as the

sellers will receive $335,411.50 more with BR Lakewood as the

buyer. See Starkey Cert. at ¶10.

     Common sense leads to only once conclusion -- the “best” offer

is the one that provides the most money to the sellers.                            Merriam-

Webster dictionary defines “best” as “excelling all others” and

“offering     or    producing       the     greatest         advantage,         utility    or

satisfaction”.                     Merriam-Webster.com.                              2011.

https://www.merriam-webster.com (16 August 2011). Since BR

Lakewood’s bid produces “the greatest advantage [and] utility” –-

the most money to sellers -- it is clearly the best.

     Plaintiffs’        argument       that       BR   Lakewood’s         bid    should    be

invalidated because it fails to satisfy the 5% deposit requirement

is baseless.       BR Lakewood’s bid includes a deposit of $2,351,000

which is more than 5% of the bid.                  See Exh. A to Starkey Cert.

     In footnote 3 of their brief, Plaintiffs argue that using

Benjamin’s straightforward position that “best” means the most

money   in    seller’s      pocket,     Rushmore’s           bid   nets    more    than    BR

Lakewood’s     bid.     The    only     support        for    this   position       is    the
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incompetent      evidence       submitted        by   counsel      in    their      brief.

Plaintiffs filed an Order to Show Cause and provided whatever

support they had for their position.                  They provided no competent

evidence that Rushmore’s bid nets more than BR Lakewood’s bid and

thus the Court should not consider this issue.

     Any attempt to present facts which are neither of record,

judicially noticeable, nor stipulated, by way of statements of

counsel made in supporting briefs, memoranda and oral argument are

incompetent evidence and should be rejected by the court. Such

statements do not constitute cognizable facts. Gonzalez v. Ideal

Tile Importing Co., 371 N.J. Super. 349, 358 (App. Div. 2004),

aff’d 184 N.J. 415 (2005); Templeton Arms v. Feins, 220 N.J. Super

1, 24 (App. Div. 1987); Albrect v. Correctional Medical, 422 N.J.

Super. 265, 267 n.1 (App. Div. 2011)(court declined to consider

uncertified information            about defendant presented through its

brief and its counsel at oral argument). This Court should not

consider the facts and argument submitted by Plaintiffs.

     Plaintiffs also argue that Benjamin is trying to derail the

sale of Pinewood and harm sellers.                Nothing could be farther from

the truth.      As the Court is aware, Benjamin previously filed an

application arguing that the bidding process was not fair and was

not producing the most money possible for the sellers, including

Chana. Notwithstanding that Benjamin was trying to obtain more

money for Chana and the sellers, Chana vigorously objected and

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demanded that the sellers should not try and obtain a higher

purchase price.          Despite Chana’s objections, the Court held a

hearing    and    granted     Benjamin’s         application      and    re-opened       the

bidding process.          As a result of Benjamin’s actions, the bids

increased and sellers will now receive over $1.5 million more from

the sale.

     At the end of footnote 3 of her brief, Chana states that if

the savings Ben describes are correct they also apply to the GM

Equities bid because she is a partner in the GM Equities bid.                            This

is not true. The GM Equities bid is disqualified because they

failed to adhere to the bidding requirements. A copy of GM Equities

bid is attached as Exhibit C to the Fiorovanti Cert. Both the

Rushmore and BR Lakewood bids each waived any due diligence

contingency. Id.        The GM Equities bid, however, requires that the

bidder be allowed a 15 day                 environmental due diligence.                  The

inclusion of the due diligence period requires the bid to be

rejected. Also, the GM Equities bid states that “This letter of

intent shall be null and void if not signed by both parties on or

before August 10, 2021.” (emphasis added).                    It is undisputed that

the GM Equities letter of intent was not signed by August 10, 2021

so by its terms the bid by GM Equities is “null and void”. Also,

Chana provides no proof that GM Equities is owned by CR Lakewood

or partners with her or CR Lakewood.



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     We respectfully request that Your Honor deny the relief sought

by Plaintiffs and order that the bid by BR Lakewood should proceed

and that Mr. Mandelbaum should finalize the contract of sale to BR

Lakewood.

                                                  Respectfully,
                                                  Bruce H. Nagel
                                                  BRUCE H. NAGEL

cc: Matthew N. Fiorovanti, Esq.(via e-mail)
    Efrem Schwalb, Esq. (via e-mail)




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                                   SUPERIOR COURT OF NEW JERSEY
                                        APPELLATE DIVISION
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                                RICHARD J. HUGHES JUSTICE COMPLEX
                                     TRENTON, N.J. 08625-0006

                                         NOTICE OF DOCKETING


                                                                          Date: October 07, 2021

        ATTN: NAGEL RICE LLP - BRUCE H NAGEL
        103 EISENHOWER PKWY
        ROSELAND, NJ 07068

  Title: CHANA RINGEL AND CR LAKEWOD, LLC, INDIVIDUALLY AND DERIVATIVELY ON
  BEHALF OF BCR LAKEWOOD HOLDINGS, LLC V. BR LAKEWOOD, LLC AND BENJAMIN
  RINGEL AND CHANA RINGEL, INDIVDUALLY AND DERIVATIVELY ON BEHALF OF BCR
  OAKWOOD, LLC
  Docket Number: A-000370-21 TEAM 02           Appeal Filed:10/05/2021



        1.      The above docket number must appear on all documents submitted.

        2.      Respondent shall file a case information statement within 15
                days after service of the notice of appeal. R. 2:5-1(a).

        3.      IF YOUR APPEAL INCLUDES A TRANSCRIPT, IT WILL BE SUBJECT TO
                DISMISSAL IF THE TRANSCRIPT IS NOT FILED WITHIN 35 DAYS OF THE
                FILING OF THE NOTICE OF APPEAL. UNLESS, PRIOR TO THAT DATE, YOU
                ADVISE THE CLERK’S OFFICE THAT THE TRANSCRIPT HAS NOT BEEN
                DELIVERED TO YOU AND INDICATE THE DATE YOU HAVE BEEN PROMISED
                FILING AND DELIVERY. THERE WILL BE NO FURTHER NOTICE.

        4.      If this is an appeal of a state agency decision, the agency must
                submit a Statement of Items Comprising the Record within 30 days
                of service of the Notice of Appeal. R. 2:5-4(b). Upon receipt of
                the Statement of Items Comprising the Record and transcript (if
                applicable), a scheduling order for the brief and appendix will
                be issued.

        5.      Certain civil and state agency appeals may be selected for the
                Civil Appeals Settlement Program (CASP). Unless this appeal is
                selected for a settlement conference or unless otherwise stated
                in a scheduling order, the time limits provided by R. 2:6-11 for
                perfection of the appeal must be complied with by all parties.
                Upon appellant’s failure to comply, the appeal will be subject
                to dismissal. Upon respondent’s failure to comply, the brief
                will be subject to suppression.




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        6.      If oral argument is desired, it must be requested timely by a
                separate captioned document. R. 2:11-1(b). If oral argument is
                requested, notify the Clerk’s office of any period of time
                during which you expect to be unavailable.

        PLEASE REFER ALL INQUIRIES TO YOUR CASE MANAGER:
        IWONA VARGAS (609-815-2950 x 52656) IWONA.VARGAS@NJCOURTS.GOV



                                                               JOSEPH H. ORLANDO
                                                               CLERK OF THE APPELLATE DIVISION



  Trial Court Docket No:                          OCEAN   OCN-C-127-15
                                                 OCN-C-152-16

  cc:           GIORDANO HALLERAN & CIESLA, PC - MATTHEW NICHOLAS FIOROVANTI
                KOFFSKY SCHWALB LLC - EFREM TOBIAS SCHWALB




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 PETER CHARLES HARVEY, Esq.                                          Before Appellate Division,
 PATTERSON BELKNAP WEBB & TYLER LLP                                  Superior Court of New Jersey
 1133 AVENUE OF THE AMERICAS                                         DOCKET NO. A-000370-21
 NEW YORK, NY 10036-6710
 212-336-2000
 pcharvey@pbwt.com
 mcolitigation@pbwt.com
                                                                     CIVIL

 CHANA RINGEL AND CR LAKEWOD, LLC, INDIVIDUALLY AND DERIVATIVELY ON
 BEHALF OF BCR LAKEWOOD HOLDINGS, LLC
 V.
 BR LAKEWOOD, LLC AND BENJAMIN RINGEL
 AND
 CHANA RINGEL, INDIVDUALLY AND DERIVATIVELY ON BEHALF OF BCR
 OAKWOOD, LLC
                                   PROOF OF SERVICE

       I hereby certify that an original of the following documents, APPELLANTS BRIEF,
 APPELLANTS APPENDIX (Vol. 001), APPELLANTS APPENDIX (Vol. 002),
 APPELLANTS APPENDIX (Vol. 003), PROOF OF SERVICE were submitted and
 transmitted to the parties listed below in the following format:

 ELECTRONICALLY TO:
 ATTORNEY NAME: MATTHEW NICHOLAS FIOROVANTI, Esq.
 mfiorovanti@ghclaw.com
 cthompson@ghclaw.com
 sclark@ghclaw.com
 ATTORNEY NAME: EFREM TOBIAS SCHWALB, Esq.
 eschwalb@koffskyschwalb.com
 partners@koffskyschwalb.com
 ATTORNEY NAME: MATTHEW NICHOLAS FIOROVANTI, Esq.
 mfiorovanti@ghclaw.com
 cthompson@ghclaw.com
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 ATTORNEY NAME: EFREM TOBIAS SCHWALB, Esq.
 eschwalb@koffskyschwalb.com
 partners@koffskyschwalb.com
 ATTORNEY NAME: AURORA CASSIRER, Esq.
 aurora.cassirer@troutman.com
 litigationdocketrequests@troutman.com
 daniel.gorman@troutman.com
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 aellington@ghclaw.com
 mangotti@ghclaw.com
 fricci@ghclaw.com


 BY MAIL:

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        I certify that the forgoing statements made by me are true. I am aware that if any of
 the foregoing statements made by me are willfully false, I am subject to punishment.




                                                                     Attorney for APPELLANT
                                                                     BENJAMIN RINGEL, BR LAKEWOOD, LLC,
                                                                     SUNSET HILL OAKRIDGE PLAZA, LLC
 Dated: 01/20/2022                                                   By: S/ PETER CHARLES HARVEY, Esq.




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PATTERSON BELKNAP WEBB & TYLER LLP
Peter C. Harvey, Esq. – NJ 035131989
1133 Avenue of the Americas
New York, New York 10036
Tel. (212) 336-2000
Fax (212) 336-2222
E-Mail: pcharvey@pbwt.com

CHANA RINGEL AND CR                             SUPERIOR COURT OF NEW JERSEY
LAKEWOOD, INDIVIDUALLY,                        CHANCERY DIVISION: OCEAN COUNTY
AND DERIVATIVELY ON BEHALF
OF BCR LAKEWOOD HOLDINGS,                                       Civil Action
LLC,

       Plaintiffs,

              vs.
                                                        Docket No. OCN-C-127-15
BR LAKEWOOD, LLC AND
BENJAMIN RINGEL,

       Defendants,

CHANA RINGEL,
INDIVIDUALLY, AND
DERIVATIVELY ON BEHALF OF
BCR OAKRIDGE, LLC,                                      Docket No. OCN-C-152-16

       Plaintiffs,                               DEFENDANTS’ NOTICE OF MOTION FOR
                                                       A STAY OF PROCEEDINGS
              vs.                                         PENDING APPEAL

BENJAMIN RINGEL, SUNSET
HILL OAKRIDGE PLAZA, LLC,
JOHN DOES 1-10, AND ABC
CORPORATION 1-10,

       Defendants,



TO:   ALL COUNSEL OF RECORD
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     PLEASE TAKE NOTICE that, on February 18, 2022, or on

another date and time to be set by the Court, the Defendants,

Benjamin Ringel, BR Lakewood, LLC, and Sunset Hill Oakridge

Plaza, LLC, by and through their counsel, Patterson Belknap Webb

& Tyler LLP, shall move before the Honorable Francis J. Hodgson,

Jr., Presiding Judge, Chancery Division, Superior Court of New

Jersey, Ocean County, for the entry of an Order staying all

proceedings in this action pending the Appellate Division’s

ruling on the Defendants’ appeal of the Chancery Court’s Orders

entered on June 4, 2021, August 23, 2021 and August 25, 2021.

     PLEASE TAKE FURTHER NOTICE that, in support of this motion,

the Defendants shall rely upon the Memorandum of Law in support

of the motion, the Certification of Peter C. Harvey, and the

pleadings and proceedings had to date herein.




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     PLEASE TAKE FURTHER NOTICE that, pursuant to R.1:6-2(a),

the Defendants have submitted a proposed order.



DATED:    January 26, 2022
                                          Respectfully submitted,



                                          By:          /s/ Peter C. Harvey
                                          __________________________________
                                                      Peter C. Harvey, Esq.

                                          PATTERSON BELKNAP WEBB & TYLER LLP
                                          1133 Avenue of Americans
                                          New York, NY 10036-6710
                                          Tel: (212) 336-2000
                                          Fax: (212) 336-2222
                                          E-Mail: pcharvey@pbwt.com




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CHANA RINGEL AND CR
LAKEWOOD, INDIVIDUALLY,                         SUPERIOR COURT OF NEW JERSEY
AND DERIVATIVELY ON BEHALF                    CHANCERY DIVISION: OCEAN COUNTY
OF BCR LAKEWOOD HOLDINGS,
LLC,                                                           Civil Action

       Plaintiffs,

              vs.

BR LAKEWOOD, LLC AND                                   Docket No. OCN-C-127-15
BENJAMIN RINGEL,

       Defendants,

CHANA RINGEL,
INDIVIDUALLY, AND
DERIVATIVELY ON BEHALF OF
BCR OAKRIDGE, LLC,                                 Docket No. OCN-C-152-16

       Plaintiffs,                               CERTIFICATION OF PETER C.
                                                   HARVEY IN SUPPORT OF
              vs.                              DEFENDANTS’ MOTION FOR A STAY
                                               OF PROCEEDINGS PENDING APPEAL
BENJAMIN RINGEL, SUNSET                        AND IN OPPOSITION TO RUSHMORE
HILL OAKRIDGE PLAZA, LLC,                       CAPITAL LLC’S ORDER TO SHOW
JOHN DOES 1-10, AND ABC                                    CAUSE
CORPORATION 1-10,

       Defendants,



       I, PETER C. HARVEY, being of full age, certify as follows:

       1.     I am an attorney at law of the State of New Jersey and

a partner at the law firm of Patterson Belknap Webb & Tyler LLP,

counsel for Defendants-Appellants Benjamin Ringel, BR Lakewood,

LLC,    and    Sunset       Hill     Oakridge       Plaza,      LLC     (collectively,

“Defendants”) in connection with the above-captioned matter and
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the related, pending appeal.                  I submit this Certification in

Support of Defendants’ Motion for a Stay of Proceedings Pending

Appeal and in Opposition to Rushmore Capital, LLC’s (“Rushmore”)

Order To Show Cause.          I am familiar with the facts stated herein.

      2.     The appeal of the Orders entered in this action arise

from two lawsuits filed by Chana Ringel and related entities

(“Plaintiffs”), against her brother, Ben Ringel, and related

entities (“Defendants”).            The first suit was filed in 2015 and

captioned as Chana Ringel v. BR Lakewood, LLC, Docket No. OCN-C-

127-15.    The second was filed in 2016 and captioned as Chana

Ringel, et al. v. Benjamin Ringel, et al., Docket No. OCN-C-152-

16.

      3.     In October 2020, the parties settled both lawsuits by

executing a Term Sheet (hereafter, “Term Sheet” or “Agreement”).

(See EXHIBIT A.)        The Term Sheet provided that, as part of the

settlement, the parties agreed to sell the Pinewood Property

through a competitive bidding process and split the proceeds

from that sale.        (Id. at 1.)        This Court retained jurisdiction

to implement the terms of the Term Sheet, which involved, among

other things, a court-ordered sale of the Pinewood Property.

(Id. at 3.)

      4.     Over the course of the execution of the parties’

Agreement, Defendants asserted a number of objections to the

procedure and substance of the sale proceedings.                       Defendants

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moved to disqualify the broker because of a pre-existing

financial and familial conflict of interest with Rushmore.                           (See

EXHIBIT B at 1-2.)

     5.      Defendants also argued that the meaning of “highest

bidder,” within the context of the Term Sheet, referred to the

bidder who would offer the highest net proceeds to each party.

(See generally EXHIBIT C.)             Defendants presented evidence that

Defendant BR Lakewood, LLC, and not Rushmore, should be declared

the “highest bidder.”           (Id., Cert. of Kevin N. Starkey at 1-5.)

     6.      This Court ruled against Defendants on both of the

above arguments.        (See EXHIBIT D; EXHIBIT E.)

     7.      In an Order dated August 25, 2021, this Court declared

Rushmore the winning bidder.              (See EXHIBIT F.)          The Order called

for Mr. Mandelbaum to “finalize the written contract for the

sale of the Pinewood Property . . . within a reasonable time

after the date of this Order.”               (Id. at 2.)

     8.      On September 13, 2021, this Court entered an Order

granting Rushmore the ability to intervene for the limited

purpose of resolving the parties’ dueling motions seeking to

establish the “highest bidder” on the Pinewood Property.                          The

Order stated that, “upon completion of the motion, [Rushmore’s]

participation will be ended and dismissed.”                    (See EXHIBIT O.)

     9.      On October 5, 2021, Defendants filed a timely Notice

of Appeal.      (See EXHIBIT G.)

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     10.     Defendants presented two issues for the Appellate

Division’s consideration, namely, whether this Court erred by

(1) denying Defendants’ motion to disqualify the broker, and (2)

ruling that Rushmore properly won the bid for the Pinewood

Property as the highest bidder within the meaning of the Term

Sheet.    (See EXHIBIT H at 1.)

     11.     A notice of docketing regarding the appeal was filed

on October 7, 2021.          (See EXHIBIT I.)

     12.     Subsequently, on October 11, 2021, Defendants filed an

Amended Notice of Appeal.            (See EXHIBIT J.)

     13.     On October 20, 2021, the Appellate Division initially

issued a briefing schedule requiring Defendants to file their

opening brief on December 6, 2021.                (See EXHIBIT K.)          Defendants

hired new counsel – this firm – and filed a Motion seeking a

brief extension of time to file their opening brief.

     14.     On January 4, 2022, the Appellate Division granted

Defendants’ Motion to extend the time for Appellants to file

their brief and issued a modified Scheduling Order permitting

Appellants to file their opening brief by January 20, 2022.

(See EXHIBIT L; EXHIBIT M.)

     15.     Defendants filed their opening appellate brief on

January 20, 2022.         (See EXHIBIT N.)

     16.     Rushmore filed its improper Order To Show Cause on

January 19, 2022, literally the night before Defendants’

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appellate brief was due.            Defendants received an e-mail copy of

the Order To Show Cause papers on January 19, 2022 at

approximately 8:26 p.m.


     I hereby certify that the above statements made by me are

true.    I am aware that if any of the above statements made by me

are willfully false, I am subject to punishment.


DATED:    January 26, 2022

                                                        /s/ Peter C. Harvey____

                                                               Peter C. Harvey


                                          PATTERSON BELKNAP WEBB & TYLER LLP
                                          1133 Avenue of Americans
                                          New York, NY 10036-6710
                                          Tel: (212) 336-2000
                                          Fax: (212) 336-2222
                                          E-Mail: pcharvey@pbwt.com




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                             —
                                                  TERM SHEET
     1   . Signatories executed by the CR Parties and the BR Parties including the Ringel Children
           Trusts trustees       .
     .
     2 Pinewood Complex               -
 1
            i   .      The Parties agree to sell the Pinewood Complex to a third party purchaser or to either
                    Chana Ringel or Benjamin Ringel, solely or in partnership or conjunction with any
                    person or entity, via an arm’s length sales process ('“Sale Process”') intended to
                    maximize the value of the Pinewood Complex, to be brokered by a mutually acceptable
                    real estate broker (the “Broker”!pursuant to a listing agreement with the Broker in a
                                                            .
                    form mutually acceptable to the Parties Within fourteen (14) days from the date of the
                    fUll execution of the Terra Sheet, the Parties shall select the Broker. In the event the
                    Parties cannot agree on the Broker within this fourteen (14) day period, the CR Parties
                    shall propose the names of three (3) brokers to the BR Parties, who shall select one of
                    the proposed brokers to serve as the Broker within seven (7) days. The Sale Process
                    shall provide for the sale of the Pinewood Complex to the highest bidder pursuant to a
                    binding agreement without any contingencies to closing including without limitation
                    any due diligence or mortgage contingency, The proceeds of such sale (net of any
                    customary closing costs, apportionment of Property Expenses, and out of pocket costs
                    and expenses associated with the sale incurred by, or payable to, the Broker) shall be
                    split equally between the CR Parties and the BR Parties, subject to the amount to the
                                                                                           .
                    $2,5 million of escrowed funds from each side ($5 million in total) In the event of
                    such contingency, the Parties agree to frilly cooperate with the sale of the Pinewood
                    Complex, including signing all necessary documents, facilitating access to the
                    Pinewood Complex to the Broker, other brokers, and prospective buyers, and promptly
                    providing or authorizing the provision of such financial and other information as may
                    be requested by prospective buyers. The Parties shall have no discretion over the terms
                    and consideration of any sale by the Broker other than that such sale shall comply with
                    this provision and the Sale Process.
            . With respect to the disposition of the Pinewood Complex or any ownership interests
           ii
                    therein, the Parties shall cooperate with each other in good faith and in a timely manner
                    to take advantage of any tax savings or tax deferral strategies to maximize realization
                    of the value of the Pinewood Complex   .
            .
          iii         The Sales Process shall be under the auspices of the Court, and the Parties agree to
                    present any issues or disputes regarding the Sales Process to the Court for resolution in
                                                                .
                    the Court’s sole discretion and authority The Court’s rulings with regard to the Sales
                    Process shall be binding upon the Parties    .
     . Until
     3       Closed Affiliated         -Prior to the closing of the sale of the Pinewood
                                           Manages
       Complex, the Pinewood Complex will continue to be managed by the current management
           company under the Court’s existing order consistent with past practice and the distributions
           will continue as they currently exist at the discretion of the current management company        .
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     .                         .                    .
     4 Gerfners Complex Carev Complex Clifton Center, and CUffon
        Parties have divided the four remaining properties into two
                                                                                                    -
                                                                                       Property The BR
                                                                                  packag   es with Gertners
                                                                                                         in one
        Complex and Carey Complex with any existing mortgages on those properties                     receivi  ng
        package (to be satisfied by the party taking the first package within 60 days of ges
                                                                                             mortga in the
        the properties), and Clifton Center and Clifton Property with any existing                  60 days of
    . . second package (to be satisfied. by the party taking      the  second   packag   e  within
                                       .
        receiving the properties) Immediately after the execution of            the  Settlem   ent  Agreem    ent
                                   .
        (the “Selection Date”! Chana shall make the election to take title to           the propert   ies in one
                                                                                                        shall be
        of the packages by written notice to Benjamin The package selected by Chana
                                             .
        deemed the “Selected Package ” the package not selected by Chana shall be deeme
                                                                                                            d the
               -
        “Non Selected Package       ” and the date on which Chana makes her
        deemed the “Selection Pate.” Within 60 days of the Select           ion  Date  ,
                                                                                           selection shall be
                                                                                         the  BR Parties shall
         use good faith and diligent efforts to cause the transfer of exclusive         title to the Packaged
                                                                                                          ates to
        Properties in the Selected Package to CR Lakewood or whoever Chana design
                                                                                                              and
        receive the properties in the Selected Package, and the CR Parties shall use good faith
        diligent efforts to cause the transfer of exclusi ve title to the  Packag  ed Propert   ies in  the
                                                                             in designates to receive the
                                                                                                            Non -
         Selected Package to the BR Parties or whoever Benjam                        s Closing Pate1*!. The
                                   -
         properties in the Non Selected Package (the     Package      d  Propertie
         transfer of the foregoing properties shall be structured in such a way as constit
                                                                                                to           ute a
                                                                                                          Parties
         distribution under Section 731 of the Internal Revenue Code (the “Code” * The          )
                                                                                                     ,
         hereby instruct the accountants and management company of BCR Lakewood Affiliated
         Management, to ensure that the books and record        s and   tax filings  of  BCR    Lakew    ood and
         the Companies be consistent with the foregoing treatm         ent and  intent
                                                                                                     or transfers
         In the event either of the Parties does not close or fulfill any of the transactions             s to the
          contemplated by this Agreement, the Parties agree to present         any  issues   or dispute
          Court for resolution in the Court’s sole discretion and authority The   .       Court ’ s rulings   with
          regard to the Packaged Properties shall be binding upon the Parties.

         .                                                            .
     5 Arbitration of Remaining Claims in the Actions The Parties shall submit all
       claims in the Actions (the “Remaining Claims”!including the parties’ respective claims
                                                                                               remaining

                                                                                            ive claims in
       for monetary damages in the BCR Lakewood action, and the parties respectrespect
                                                                                 *
                                                                equitab  le relief with             to the
       the Oakridge action including Chana’s claims for                  ' Arbitration !, which shall
       Oakridge property owned by Sunset to binding arbitration “       (                ”
       occur at a mutual ly accepta ble locatio n in New Jersey  Within   .fourtee n (14 ) days from the
                                                                                                        ly
       date of the full execution of the Settlement Agreement, the Parties shall select a mutual
                                                    .
       acceptable arbitrator (“Arbitrator”! In the event the Parties cannot agree on an arbitrator
                                                                                                        to
       within this fourteen (14) day period, the CR Parties shall propose three (3) arbitrators
       the BR Parties, who shall select one of the propos  ed arbitra tors to serve as  Arbitra tor within
                           .
       seven (7) days The Arbitrator shall have the right to award all of the equitab
                                                                  .             shall  take
                                                                                              le and legal
                                                                                             place  within
       relief as requested by the Parties in the Actions The Arbitration
        two (2) months from die date of the selection of the Arbitrator. In the event the Arbitration
        does not begin within two (2) months (6) from the date of the selection of the         Arbitrator,
                                                                                       .
        the Actions shall continue to be tried before Honorable Franois R Hodgson Jr P J
                                                                              .
                                                                                            , , . Ch.,  .   .
        Superior Court of New Jersey, on dates set by the Court


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            .
        6 Escrowed Funds. In the event the sale of the Pinewood Complex occurs prior to the
           issuance of a final arbitration award in the Arbitration or the entry of final judgment in the        :

           Actions, the CR Parties and the BR Parties shall each escrow with the Court the sum of
                              .
           $2.5 million (ie t $5 million in total) (“Escrowed Funds’! * as discussed above. The Parties
           shall submit a Consent Order to the Court for filing which provides that the Escrowed
      >  . Funds shall be. used , solely to satisfy any claim for monetary relief by any Party in the

                                                                                          —
                     ,


           Actions, and that the Escrowed Funds shall not be subject to execution by- any judgment
           creditor of the Parties    .
            .                             .
           7 Jurisdiction of the Court The Court shall maintain jurisdiction over the Parties to enforce
             the terms of the Settlement Agreement.
*




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  ..      IN WITNESS WHEREOF, the Parties have caused this Term Sheet to be duly executed
 as of tire date set forth with their respective signatures below.




  Dated              2020
                                                  CHANA RINGEL


                                                  CR LAKEWOOD, LLC


  Dated:              2020
                                                  By: Chana Ringel
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                                                  Title; Manager




   Dated: July       , 2020
                                                   BENJAMIN RINGEL



                                                   BR LAKEWOOD, LLC


   Dated: July       , 2020
                                                   By:
                                                   Title:



                                                   SUNSET HILL OAKRIDGE PLAZA, LLC


       Dated: July   , 2020
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NAGEL RICE, LLP
Bruce H. Nagel, Esq. (025931977)
103 Eisenhower Parkway, Suite 103
Roseland, New Jersey 07068
Attorneys for Defendants BR Lakewood, LLC and Benjamin Ringel
and Sunset Hill Oakridge Plaza, LLC and Benjamin Ringel

                              : SUPERIOR COURT OF NEW JERSEY
CHANA RINGEL AND CR LAKEWOOD, : CHANCERY DIVISION
INDIVIDUALLY, AND DERIVATIVELY OCEAN COUNTY
ON BEHALF OF BCR LAKEWOOD     :
HOLDINGS, LLC,                : DOCKET NO. OCN-C-127-15
                              :
     Plaintiffs/Respondents, :
                              :
          vs.                 :         Civil Action
                              :
BR LAKEWOOD, LLC AND BENJAMIN :
RINGEL,                       :
                              :
     Defendants.              :
______________________________:
CHANA RINGEL, INDIVIDUALLY, AND
DERIVATIVELY ON BEHALF OF BCR :    DOCKET NO. OCN-C-152-16
OAKRIDGE, LLC,                :
                              :
     Plaintiffs/Respondents, :
                              :         Civil Action
          vs.                 :
                              :
BENJAMIN RINGEL, SUNSET HILL :      NOTICE OF CROSS-MOTION
OAKRIDGE PLAZA, LLC, JOHN     :
DOES 1-10, AND ABC            :
CORPORATION 1-10,             :
                              :
     Defendants/Appellants.   :
______________________________:

Matthew Fiorovanti, Esq.
Giordano Halleran & Ciesla, PC
125 Half Mile Road Suite 300
Red Bank, NJ 07701
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Efrem Schwalb, Esq.
Koffsky Schwalb LLP
349 Fifth Avenue, Suite 733
New York, NY 10016


       PLEASE TAKE NOTICE that on August 23, 2021 at 3:30 p.m. or

any later date set by the Court, Nagel Rice, LLP, attorneys for

Defendants in both the Lakewood matter and the Oakridge matter,

will move before the Superior Court of New Jersey, Ocean County,

Chancery Division, for an Order (i) declaring and adjudging that

BR Lakewood, LLC is the highest and best bidder for the real

property located at 1703 Lexington Avenue in Lakewood, New Jersey

(the   “Pinewood        Property”)        under     the     terms     of    the     parties’

settlement agreement with a bid of $46,391,000; (ii) authorizing

Barry Mandelbaum to finalize the written contract for the sale of

the Pinewood Property to BR Lakewood LLC within a reasonable time

after the date of the decision of this motion; and (iii) granting

such other relief as the Court deems equitable and just.

       PLEASE TAKE FURTHER NOTICE that, in support of this cross-

motion, Defendants will rely upon the Certification and letter

brief submitted herewith.
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      A proposed form of Order is submitted herewith.

      Oral argument is requested.

                                           NAGEL RICE, LLP
                                           Attorney for Defendants


                                           By: s/Bruce H. Nagel____
                                                BRUCE H. NAGEL

Dated: August 17, 2021
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NAGEL RICE, LLP
Bruce H. Nagel, Esq. (025931977)
103 Eisenhower Parkway, Suite 103
Roseland, New Jersey 07068
Attorneys for Defendants BR Lakewood, LLC and Benjamin Ringel
and Sunset Hill Oakridge Plaza, LLC and Benjamin Ringel

                              : SUPERIOR COURT OF NEW JERSEY
CHANA RINGEL AND CR LAKEWOOD, : CHANCERY DIVISION
INDIVIDUALLY, AND DERIVATIVELY OCEAN COUNTY
ON BEHALF OF BCR LAKEWOOD     :
HOLDINGS, LLC,                : DOCKET NO. OCN-C-127-15
                              :
     Plaintiffs/Respondents, :
                              :
          vs.                 :         Civil Action
                              :
BR LAKEWOOD, LLC AND BENJAMIN :
RINGEL,                       :
                              :
     Defendants.              :
______________________________:
CHANA RINGEL, INDIVIDUALLY, AND
DERIVATIVELY ON BEHALF OF BCR :    DOCKET NO. OCN-C-152-16
OAKRIDGE, LLC,                :
                              :
     Plaintiffs/Respondents, :
                              :         Civil Action
          vs.                 :
                              :
BENJAMIN RINGEL, SUNSET HILL :      ORDER
OAKRIDGE PLAZA, LLC, JOHN     :
DOES 1-10, AND ABC            :
CORPORATION 1-10,             :
                              :
     Defendants/Appellants.   :
______________________________:

      THIS MATTER having been brought before the court on the cross-

motion of Defendants BR Lakewood, LLC and Benjamin Ringel in the

Lakewood matter and Sunset Hill Oakridge Plaza, LLC and Benjamin
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Ringel     in    the   above    matters      for    an    Order     (i)    declaring        and

adjudging that BR Lakewood, LLC is the highest and best bidder for

the real property located at 1703 Lexington Avenue in Lakewood,

New Jersey (the “Pinewood Property”) under the terms of the

parties’ settlement agreement with a bid of $46,391,000; and (ii)

authorizing Barry Mandelbaum to finalize the written contract for

the sale of the Pinewood Property to BR Lakewood LLC within a

reasonable time after the date of the decision of this motion, and

for good cause shown:

      IT IS on this _____ day of August 2021;

      ORDERED that:

      1.        The Cross-Motion filed by Defendants BR Lakewood, LLC,

Benjamin Ringel and Sunset Hill Oakridge Plaza, LLC is hereby

granted.

      2.        It is hereby declared and adjudged that BR Lakewood, LLC

is the highest and best bidder for the real property located at

1703 Lexington Avenue in Lakewood, New Jersey (the “Pinewood

Property”) under the terms of the parties’ settlement agreement

with a bid of $46,391,000.

      3.        Barry Mandelbaum shall finalize the written contract for

the sale of the Pinewood Property to BR Lakewood LLC within a

reasonable time after the entry of this Order.

      4.        A copy of this Order be served on all parties within

seven days of Defendants’ receipt.
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                                    ____________________________________
                                                                  , J.S.C.

This motion was:
____ Opposed
____ Unopposed
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                                       August 17, 2021


Via JEDS
The Honorable Francis R. Hodgson, Jr. P.J. Ch.
206 Court House Lane
Courtroom #25, 1st Floor
Toms River, NJ 08753
      Re:    Chana Ringel v. Benjamin Ringel and Sunset Hill, et al
             Docket No.: OCN-C-152-16
             Chana Ringel, et al v. BR Lakewood, LLC and Benjamin
             Ringel
             Docket No.: OCN-C-127-15
Dear Judge Hodgson:

      We    represent         Benjamin       Ringel       (“Benjamin”)          and     other

defendants (collectively “Defendants”) in the above two matters.

This letter brief is submitted in opposition to the Order to Show

Cause filed by Chana Ringel (“Chana”) and others (“Plaintiffs”)

and in support of Defendants’ cross-motion for an order declaring

and adjudging that BR Lakewood LLC is the highest and best bidder

for the Pinewood Property and authorizing Barry Mandelbaum to

finalize the written contract for the sale of the Pinewood Property




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to BR Lakewood LLC within a reasonable time after the date of the

decision of this motion.

      Pursuant to Your Honor’s June 4, 2021 Order, Mr. Brecher

implemented a “last and best” bid process.                     See Order at Exh. B to

Certification of Matthew Fiorovanti.                       This “best” bid process

included providing bidders with written procedures, a sealed bid

process and a process to open the bids at Mr. Mandelbaum’s office.

Four bids were submitted and the bid by our client, BR Lakewood

LLC (“BR Lakewood”) was the “best” bid as it nets the sellers the

most money.

      The goal of the seller in any real estate deal is to obtain

the most money. As a result, there is only one way to determine

what is the “best” bid – the bid which nets the sellers the most

money.

      Here, BR Lakewood’s gross bid was $46,391,000.                         See Exh. A to

the Certification of Kevin Starkey. Rushmore’s gross bid was

$47,100,000. See Starkey Cert. at Exh. B.                       BR Lakewood owns half

of Pinewood and therefore will not be buying its 50% share. It

will only be buying CR Lakewood LLC’s 50% share. A copy of the

organizational chart of BCR Lakewood is attached as Exh. F                             to the

Starkey      Cert.       Therefore, there will be no New Jersey State

transfer taxes paid on the sale of Pinewood if BR Lakewood is the

purchaser. See Starkey Cert. at ¶7. If Rushmore is the purchaser,

the sellers will have to pay a transfer tax of $567,385.                                    See

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closing statement at Exhibit D to the Starkey Cert.; See Starkey

Cert. at ¶9.

      In addition, under the Gebroe Hammer brokerage agreement, if

BR Lakewood or CR Lakewood buys Pinewood, only a .85% commission

is due versus a 1.85% commission if Rushmore buys it.                          Attached as

Exh. E to the Starkey Cert. is the brokerage commission agreement.

If BR Lakewood is the purchaser, the Gebroe Hammer brokerage

commission would be $394,323 ($46,391,000 x .85%).                          See Exh. C to

the Starkey Cert.; See Starkey Cert. at ¶8.                         If Rushmore is the

purchaser,      the     Gebroe      Hammer        brokerage     commission        would     be

$871,350 ($47,100,000 x 1.85%). See Exh. D to the Starkey Cert.;

See Starkey Cert. at ¶9.

      As a result, if BR Lakewood is the purchaser, the sellers

will net the following:

      $46,391,000 – Sale price

      $6,446,339.53 – Mortgage payoff

      $25,000 – Legal fee

      $394,323.50 - Gebroe Hammer brokerage commission

      $39,525,336.97 – CASH TO SELLERS

(See Exh. C to the Starkey Cert.; See Starkey Cert. at ¶8).

      If Rushmore         is the purchaser, the sellers will net the

following:

      $47,100,000 – Sale price

      $6,446,339.53 – Mortgage payoff
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      $567,385 – New Jersey Transfer Tax

      $25,000 – Legal fee

      $871,350 - Gebroe Hammer brokerage commission

      $39,189,925.47 – CASH TO SELLERS

(See Exh. D to the Starkey Cert.; See Starkey Cert. at ¶9).

      The math is simple. BR Lakewood’s bid is the “best” as the

sellers will receive $335,411.50 more with BR Lakewood as the

buyer. See Starkey Cert. at ¶10.

      Common sense leads to only once conclusion -- the “best” offer

is the one that provides the most money to the sellers.                             Merriam-

Webster dictionary defines “best” as “excelling all others” and

“offering      or    producing        the    greatest         advantage,         utility     or

satisfaction”.                      Merriam-Webster.com.                               2011.

https://www.merriam-webster.com (16 August 2011). Since BR

Lakewood’s bid produces “the greatest advantage [and] utility” –-

the most money to sellers -- it is clearly the best.

      Plaintiffs’        argument       that       BR   Lakewood’s         bid    should     be

invalidated because it fails to satisfy the 5% deposit requirement

is baseless.        BR Lakewood’s bid includes a deposit of $2,351,000

which is more than 5% of the bid.                   See Exh. A to Starkey Cert.

      In footnote 3 of their brief, Plaintiffs argue that using

Benjamin’s straightforward position that “best” means the most

money   in    seller’s       pocket,      Rushmore’s          bid   nets    more    than     BR

Lakewood’s      bid.     The    only     support        for    this   position       is     the
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incompetent       evidence       submitted        by    counsel       in    their      brief.

Plaintiffs filed an Order to Show Cause and provided whatever

support they had for their position.                    They provided no competent

evidence that Rushmore’s bid nets more than BR Lakewood’s bid and

thus the Court should not consider this issue.

      Any attempt to present facts which are neither of record,

judicially noticeable, nor stipulated, by way of statements of

counsel made in supporting briefs, memoranda and oral argument are

incompetent evidence and should be rejected by the court. Such

statements do not constitute cognizable facts. Gonzalez v. Ideal

Tile Importing Co., 371 N.J. Super. 349, 358 (App. Div. 2004),

aff’d 184 N.J. 415 (2005); Templeton Arms v. Feins, 220 N.J. Super

1, 24 (App. Div. 1987); Albrect v. Correctional Medical, 422 N.J.

Super. 265, 267 n.1 (App. Div. 2011)(court declined to consider

uncertified information             about defendant presented through its

brief and its counsel at oral argument). This Court should not

consider the facts and argument submitted by Plaintiffs.

      Plaintiffs also argue that Benjamin is trying to derail the

sale of Pinewood and harm sellers.                  Nothing could be farther from

the truth.       As the Court is aware, Benjamin previously filed an

application arguing that the bidding process was not fair and was

not producing the most money possible for the sellers, including

Chana. Notwithstanding that Benjamin was trying to obtain more

money for Chana and the sellers, Chana vigorously objected and

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demanded that the sellers should not try and obtain a higher

purchase price.           Despite Chana’s objections, the Court held a

hearing    and    granted      Benjamin’s         application       and    re-opened        the

bidding process.           As a result of Benjamin’s actions, the bids

increased and sellers will now receive over $1.5 million more from

the sale.

      At the end of footnote 3 of her brief, Chana states that if

the savings Ben describes are correct they also apply to the GM

Equities bid because she is a partner in the GM Equities bid.                               This

is not true. The GM Equities bid is disqualified because they

failed to adhere to the bidding requirements. A copy of GM Equities

bid is attached as Exhibit C to the Fiorovanti Cert. Both the

Rushmore and BR Lakewood bids each waived any due diligence

contingency. Id.         The GM Equities bid, however, requires that the

bidder be allowed a 15 day                   environmental due diligence.                   The

inclusion of the due diligence period requires the bid to be

rejected. Also, the GM Equities bid states that “This letter of

intent shall be null and void if not signed by both parties on or

before August 10, 2021.” (emphasis added).                      It is undisputed that

the GM Equities letter of intent was not signed by August 10, 2021

so by its terms the bid by GM Equities is “null and void”. Also,

Chana provides no proof that GM Equities is owned by CR Lakewood

or partners with her or CR Lakewood.



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      We respectfully request that Your Honor deny the relief sought

by Plaintiffs and order that the bid by BR Lakewood should proceed

and that Mr. Mandelbaum should finalize the contract of sale to BR

Lakewood.

                                                    Respectfully,
                                                    Bruce H. Nagel
                                                    BRUCE H. NAGEL

cc: Matthew N. Fiorovanti, Esq.(via e-mail)
    Efrem Schwalb, Esq. (via e-mail)




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                                                                  New Jersey Judiciary
                                                            Superior Court - Appellate Division
                                                       Civil Case Information Statement
Please type or clearly print all information.
Title in Full                                                                                   Trial Court or Agency Docket Number
 CHANA RINGEL AND CR LAKEWOD, LLC, INDIVIDUALLY AND                                              OCN-C-127-15 (*)
 DERIVATIVELY ON BEHALF OF BCR LAKEWOOD HOLDINGS,
 LLC
 V.
 BR LAKEWOOD, LLC AND BENJAMIN RINGEL
 AND
 CHANA RINGEL, INDIVDUALLY AND DERIVATIVELY ON BEHALF
 OF BCR OAKWOOD, LLC
    ● Attach additional sheets as necessary for any information below.
Appellant’s Attorney                     Email Address: bnagel@nagelrice.com
                                                            lsantulli@nagelrice.com (*)
          Plaintiff            Defendant               Other (Specify)
    Name                                                                                          Client
                                                                                                  BENJAMIN RINGEL, BR LAKEWOOD, LLC,
    BRUCE H NAGEL, Esq.                                                                           SUNSET HILL OAKRIDGE PLAZA, LLC
    Street Address                                                             City                    State   Zip           Telephone Number
     103 EISENHOWER PKWY                                            ROSELAND                           NJ      07068         973-618-0400
Respondent’s Attorney *                  Email Address: mfiorovanti@ghclaw.com
                                                        cthompson@ghclaw.com (*)
       Plaintiff               Defendant                Other (Specify)
    Name                                                                                          Client
    MATTHEW NICHOLAS FIOROVANTI, Esq.                                                             CHANA RINGEL*
    Street Address                                                             City                    State   Zip           Telephone Number
    125 HALF MILE ROAD SUITE 300                                               RED BANK                NJ      07701         732-741-3900

Give Date and Summary of Judgment, Order, or Decision Being Appealed and Attach a Copy:
August 25, 2021 - Order Declaring Rushmore Highest Bidder
August 23, 2021 - Order Denying Defendants' Cross Motion
August 23, 2021 - Order Denying Defendants' Cross-Motion
June 4, 2021 - Order Denying Disqualification of Broker, etc.

Have all the issues as to all the parties in this action, before the trial court or agency, been                                  Yes           No
disposed? (There may not be any claims against any party in the trial court or agency, either in
this or a consolidated action, which have not been disposed. These claims may include
counterclaims, cross-claims, third-party claims, and applications for counsel fees.)


If outstanding claims remain open, has the order been properly certified                                                       Yes      No      N/A
as final pursuant to R. 4:42-2?


A) If the order has been properly certified, attach copies of the order and the complaint and any
other relevant pleadings to the order being appealed. Attach a brief explanation as to why the
order qualified for certification pursuant to R. 4:42-2.
B) If the order has not been certified or has been improperly certified, leave to appeal must be
sought. (See R. 2:2-4; 2:5-6.) Please note that an improperly certified order is not binding on the
Appellate Division.

(*) truncated due to space limit. Please find full information in the additional pages of the form.
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         If claims remain open and/or the order has not been properly certified, you may want to consider
         filing a motion for leave to appeal or submitting an explanation as to why you believe the matter
         is final and appealable as of right.
Were any claims dismissed without prejudice?                                                                      Yes         No

If so, explain and indicate any agreement between the parties concerning future disposition of those
claims.



Is the validity of a statute, regulation, executive order, franchise or constitutional provision of this State    Yes         No
being questioned? (R. 2:5-1(g))
Give a Brief Statement of the Facts and Procedural History:
  The individual Plaintiff, Chana Ringel, and Defendant, Benjamin Ringel are siblings. They and their entities
  own commercial real estate in Lakewood New Jersey. Both sides brought claims of, among other things,
  misappropriation and breach of fiduciary duty against each other. Two separate cases were filed – Docket No.
  OCN-C-127-15 and Docket No. OCN-C-152-16. The two cases were treated jointly for trial and for all issues
  thereafter including the issues raised on appeal. After the trial commenced in the two actions, the parties
  reached a settlement. Plaintiffs attempted to back out of the settlement but on motion the court enforced the
  settlement. The parties divided up four pieces of real estate and agreed to sell the last property known as
  Pinewood. The parties also agreed to arbitrate all the other remaining issues. That arbitration is proceeding
  and is not part of this appeal. The remaining issue in the two Chancery Division cases relates to placing the
  Pinewood property up for sale and awarding the Pinewood property to the winning bidder pursuant to the
  terms of the settlement agreement. Joseph Brecher was designated as the broker for the sale of Pinewood.
  After Defendants discovered that Mr. Brecher had serious conflicts of interest, they moved to disqualify him.
  The court erroneously denied this motion. Many entities bid on the Pinewood property. Defendant BR
  Lakewood, LLC was the highest and best bidder. Notwithstanding this, the Court held a hearing and awarded
  the Pinewood property to a different bidder, Rushmore Capital, LLC (“Rushmore”). The court entered orders
  denying Defendants’ application to declare BR Lakewood LLC as the winning bidder and granting Plaintiffs’
  application declaring Rushmore as the winning bidder. Now that the court has declared Rushmore as the
  winning bidder, the two chancery matters are now over.
To the extent possible, list the proposed issues to be raised on the appeal as they will be described in appropriate point
headings pursuant to R. 2:5-2(a)(6). (Appellant or cross-appellant only.):
   1. Did the trial court err when it granted Plaintiffs’ application to declare Rushmore Capital, LLC as the
   winning bidder for the Pinewood Property.
   2. Did the trial court err when it denied Defendants’ application to declare BR Lakewood LLC as the winning
   bidder for the Pinewood property.
   3. Did the trial court err when it denied Defendants’ application to disqualify Joseph Brecher as the broker for
   the sale of the Pinewood property and for other relief.

If you are appealing from a judgment entered by a trial judge sitting without a jury or from an order of the trial court,
complete the following:
    1.    Did the trial judge issue oral findings or an opinion? If so, on what date? 08/23/2021                  Yes         No

    2.    Did the trial judge issue written findings or an opinion? If so, on what date?                          Yes         No

    3.    Will the trial judge be filing a statement or an opinion pursuant to R. 2:5-1(b)?              Yes     No   Unknown

    Caution: Before you indicate that there was neither findings nor an opinion, you should inquire of the trial judge to
    determine whether findings or an opinion was placed on the record out of counsel’s presence or whether the judge
    will be filing a statement or opinion pursuant to R. 2:5-1(b).
                                                                 Date of Your Inquiry:
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1. Is there any appeal now pending or about to be brought before this court which:
    (A)       Arises from substantially the same case or controversy as this appeal?                                                       Yes          No
    (B)       Involves an issue that is substantially the same, similar or related to an issue in this appeal?                             Yes          No
If the answer to the question above is Yes, state:
      Case Title                                                         Trial Court Docket#                      Party Name

2. Was there any prior appeal involving this case or controversy?                                                                          Yes          No
If the answer to question above is Yes, state:
          Case Name and Type (direct, 1st PCR, other, etc.)                                           Appellate Division Docket Number
          CHANA RINGEL, INDIVIDUALLY AND DERIVATIVELY ON                                              A-001786-18
          BEHALF OF BCR OAKRIDGE, LLC VS. BENJAMIN
          RINGEL, SUNSET HILL

          CHANA RINGEL AND CR LAKEWOOD, LLC,                                                          A-001785-18
          INDIVIDUALLY, AND DERIVATIVELY ON BEHALF OF
          BCR LAKEWOOD HOLDINGS, LLC, VS. BR LAKEWOOD,
          LLC AND BENJAMIN RINGEL

 Civil appeals are screened for submission to the Civil Appeals Settlement Program (CASP) to determine their potential
 for settlement or, in the alternative, a simplification of the issues and any other matters that may aid in the disposition or
 handling of the appeal. Please consider these when responding to the following question. A negative response will not
 necessarily rule out the scheduling of a preargument conference.
 State whether you think this case may benefit from a CASP conference.                                                                     Yes          No
 Explain your answer:
 The parties are too far apart in their position.

Whether or not an opinion is approved for publication in the official court report books, the Judiciary posts all Appellate
Division opinions on the Internet.

I certify that confidential personal identifiers have been redacted from documents now submitted to the court, and will be
redacted from all documents submitted in the future in accordance with Rule 1:38-7(b).

          BENJAMIN RINGEL, BR LAKEWOOD, LLC,
           SUNSET HILL OAKRIDGE PLAZA, LLC                                                                BRUCE H NAGEL, Esq.
                     Name of Appellant or Respondent                                                           Name of Counsel of Record
                                                                                                      (or your name if not represented by counsel)

                               10/05/2021                                                                  s/ BRUCE H NAGEL, Esq.
                                    Date                                                                   Signature of Counsel of Record
                                                                                                  (or your signature if not represented by counsel)



                               025931977                                                 bnagel@nagelrice.com,lsantulli@nagelrice.com
                                    Bar #                                                                           Email Address




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                                          Superior Court - Appellate Division
                                  CIVIL Case Information Statement
                               ADDITIONAL TRIAL COURT INFORMATION
  Trial Court Docket #        Disposition Date         Trial Court County             Trial Court Judge
OCN-C-152-16                 08/25/2021              OCEAN                      FRANCIS R. HODGSON JR.,
                                                                                JSC

OCN-C-127-15                 08/23/2021              OCEAN                      FRANCIS R. HODGSON JR.,
                                                                                JSC

OCN-C-152-16                 08/23/2021              OCEAN                      FRANCIS R. HODGSON JR.,
                                                                                JSC

OCN-C-127-15                 06/04/2021              OCEAN                      FRANCIS R. HODGSON JR.,
                                                                                JSC

OCN-C-152-16                 06/04/2021              OCEAN                      FRANCIS R. HODGSON JR.,
                                                                                JSC




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                                              Superior Court - Appellate Division
                                              CIVIL Case Information Statement
                                           Additional appellants continued below

                                          Additional respondents continued below
Respondent’s Attorney    Email Address: eschwalb@koffskyschwalb.com,partners@koffskyschwalb.com,
     Plaintiff    Defendant         Other (Specify)
  Name                                                         Client
  EFREM TOBIAS SCHWALB, Esq.                                               CHANA RINGEL
  Street Address                                             City                  State   Zip     Telephone Number
  500 SEVENTH AVE 8TH FL                                     NEW YORK              NY      10018   646-553-1590
Respondent’s Attorney                          mfiorovanti@ghclaw.com,cthompson@ghclaw.com,sclark@ghclaw.c
                                Email Address: om,
     Plaintiff           Defendant         Other (Specify)
  Name                                                                     Client
                                                                           CR LAKEWOOD LLC, BCR LAKEWOOD
  MATTHEW NICHOLAS FIOROVANTI, Esq.                                        HOLDINGS, LLC
  Street Address                                             City                  State   Zip     Telephone Number
  125 HALF MILE ROAD SUITE 300                               RED BANK              NJ      07701   732-741-3900
Respondent’s Attorney           Email Address: eschwalb@koffskyschwalb.com,partners@koffskyschwalb.com,
     Plaintiff           Defendant         Other (Specify)
  Name                                                                Client
                                                                           CR LAKEWOOD LLC, BCR LAKEWOOD
  EFREM TOBIAS SCHWALB, Esq.                                               HOLDINGS, LLC
  Street Address                                             City                  State   Zip     Telephone Number
  500 SEVENTH AVE 8TH FL                                     NEW YORK              NY      10018   646-553-1590

                                            Additional parties continued below

                                    Appellant’s attorney email address continued below
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                                  Respondent’s attorney email address continued below
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sclark@ghclaw.com
PARTY NAME: CHANA RINGEL ATTORNEY NAME: EFREM TOBIAS SCHWALB, Esq.
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partners@koffskyschwalb.com
PARTY NAME: CR LAKEWOOD LLC, BCR LAKEWOOD HOLDINGS, LLC ATTORNEY NAME:
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cthompson@ghclaw.com
sclark@ghclaw.com
PARTY NAME: CR LAKEWOOD LLC, BCR LAKEWOOD HOLDINGS, LLC ATTORNEY NAME: EFREM
TOBIAS SCHWALB, Esq.

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eschwalb@koffskyschwalb.com
partners@koffskyschwalb.com
                             Additional Party’s attorney email address continued below




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                              2-9 October08:25:25 PM Pg 197
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                                                               138 Trans ID: CHC202252660
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                                   SUPERIOR COURT OF NEW JERSEY
                                        APPELLATE DIVISION
                                            PO BOX 006
                                RICHARD J. HUGHES JUSTICE COMPLEX
                                     TRENTON, N.J. 08625-0006

                                         NOTICE OF DOCKETING


                                                                          Date: October 07, 2021

        ATTN: NAGEL RICE LLP - BRUCE H NAGEL
        103 EISENHOWER PKWY
        ROSELAND, NJ 07068

  Title: CHANA RINGEL AND CR LAKEWOD, LLC, INDIVIDUALLY AND DERIVATIVELY ON
  BEHALF OF BCR LAKEWOOD HOLDINGS, LLC V. BR LAKEWOOD, LLC AND BENJAMIN
  RINGEL AND CHANA RINGEL, INDIVDUALLY AND DERIVATIVELY ON BEHALF OF BCR
  OAKWOOD, LLC
  Docket Number: A-000370-21 TEAM 02           Appeal Filed:10/05/2021



        1.      The above docket number must appear on all documents submitted.

        2.      Respondent shall file a case information statement within 15
                days after service of the notice of appeal. R. 2:5-1(a).

        3.      IF YOUR APPEAL INCLUDES A TRANSCRIPT, IT WILL BE SUBJECT TO
                DISMISSAL IF THE TRANSCRIPT IS NOT FILED WITHIN 35 DAYS OF THE
                FILING OF THE NOTICE OF APPEAL. UNLESS, PRIOR TO THAT DATE, YOU
                ADVISE THE CLERK’S OFFICE THAT THE TRANSCRIPT HAS NOT BEEN
                DELIVERED TO YOU AND INDICATE THE DATE YOU HAVE BEEN PROMISED
                FILING AND DELIVERY. THERE WILL BE NO FURTHER NOTICE.

        4.      If this is an appeal of a state agency decision, the agency must
                submit a Statement of Items Comprising the Record within 30 days
                of service of the Notice of Appeal. R. 2:5-4(b). Upon receipt of
                the Statement of Items Comprising the Record and transcript (if
                applicable), a scheduling order for the brief and appendix will
                be issued.

        5.      Certain civil and state agency appeals may be selected for the
                Civil Appeals Settlement Program (CASP). Unless this appeal is
                selected for a settlement conference or unless otherwise stated
                in a scheduling order, the time limits provided by R. 2:6-11 for
                perfection of the appeal must be complied with by all parties.
                Upon appellant’s failure to comply, the appeal will be subject
                to dismissal. Upon respondent’s failure to comply, the brief
                will be subject to suppression.




                https://www.njcourts.gov/courts/appellate.html?lang=eng
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        6.      If oral argument is desired, it must be requested timely by a
                separate captioned document. R. 2:11-1(b). If oral argument is
                requested, notify the Clerk’s office of any period of time
                during which you expect to be unavailable.

        PLEASE REFER ALL INQUIRIES TO YOUR CASE MANAGER:
        IWONA VARGAS (609-815-2950 x 52656) IWONA.VARGAS@NJCOURTS.GOV



                                                              JOSEPH H. ORLANDO
                                                              CLERK OF THE APPELLATE DIVISION



  Trial Court Docket No:                          OCEAN   OCN-C-127-15
                                                 OCN-C-152-16

  cc:           GIORDANO HALLERAN & CIESLA, PC - MATTHEW NICHOLAS FIOROVANTI
                KOFFSKY SCHWALB LLC - EFREM TOBIAS SCHWALB




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                         Exhibit J
               OCN-C-000127-15 03/09/2022
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                                      Filed 09/07/23     119 of 274
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               OCN-C-000127-15 03/09/2022
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                                              ORDER ON MOTION
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                                                       SUPERIOR COURT OF NEW JERSEY
                                                       APPELLATE DIVISION
                                                       DOCKET NO. A-000370-21T2
 CHANA RINGEL AND CR LAKEWOD,                          MOTION NO. M-001678-21
 LLC, INDIVIDUALLY AND                                 BEFORE      PART E
 DERIVATIVELY ON BEHALF OF BCR                         JUDGE(S):   CARMEN MESSANO
 LAKEWOOD HOLDINGS, LLC
 V.
 BR LAKEWOOD, LLC AND BENJAMIN
 RINGEL
 AND
 CHANA RINGEL, INDIVDUALLY AND
 DERIVATIVELY ON BEHALF OF BCR
 OAKWOOD, LLC
 V.
 BENJAMIN RINGEL, SUNSET HILL
 OAKRIDGE PLAZA, LLC, JOHN DOES
 1-10 AND ABC CORPORATIONS 1-10

MOTION FILED:             11/23/2021                  BY:     BENJAMIN RINGEL, BR LAKEWOOD,
                                                              LLC, SUNSET HILL OAKRIDGE PLAZA,
                                                              LLC
ANSWER(S)                 12/02/2021                  BY:     RUSHMORE CAPITAL, LLC
FILED:                    12/03/2021                  BY:     CHANA RINGEL



SUBMITTED TO COURT: December 27, 2021

                                   ORDER
                                   -----
     THIS MATTER HAVING BEEN DULY PRESENTED TO THE COURT, IT IS, ON THIS
4th day of January, 2022, HEREBY ORDERED AS FOLLOWS:

MOTION BY         APPELLANT

MOTION TO EXTEND TIME TO FILE
APPELLANT'S BRIEF 45 DAYS                             GRANTED

SUPPLEMENTAL:

                                                      FOR THE COURT:

                                                      _________________________
                                                      CARMEN MESSANO, P.J.A.D.
OCN-C-127-15
OCN-C-152-16             OCEAN
ORDER - REGULAR MOTION
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                       Exhibit M
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Scorese, Angela (x2504)

From:                            njedatanotices.mailbox@judiciary.state.nj.us
Sent:                            Tuesday, January 4, 2022 11:27 AM
Subject:                         (AS)eCourts Appellate-Communication = A-000370-21 = CHANA RINGEL AND CR
                                 LAKEWOD, LLC, INDIVIDUALLY AND DERIVATIVELY ON BEHALF OF BCR LAKEWOOD
                                 HOLDINGS, LLC V. BR LAKEWOOD, LLC AND BENJAMIN RINGEL AND CHANA RINGEL,
                                 INDIVDUALLY AND DERIVATIVELY ON BEHALF OF

Importance:                      High



 Caution: External Email!



An eCourts Appellate Communication was entered by court on the case below:

Case Title: CHANA RINGEL AND CR LAKEWOD, LLC, INDIVIDUALLY AND DERIVATIVELY ON BEHALF OF BCR LAKEWOOD
HOLDINGS, LLC V. BR LAKEWOOD, LLC AND BENJAMIN RINGEL AND CHANA RINGEL, INDIVDUALLY AND DERIVATIVELY
ON BEHALF OF BCR OAKWOOD, LLC
Docket #s: (Appeal &/or Trial Court) A-000370-21
Filing Party: BENJAMIN RINGEL, BR LAKEWOOD, LLC, SUNSET HILL OAKRIDGE PLAZA, LLC
Case manager: IWONA VARGAS
Phone number: 609-815-2950

Comments:

BRIEF-APPELLANTS BRIEF AND APPENDIX: Due Date 01/20/22 (NAGEL RICE LLP - BRUCE H NAGEL )
BRIEF-RESPONDENTS BRIEF AND APPENDIX: Due Date 02/22/22 (GIORDANO HALLERAN & CIESLA, PC - MATTHEW
NICHOLAS FIOROVANTI )
BRIEF-REPLY BRIEF: Due Date 03/03/22 (NAGEL RICE LLP - BRUCE H NAGEL )


NOTICE HAS BEEN ELECTRONICALLY MAILED TO:

 APPELLANT ATTORNEY NAME    APPELLANT ATTORNEY EMAIL

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 RESPONDENT ATTORNEY NAME       RESPONDENT ATTORNEY EMAIL

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 EFREM TOBIAS SCHWALB           ESCHWALB@KOFFSKYSCHWALB.COM,PARTNERS@KOFFSKYSCHWALB.COM

 MATTHEW NICHOLAS FIOROVANTI    MFIOROVANTI@GHCLAW.COM,CTHOMPSON@GHCLAW.COM,SCLARK@GHCLAW.COM



 MOVANT ATTORNEY NAME      MOVANT ATTORNEY EMAIL


                                                            1
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 AFIYFA HAKIM ELLINGTON    AELLINGTON@GHCLAW.COM,MANGOTTI@GHCLAW.COM,FRICCI@GHCLAW.COM



 INTERVENOR
 ATTORNEY       INTERVENOR ATTORNEY EMAIL
 NAME

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 CASSIRER


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happy to help you with any questions or concerns you may have. Please contact the case manager listed above.




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 PETER CHARLES HARVEY, Esq.                                          Before Appellate Division,
 PATTERSON BELKNAP WEBB & TYLER LLP                                  Superior Court of New Jersey
 1133 AVENUE OF THE AMERICAS                                         DOCKET NO. A-000370-21
 NEW YORK, NY 10036-6710
 212-336-2000
 pcharvey@pbwt.com
 mcolitigation@pbwt.com
                                                                     CIVIL

 CHANA RINGEL AND CR LAKEWOD, LLC, INDIVIDUALLY AND DERIVATIVELY ON
 BEHALF OF BCR LAKEWOOD HOLDINGS, LLC
 V.
 BR LAKEWOOD, LLC AND BENJAMIN RINGEL
 AND
 CHANA RINGEL, INDIVDUALLY AND DERIVATIVELY ON BEHALF OF BCR
 OAKWOOD, LLC
                                   PROOF OF SERVICE

       I hereby certify that an original of the following documents, APPELLANTS BRIEF,
 APPELLANTS APPENDIX (Vol. 001), APPELLANTS APPENDIX (Vol. 002),
 APPELLANTS APPENDIX (Vol. 003), PROOF OF SERVICE were submitted and
 transmitted to the parties listed below in the following format:

 ELECTRONICALLY TO:
 ATTORNEY NAME: MATTHEW NICHOLAS FIOROVANTI, Esq.
 mfiorovanti@ghclaw.com
 cthompson@ghclaw.com
 sclark@ghclaw.com
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 ATTORNEY NAME: MATTHEW NICHOLAS FIOROVANTI, Esq.
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 daniel.gorman@troutman.com
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 mangotti@ghclaw.com
 fricci@ghclaw.com


 BY MAIL:

(*) truncated due to space limit. Please find full information in the additional pages of the form.   page 1 of 2
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        I certify that the forgoing statements made by me are true. I am aware that if any of
 the foregoing statements made by me are willfully false, I am subject to punishment.




                                                                     Attorney for APPELLANT
                                                                     BENJAMIN RINGEL, BR LAKEWOOD, LLC,
                                                                     SUNSET HILL OAKRIDGE PLAZA, LLC
 Dated: 01/20/2022                                                   By: S/ PETER CHARLES HARVEY, Esq.




(*) truncated due to space limit. Please find full information in the additional pages of the form.   page 2 of 2
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     OCN-C-000127-15
23-22655             01/26/2022
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CHANA RINGEL AND CR
LAKEWOOD, INDIVIDUALLY,                         SUPERIOR COURT OF NEW JERSEY
AND DERIVATIVELY ON BEHALF                    CHANCERY DIVISION: OCEAN COUNTY
OF BCR LAKEWOOD HOLDINGS,
LLC,                                                          Civil Action

       Plaintiffs,

              vs.

BR LAKEWOOD, LLC AND                                  Docket No. OCN-C-127-15
BENJAMIN RINGEL,

       Defendants,

CHANA RINGEL,
INDIVIDUALLY, AND
DERIVATIVELY ON BEHALF OF
BCR OAKRIDGE, LLC,                                    Docket No. OCN-C-152-16

       Plaintiffs,                             ORDER GRANTING DEFENDANTS’ MOTION
                                               FOR A STAY OF PROCEEDINGS PENDING
              vs.                                           APPEAL

BENJAMIN RINGEL, SUNSET
HILL OAKRIDGE PLAZA, LLC,
JOHN DOES 1-10, AND ABC
CORPORATION 1-10,

       Defendants,



     THIS MATTER HAVING BEEN OPEN TO THE COURT by Defendants

Benjamin Ringel, BR Lakewood, LLC, and Sunset Hill Oakridge

Plaza, LLC (“Defendants”), by and through their counsel,

Patterson Belknap Webb & Tyler LLP (Peter C. Harvey, Esq.,

appearing) seeking a stay of all proceedings pursuant to Rule

2:9-5(b), pending the resolution of the Defendants’ appeal
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before the Appellate Division of the Superior Court; and based

upon the arguments advanced by Defendants; and considering the

papers opposing this application; and based upon the pleadings

and proceedings and good cause having been shown;


     It is on this _________ day of February 2022,


     ORDERED, that all proceedings before this Court in the

above-captioned matters shall be stayed until the resolution of

Defendants’ pending appeal before the Appellate Division, and

any subsequent appeal to the New Jersey Supreme Court.


DATED:    January 26, 2022



                                  ______________________________________
                                  HON. FRANCIS R. HODGSON, JR.
                                  Presiding Judge
                                  Chancery Division



This motion was:
__ Opposed
__ Unopposed




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CHANA RINGEL AND CR
LAKEWOOD, INDIVIDUALLY,                     SUPERIOR COURT OF NEW JERSEY
AND DERIVATIVELY ON BEHALF                        CHANCERY DIVISION
OF BCR LAKEWOOD HOLDINGS,
LLC,                                                       CIVIL ACTION

       Plaintiffs,

              vs.

BR LAKEWOOD, LLC AND                               Docket No. OCN-C-127-15
BENJAMIN RINGEL,

       Defendants,

CHANA RINGEL,
INDIVIDUALLY, AND
DERIVATIVELY ON BEHALF OF
BCR OAKRIDGE, LLC,                                 Docket No. OCN-C-152-16

       Plaintiffs,                                 CERTIFICATE OF SERVICE

              vs.

BENJAMIN RINGEL, SUNSET
HILL OAKRIDGE PLAZA, LLC,
JOHN DOES 1-10, AND ABC
CORPORATION 1-10,

       Defendants,
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     I, Peter C. Harvey, hereby certify that on the 26th day of

January 2022, a true and correct copy of Defendants’ Motion for

a Stay of Proceedings Pending Appeal, its Memorandum of Law in

Support of Defendants’ Motion and in Opposition to Rushmore

Capital LLC’s Order to Show Cause, the Certification of Peter C.

Harvey with Exhibits, and a Proposed Order were served via the

New Jersey Superior Court’s electronic filing notification

system upon all counsel of record.


                                         By:    _______/s/ Peter C. Harvey__
                                                       Peter C. Harvey, Esq.

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CHANA RINGEL AND CR
LAKEWOOD, INDIVIDUALLY, AND                      SUPERIOR COURT OF NEW JERSEY
DERIVATIVELY ON BEHALF OF                       CHANCERY DIVISION: OCEAN COUNTY
BCR LAKEWOOD HOLDINGS, LLC,
                                                             Civil Action
      Plaintiffs,

             vs.

BR LAKEWOOD, LLC AND
BENJAMIN RINGEL,                                     Docket No. OCN-C-127-15

      Defendants,

CHANA RINGEL, INDIVIDUALLY,
AND DERIVATIVELY ON BEHALF
OF BCR OAKRIDGE, LLC,
                                                     Docket No. OCN-C-152-16
      Plaintiffs,
                                                 DEFENDANTS’ MEMORANDUM OF LAW
             vs.                                  IN SUPPORT OF THEIR MOTION
                                                   FOR A STAY OF PROCEEDINGS
BENJAMIN RINGEL, SUNSET HILL                            PENDING APPEAL
OAKRIDGE PLAZA, LLC, JOHN
DOES 1-10, AND ABC
CORPORATION 1-10,

      Defendants,




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                                 and Sunset Oakridge Plaza, LLC
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                              PRELIMINARY STATEMENT

      This     Court     should     stay     all    proceedings         in    this    case.

Defendants have an appeal pending before the Appellate Division

challenging, primarily, this Court’s June 4, 2021, August 23, 2021

and August 25, 2021 Orders.             Defendants seek review of the rulings

declaring Rushmore Capital, LLC (“Rushmore”), the bid winner for

the Pinewood Property and declining to disqualify the real estate

broker who had an impermissible financial and familial conflict of

interest.      Permitting a sale of the Pinewood Property while an

appeal    is   pending      would     eliminate        Defendants’      opportunity         to

challenge      the     bidding      process.           Moreover,      it     would    cause

irreparable harm to Defendants as real estate is unique.                                  This

Court should not allow the Pinewood Property to be sold until the

Appellate Division has reviewed and ruled upon the merits of the

case. Under these circumstances, a stay of the proceedings pending

resolution of the appeal is both appropriate and prudent.

      Defendants have satisfied all three factors favoring a stay

of proceedings.        First, selling the Pinewood Property to Rushmore

would    cause       irreparable        harm      by    eviscerating          Defendants’

opportunity to establish itself as the rightful purchaser and

owner.    Second, Defendants’ grounds for appeal have a reasonable

probability of success on their merits.                   Third, refusing to grant

the stay would cause greater harm than granting the stay.                            Alleged

monetary injury to a non-party – Rushmore – does not amount to
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irreparable harm. Rushmore can only point to hypothetical monetary

damages stemming from a grant of the stay. In contrast, Defendants

would lose an equitable and irreplaceable interest in the Pinewood

Property itself.

      Rushmore has no basis to seek an Order to Show Cause.                               That

entity is not a party in this case and, thus, has no standing to

file any application. Furthermore, Rushmore has not filed a motion

to intervene a second time in this case and has not demonstrated

the factors permitting it to be a valid intervenor.                       Additionally,

Rushmore’s claims in its procedurally defective Order to Show

Cause, application are meritless as they are nothing more than an

attempt to punish Defendants for exercising their right to appeal

an adverse ruling.

      Separately,        there     are     simply      no    grounds      for     specific

performance.       There is no executed contract between Rushmore and

Defendants to “perform,” and Rushmore has failed to demonstrate

any reason why it would be entitled to such an extraordinary

remedy.

      Rushmore’s application for sanctions, including counsel fees,

also fails.      Rushmore cannot point to any actual provision of any

court order that Defendants purportedly have violated.                             That is

not an oversight; rather this failure results from the fact that

no such violation exists. It follows that Rushmore is not entitled

to sanctions under Rule 1:10-3.

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      Without a meritorious sanctions motion, non-party Rushmore

cannot seek any counsel fees it incurred in connection with filing

its ill-advised Order to Show Cause application.                           Filed after-

hours on the eve of Defendants’ filing deadline for its opening

appellate brief, Rushmore’s application is nothing more than an

attempt to intimidate Defendants to stop them from asserting their

appeal    rights.         This    Court     should      not    reward      such    blatant

gamesmanship, and should grant Defendants’ motion for a stay

pending appeal.




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               FACTUAL BACKGROUND AND PROCEDURAL HISTORY1

      This case arises from two lawsuits filed by Chana Ringel and

related entities (“Plaintiffs”), against her brother, Ben Ringel,

and related entities (“Defendants”).                    The first suit, filed in

2015, is captioned as Chana Ringel v. BR Lakewood, LLC, Docket No.

OCN-C-127-15.       The second was filed in 2016 and captioned as Chana

Ringel, et al. v. Benjamin Ringel, et al., Docket No. OCN-C-152-

16.   (Certification of Peter C. Harvey in Support of Defendants’

Motion for a Stay of Proceedings Pending Appeal and in Opposition

to Rushmore Capital LLC’s Order to Show Cause, ¶ 2, hereinafter

“Harvey Cert.”)

      In   October      2020,     the    parties      settled      both     lawsuits       by

executing a Term Sheet (hereafter, “Term Sheet” or “Agreement”).

(Harvey Cert. ¶ 3.)         As part of the settlement, the parties agreed

to sell the Pinewood Property through a competitive bidding process

and split the proceeds from that sale.                   (Harvey Cert. ¶ 3.)              This

Court retained jurisdiction to implement the terms of the parties’

Agreement, which involved, among other things, a court-ordered

sale of the Pinewood Property.               (Harvey Cert. ¶ 3.)

      Defendants raised a number of objections to the procedure and

substance of the bidding process required by the Term Sheet.                               In

relevant part, Defendants moved to disqualify the broker because


      1Defendants limit the facts and procedural history to what
is relevant in connection with resolving this Motion and Rushmore’s
Order to Show Cause.
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of a pre-existing financial and familial conflict of interest with

Rushmore     Capital,      LLC    (“Rushmore”).            (Harvey      Cert.     ¶    4.)

Defendants also argued that the meaning of “highest bidder” within

the context of the Term Sheet referred to the bidder who could

offer the highest net proceeds to each party.                   (Harvey Cert. ¶ 5.)

Defendants presented evidence demonstrating that Defendant BR

Lakewood, LLC, not Rushmore, had the highest bid because it yielded

the most money to the parties.                  (Harvey Cert. ¶ 5.)         This Court

ruled against Defendants on both of those arguments. (Harvey Cert.

¶ 6.)

     On August 25, 2021, this Court declared Rushmore the winning

bidder.    (Harvey Cert. ¶ 7.)           The Order called for Mr. Mandelbaum

to “finalize the written contract for the sale of the Pinewood

Property . . . within a reasonable time.”                  (Harvey Cert. ¶ 7.)

     Notably, although this Court previously permitted Rushmore to

intervene for the limited purpose of appearing at the August 23,

2021 hearing, the Court’s September 13, 2021 Order expressly

restricted     Rushmore’s        intervention       to   “the    purposes       of     this

motion.” (Harvey Cert. ¶ 8.) After this Court granted Plaintiffs’

motion seeking to declare Rushmore the winning bidder, Rushmore’s

participation, according to the Court’s September 13, 2021 Order,

was “ended and dismissed.”           (Harvey Cert. ¶ 8.)          That is, Rushmore

is not even currently a party to this proceeding.




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       On October 5, 2021, Defendants filed a timely Notice of

Appeal.    (Harvey Cert. ¶ 9.)            Defendants presented two issues to

the Appellate Division for decision: (1) whether this Court erred

in   denying    Defendants’       motion     to   disqualify       the    broker,      and

(2) whether this Court erred in declaring that Rushmore was the

“highest bidder” for the Pinewood Property within the meaning of

the parties Term Sheet.           (Harvey Cert. ¶ 10.)

       A Notice of Docketing was filed on October 7, 2021.                      (Harvey

Cert. ¶ 11.)      Subsequently, on October 11, 2021, Defendants filed

an Amended Notice of Appeal.            (Harvey Cert. ¶ 12.)           On October 20,

2021, the Appellate Division issued a briefing schedule requiring

Defendants to file their opening brief on December 6, 2021.

(Harvey Cert. ¶ 13.)          On January 4, 2022, the Appellate Division

granted Defendants’ motion to extend the time to file their brief

and issued a modified Scheduling Order permitting Defendants to

file their opening brief by January 20, 2022.                       (Harvey Cert. ¶

14.)

       Defendants filed their opening brief on January 20, 2022.

(Harvey Cert. ¶ 15.)            Notably, Rushmore filed its procedurally

improper Order to Show Cause on the night of January 19, hours

before Defendants’ appellate brief was due.                   (Harvey Cert. ¶ 16.)




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                                       ARGUMENT

I.   DEFENDANTS ARE ENTITLED TO A STAY OF ALL PROCEEDINGS
     PURSUANT TO RULE 2:9-5(B)

     Rule 2:9-5(b) directs litigants to file a motion for a stay

of enforcement of a court order before the court that entered the

order.    See R.2:9-5(b).         The rule specifically allows litigants to

seek the stay “prior to the date of the oral argument in the

appellate court” and authorizes courts to exercise its sound

discretion to stay proceedings.              Id.

     In granting stay motions, courts consider the factors set

forth in Crowe v. De Gioia, 90 N.J. 126 (1982).                          Garden State

Equal. v. Dow, 216 N.J. 314, 320 (2013). The Crowe factors require

the party seeking a stay to “demonstrate that (1) relief is needed

to prevent irreparable harm; (2) the applicants claim rests on

settled law and has a reasonable probability of succeeding on the

merits; and (3) balancing the relative hardships to the parties

reveals that greater harm would occur if a stay is not granted

than if it were.”            Id. (quotation marks omitted).                   When the

applicant seeking the stay acts “only to preserve the status quo,

the Court may place less emphasis on a particular Crowe factor if

another    greatly     requires      the    issuance      of    the   remedy.”          Id.

(quotation marks omitted).

     Defendants seek a stay of proceedings only to preserve the

status quo until the Appellate Division has had an opportunity to

review    and   decide      the    merits       of   their     appeal.      This       stay
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application has particular importance since this case concerns a

real estate parcel which, by definition, is unique.

       Defendants’ motion for a stay is timely under Rule 2:9-5(b).

That rule requires litigants to seek a stay “prior to the date of

the    oral    argument       in   the     appellate    court.”         R.    2:9-5(b).

Defendants’ appeal recently has been filed and is now being

briefed.      The Appellate Division has not yet set a date for oral

argument,      hence,    no     argument       has   been   heard    in      this   case.

Rushmore’s emphasis on the date of the August 25, 2021 Order

declaring it the winning bidder on the Pinewood Property, (see

Rushmore Br. at 3-4), is plainly irrelevant to the timeliness of

Defendants’ motion to stay that Order.                  Accordingly, Defendants’

motion seeking a stay of proceedings is timely.

       All three Crowe factors weigh in favor of issuing a stay.

First, staying the sale of the Pinewood Property is necessary to

prevent irreparable harm.               Garden State Equal, 433 N.J. Super. at

320.    “Harm is generally considered irreparable in equity if it

cannot be redressed adequately by monetary damages.”                       Francesconi

v. ARS Classica, 2006 WL 1098237, at *5 (Super. Ct. Ch. Div. Apr.

24, 2006).          Pursuant to well-established law, the sale of real

property      and    transfer      of    the   property     to   a   third     party   is

“irreparable.”         See Van Cleef v. P. Serelis Corp., No. WRN-C-

16005-05, 2005 WL 975682, at *1 (Super. Ct. Ch. Div. Apr. 8, 2005.)




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      At issue here is Defendants’ right to purchase the Pinewood

Property.     Defendants argue that BR Lakewood won the bid for the

Pinewood Property below, and, therefore, any sale of the property

to   Rushmore     would    violate         the   Term   Sheet    and    the     parties’

intentions.      Moreover, prematurely selling the Pinewood Property

would permanently impair Defendants’ ability to have the Appellate

Division evaluate their right to purchase it.                       See Francesconi,

2006 WL 1098237, at *5, *7 (finding that it would cause irreparable

harm not to prevent premature sale of family property).                         Monetary

damages would not make Defendants whole again were this Court to

enforce Rushmore’s proposed sales contract and allow the property

to be sold.

      With regard to the second Crowe factor, Defendants’ appeal

has a reasonable probability of success on the merits. For the

purposes    of   a   motion     for    a    stay,   this    Court      should   examine

Defendants’ arguments “not for their ultimate merit, but for

whether there [is] a reasonable probability of success.”                          Brahma

Const. Corp. v. E. Brunswick Public Schools, No. A-2724-14T3, 2015

WL 1880089, at *4 (App. Div. Apr. 27, 2015). On appeal, Defendants

argue important issues pertaining to contract interpretation and

conflicts of interest.            For example, Defendants argue that the

term “highest bidder,” as used in the Term Sheet, refers to a

bidder who provides the highest net proceeds to each party, not

the bidder with the highest upfront bid.                     New Jersey decisions

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interpreting contracts reasonably support Defendants’ position.

Ambiguous contract terms should be read in the context of the rest

of the contract, and the parties’ stated intent is dispositive in

contract    interpretation.           See    ACE    Am.    Ins.      Co.   v.   Am.    Med.

Plumbing,     Inc.,    458    N.J.     Super.      535,    539    (App.     Div.      2019)

(explaining courts “strive to give effect to all parts of the

writing and every word of” a contract (quotation marks omitted));

EQR-LPC Urban Renewal N. Pier, LLC v. City of Jersey City, 452

N.J. Super. 309, 319 (App. Div. 2016), aff’d, 231 N.J. 157 (2017)

(explaining     that    the    parties’      intent       is   the    “touchstone       for

[contract] interpretation”).

     Defendants’ interpretation of the Term Sheet is supported by

other caselaw.        The New Jersey Supreme Court has explained that

competitive bidding processes are “designed to obtain the best

economic result for the [seller].”                  Greenberg v. Fornicola, 37

N.J. 1, 6 (1962); see also Wasserman’s Inc. v. Twp. Of Middletown,

137 N.J. 238, 246 (1994) (“The purpose of competitive bidding is

to obtain the best economic result for the [seller].”).                         The plain

meaning of “the best economic result” is which proposal will yield

the greatest return of money to the parties.                          Defendants have

presented ample evidence that BR Lakewood’s offer would have

yielded more money – higher net proceeds – to the parties than

Rushmore’s offer.        (See Harvey Cert. ¶ 5.)




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       Defendants’ appeal also relies upon cases that compel the

conclusion that the broker’s conflict of interest in this case

disqualified      him    from    facilitating       the    sale    of    the     Pinewood

Property.      The broker in this case, pursuant to the Term Sheet,

was a quasi-judicial officer conducting a real estate sale under

the authority of this Court.                See Poling v. BNY Mellon Wealth

Mgmt., Nos. A-1502-15T1, A-3507-15T2, 2018 WL 5316092, at *10 (App.

Div. Oct. 29, 2018) (partition commissioner who “acted upon court

appointment and direction to sell [real property]” served in a

“quasi-judicial” role).          Other cases disqualified public officials

or other quasi-judicial officers because of the mere “potential

for    conflict.”       Haggerty      v.   Red   Bank     Borough       Zoning    Bd.   of

Adjustment, 385 N.J. Super. 501, 513 (App. Div. 2006); see also

McVoy v. Bd. of Adjustment of Montclair Twp., 213 N.J. Super. 109,

116    (App.   Div.     1986)   (explaining       that     the    “the    exercise      of

governmental authority” cannot be “affected by bias”).                           Although

this Court may disagree with Defendants’ arguments, for purposes

of the instant motion to stay, the Court only considers whether

Defendants’ arguments are reasonably likely to succeed.                        Given the

cited authority supporting Defendants’ positions, such probability

exists.

       With respect to the third and final Crowe factor, far greater

harm would result from failing to impose a stay than from imposing

one.    As noted above, an interest in real property is unique and

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cannot     be    adequately      compensated         by   a    monetary        judgment.

Defendants stand to lose an equitable property interest.                               In

contrast, Rushmore’s improperly filed application only points to

hypothetical monetary losses, such as possible increased interest

rates     in    connection      with     financing        expenses,      the    general

volatility of the real estate market, and certain alleged tax

savings.        (Rushmore Br. at 10-11.)             All of Rushmore’s concerns

could be “redressed adequately by monetary damages.”                        Van Cleef,

2005 WL 975682, at *4.         And, it is settled law that “mere injuries,

however    substantial,        in   terms       of   money,”     cannot     constitute

irreparable harm. Zoning Bd. of Adjustment of Sparta Twp. v. Serv.

Elec. Cable Television of N.J., Inc., 198 N.J. Super. 370, 381

(App. Div. 1985).           On the other hand, Defendants face a lost

opportunity that they will not be able to rectify without a stay.

Accordingly, the greater (and irreparable) harm would stem from

denying the stay rather than granting it.

     Although Defendants satisfy all three stay factors, this

Court nevertheless should place greater weight on the irreparable

harm component of prematurely enforcing the sale of the Pinewood

Property.       Notably, Defendants move “only to preserve the status

quo.”    Garden State, 216 N.J. at 320.              Accordingly, this Court may

place less emphasis on any given Crowe factor in granting the

motion for a stay.         See id.     A stay of proceedings is warranted.




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II.   RUSHMORE IS NOT ENTITLED TO AN ORDER TO COMPEL SPECIFIC
      PERFORMANCE OR FOR SANCTIONS

      Even if the Court decided to consider Rushmore’s improper

application, it should reject Rushmore’s arguments since Rushmore

has failed to establish any grounds for specific performance,

sanctions or counsel fees.            Defendants have now moved for a stay

of    proceedings       pending      the     resolution        of     their     appeal.

Accordingly, Rushmore’s extreme demands for relief are premature.

      A.    Rushmore Lacks Standing

      Rushmore is not currently a party to these proceedings.                          This

Court granted Rushmore’s motion to intervene for the limited

purpose of appearing at the August 23, 2021 hearing to determine

whether Rushmore or BR Lakewood constituted the “highest bidder”

on the Pinewood Property.           (Harvey Cert. ¶ 8.)             In so doing, this

Court’s September 13, 2021 Order explicitly stated that, “upon

completion of [that] motion, [Rushmore’s] participation will be

ended and dismissed.”          (Harvey Cert. ¶ 8.)

      The issue of standing is “pivotal.”                 Bergen Cty. Improvement

Auth. v. Bergen Regional Med. Ctr., LP, No. A-0050-16T4, 2018 WL

1122421, at *2 (App. Div. Mar. 2, 2018).                      Because Rushmore is

nothing more than a “stranger to [this] litigation” and has not

sought to intervene, it “lacks standing” to bring its Order to

Show Cause.      Bankers Tr. Co. of Calif., N.A. v. Delgado, 346 N.J.

Super. 103, 106-07 (App. Div. 2001).                “[A] lack of standing . . .



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precludes a court from entertaining any of the substantive issues

for determination.”           EnviroFinance Grp., LLC v. Envt’l Barrier

Co., LLC, 440 N.J. Super. 325, 339 (App. Div. 2015).                           Rushmore

should have “addressed” this issue “by filing a timely motion to

intervene,” and it has not.             Bergen Cty., 2018 WL 1122421, at *2

(declining to address any substantive issues because the party

failed to “avail itself of the remedy of filing a motion for leave

to intervene”).

     Nor has Rushmore presented any arguments as to why this Court

should allow it to intervene.              Since it was Rushmore’s burden to

show why intervention is necessary, its attempt to appear fails

for that reason alone.          See Kennedy v. Weichert, No. A-0395-19T2,

2020 WL 863460, at *2 (App. Div. Feb. 21, 2020) (explaining that

the movant bears “the burden to demonstrate grounds to intervene,

including     proof     that     existing       parties     will     not    adequately

represent its interests”).            Therefore, Rushmore cannot pursue its

various unfounded claims for relief set forth in its Order to Show

Cause papers.        In any event, even if Rushmore were a properly

admitted party to this action, its claims fail for several reasons.

     B.     The Extraordinary Remedy of Specific Performance is
            Inapplicable to These Circumstances

     A court may only grant specific performance to enforce an

existing contract pertaining to the sale of real property.                             See

Cox v. RKA Corp., 164 N.J. 487, 517 (2000).                        No such contract



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exists here.      Put another way, there is no contractual duty that

Defendants owe to Rushmore.               Indeed, Rushmore’s papers seek to

force Defendants to agree to and sign the sales contract.                              (See

Rushmore Br. at 6.)            Defendants have not signed that contract

because its terms and validity are the subject of a pending appeal.

The Appellate Division will provide guidance to both the parties

and   this   Court     regarding      the    bidding     process.        Accordingly,

Rushmore’s “interest in the contract” has not yet “converted into

real estate.”      Cox, 164 N.J. at 517.

      Moreover, specific performance is an “extraordinary” remedy.

Centex Homes Corp. v. Boag, 128 N.J. Super. 385, 389 n.2 (Ch. Div.

1974).    In most circumstances, “damages are usually measurable,”

and a “remedy at law is adequate.”               Id. at 389.      To grant specific

performance, the movant must “adequately and clearly establish[]”

the equities supporting the remedy.                 Mayo v. Borovksy, 135 N.J.

Eq. 447, 450 (Ch. 1944).          As noted above, Rushmore only highlights

the possibility of incurring monetary damages from a later sale,

i.e., higher future transactional fees, should the sale of the

Pinewood Property occur at a later time.                 (Rushmore Br. at 10-11.)

Rushmore is correct that “the uniqueness of land” earns special

consideration for relief in this Court. (Rushmore Br. at 9.) That

observation does not, however, help Rushmore’s argument.                        Rather,

that consideration supports Defendants’ stay application.                              Any

potential injury to Rushmore is compensable by the payment of

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money.    In contrast, Defendants could lose their ownership rights

entirely and forever.

      Rushmore’s cited cases are inapposite. In Schwartz v. Hoffman

Foundation      &     Holding     Corp.,        the   court     enforced       specific

performance of a signed option contract that entitled complainants

to a deed upon the meeting of certain conditions.                        139 N.J. Eq.

349, 353 (Ch. 1947).          As noted, no signed contract exists in this

case.    Additionally, Rushmore fails to point to any automatically

executing option provision within the parties’ Term Sheet.

      Rushmore’s reliance upon Friendship Manor, Inc. v. Greiman

also is irrelevant. There, the Appellate Division granted specific

performance      to    “support      and    maintain      the    integrity      of     the

[mortgage] recording system.”              244 N.J. Super. 104, 113 (App. Div.

1990) (quotation marks omitted).                The Appellate Division directed

specific performance only because it determined that the trial

court had “misappli[ed] . . . the factual complex of controlling

equitable principle.”           Id. at 114.       The mortgage recording system

is not at issue here.

      Rushmore bears the burden of showing that it merits the

“extraordinary remedy of specific performance.”                         Centex Homes

Corp., 128 N.J. Super. at 389 n.2; see also Kelleher v. Bragg, 96

N.J. Eq. 25, 28 (Ch. 1924) (explaining that “[t]he complainant has

the   burden    of    proof     in   establishing        [a]    right    to    specific

performance”), aff’d, 97 N.J. Eq. 547 (1925). It has not met this

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burden as Rushmore points only to “economic injury.”                      Id.    This is

not    a   “compelling        reason”       sufficient        to    grant       specific

performance.       Id.    Accordingly, Rushmore is not entitled to the

extraordinary remedy of specific performance.

      C.      Sanctions Are Not Appropriate Because Defendants Have
              Not Violated Any Court Order

      Rushmore fails to meet the requirements for sanctions under

Rule 1:10-3.      Rushmore’s demands for a daily fine is nothing more

than a sharp-elbowed intimidation tactic.                  It has no basis in law

or    fact.       Defendants’       actions       have    not      been    delinquent.

Essentially, Rushmore seeks to punish Defendants for appealing a

judgment that Defendants have a due process right to appeal.

Pursuing one’s appellate rights is not the basis for a sanctions

remedy.

      As noted above, Rule 2:9-5(b) permits litigants to move for

a stay of proceedings before the court that entered the judgment

“prior to the date of the oral argument in the appellate court.”

R. 2:9-5(b).      Appellate briefing has not been completed.                      A date

for oral argument has not been set.                 Accordingly, this motion is

timely, and sanctions are not warranted.

      Rushmore’s      conclusory       assertion       that     Defendants      are    in

violation of this Court’s August 25, 2021 order also is refuted by

the record. (See Rushmore Br. at 5-6.) Curiously, Rushmore cannot

quote any specific provision of the August 25 Order that Defendants



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have purportedly violated.           The Order called for Mr. Mandelbaum to

“finalize the written contract for the sale of the Pinewood

Property . . . within a reasonable time.”                      (Harvey Cert. ¶ 7.)

The Order did not direct Defendants to sign the contract by any

specific date. Nor did the August 25 Order suggest that Defendants

had waived a right to appeal.              Defendants exerted their right to

appeal in a timely fashion.            (Harvey Cert. ¶ 9.)

     Sanctions are plainly inapplicable under these circumstances.

“[T]o obtain relief under Rule 1:10-3, [movants are] required to

establish defendants violated the order[.]”                    Suleman v. Zia, No.

A-0257-20, 2021 WL 5549567, at *6-7 (App. Div. Nov. 29, 2021)

(denying sanctions because the motion was “untethered to any

competent evidence establishing” a violation of a court order).

Given that Defendants have not violated any provision of this

Court’s August 25 Order, or any other rule of law, Rule 1:10-3 is

inapplicable.       See Ridley v. Dennison, 298 N.J. Super. 373, 381

(App. Div. 1997) (explaining that relief under Rule 1:10-3 seeks

to “facilitate the enforcement of [a] court order” and is “not for

the purpose of punishment”).

     Rushmore’s       last     argument      seeking      sanctions      pursuant      to

Rule 1:10-3 is weak.         Rather than directing this Court to specific

provisions of the August 25 Order that Defendants have purportedly

violated, Rushmore refers to Ben Ringel’s involvement in unrelated

proceedings in different jurisdictions.                     (Rushmore Br. at 8.)

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These other matters have nothing to do with the Rule 1:10-3

inquiry, which seeks only to facilitate compliance with a court

order.    There is no court order in the case with which Defendants

have not complied.         See Ridley, 298 N.J. Super. at 381; see also

Trisun Corp. v. Town of W. N.Y., 341 N.J. Super. 556, 559 (App.

Div. 2001) (denying motion for sanctions where it “could not be

considered as being in aid of [movant’s] rights”).                          Simply put,

Rule 1:10-3 does not apply.

     Defendants also contest Rushmore’s assertion that Defendants

are able to pay the requested amount of $500 per day until

Defendants execute the contested sales contract for the Pinewood

Property.       (Rushmore Br. at 6.)                  To support this assertion,

Rushmore relies upon (1) the unexecuted and disputed sales contract

pertaining      to   the    Pinewood      Property          and   (2)   the    purported

accumulation of various legal fees in connection with proceedings

before   this    Court.        (Rushmore        Br.    at    7-8.)      Rushmore       then

speculates that Defendants can pay this made-up $500 figure.                            No

Rushmore    employee       provides     any     certification        that     offers    any

personal knowledge or other credible information that is actually

relevant to the inquiry, such as “the party’s income” and “status.”

E. Brunswick Bd. of Educ. v. E. Brunswick Educ. Ass’n, 235 N.J.

Super. 417, 423-24 (App. Div. 1989) (reversing grant of sanctions

because the trial court “made no findings” as to the basis of the




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amount of sanctions).             Accordingly, this Court should reject

Rushmore’s baseless request for sanctions.

      D.     Rushmore Is Not Entitled To Counsel Fees In Connection
             With Bringing Its Procedurally Improper Order To Show
             Case

      Given the meritless bases for Rushmore’s procedurally flawed

Order to Show Cause application, this Court should not even

consider it.       As already noted, Rushmore is not a party in this

case.      Furthermore, Rushmore has not filed an appropriate motion

to intervene or otherwise participate in this case. Since Rushmore

has no standing before the Court, its Order to Show Cause papers

are not properly before this Court.

      Defendants are not in violation of this Court’s August 25,

2021 Order.      Moreover, Rushmore is not entitled to counsel fees

simply because it chose to file this ill-advised application.                          See

Suleman, 2021 WL 5549567, at *5, *7 (affirming denial of motion

for   counsel     fees    where     the    underlying      sanctions       motion      was

meritless).        Further,       Rushmore’s       sanctions      and    counsel       fee

application has nothing to do with “secur[ing] compliance with

court orders.”       Kuther v. Zaklama, No. L-334-07, 2011 WL 9843, at

*7 (App. Div. Apr. 20, 2010).                Rushmore merely seeks to punish

Defendants for exercising their due process rights in having this

Court’s rulings reviewed on appeal.




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                                     CONCLUSION

     For the reasons set forth above, this Court should grant

Defendants’ motion to stay of proceedings pending appeal.                              The

Court should not consider or rule upon Rushmore’s Order to Show

Cause application seeking specific performance, sanctions, and

counsel fees.

                                       PATTERSON BELKNAP WEBB & TYLER LLP


                                    By:    ____________________________
                                           PETER C. HARVEY, ESQ.

                                           Attorneys for Defendants-
                                           Appellants BR Lakewood, LLC,
                                           Benjamin Ringel, and Sunset
                                           Oakridge Plaza, LLC



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CHANA RINGEL and CR LAKEWOOD,                      SUPERIOR COURT OF NEW JERSEY
LLC, individually, and derivatively on behalf      CHANCERY DIVISION
of BCR LAKEWOOD HOLDINGS, LLC,                     OCEAN COUNTY
                                    Plaintiffs,
                                                   DOCKET NO. OCN-C-127-15
                      v.
                                                                   Civil Action
BR LAKEWOOD, LLC and BENJAMIN
RINGEL,
                        Defendants.

CHANA RINGEL, individually, and                    SUPERIOR COURT OF NEW JERSEY
derivatively on behalf of BCR OAKRIDGE,            CHANCERY DIVISION
LLC,                                               OCEAN COUNTY
                                     Plaintiff,
                                                   DOCKET NO. OCN-C-152-16
                      v.
                                                                   Civil Action
BENJAMIN RINGEL, SUNSET HILL
OAKRIDGE PLAZA, LLC, JOHN DOES 1-
10, and ABC CORPORATIONS 1-10,

                                  Defendants.

 BRIEF ON BEHALF OF PLAINTIFFS IN SUPPORT OF ORDER TO SHOW CAUSE
                                                  Matthew N. Fiorovanti, Esq. (027332006)
                                                  GIORDANO, HALLERAN & CIESLA
                                                  A Professional Corporation
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                                                  Attorneys for Plaintiffs, Chana Ringel and CR
                                                  Lakewood, LLC, individually, and derivatively
                                                  on behalf of BCR Lakewood Holdings, LLC and
                                                  Chana Ringel, individually and derivatively on
                                                  behalf of BCR Oakridge, LLC
MATTHEW N. FIOROVANTI, ESQ.
EFREM SCHWALB, ESQ.
   On the Brief
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          THROUGH DEFENDANTS’ CONTINUING REFUSAL TO COMPLY WITH
          THE MAY 8, 2020 ORDER, SEPTEMBER 4, 2020 ORDERS AND AUGUST
          25, 2021 ORDER AND APPOINT A SPECIAL AGENT ON BEHALF OF
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                                PRELIMINARY STATEMENT

       Plaintiffs Chana Ringel (“Chana”) and CR Lakewood, LLC (“CR Lakewood”),

individually, and derivatively on behalf of BCR Lakewood Holdings, LLC, have once again been

forced to seek judicial intervention to compel defendants Benjamin Ringel (“Ben”) and BR

Lakewood, LLC (“BR Lakewood”) to do not only what Defendants agreed to do in the settlement

agreement, but what this Court has repeatedly ordered Defendants to do.

       By now, the Court is intimately familiar with the parties’ settlement agreement in this

matter. That agreement, reached in February 2020 and ordered by the Court over eighteen (18)

months ago in May 2020, provides, in pertinent part, that the property located at 1703 Lexington

Avenue in Lakewood, New Jersey (the “Pinewood Property”) would be sold to the “highest

bidder” and Ben “agreed to fully cooperate with the sale of the Pinewood Complex including

signing all necessary documents.” After a lengthy marketing process by the agreed-upon broker,

and after numerous bids were submitted, and after Defendants refused to accept the obvious, the

Court entered an order on August 25, 2021 declaring that the “highest bidder” was Rushmore

Capital, LLC (“Rushmore”), and ordering that a contract for the sale of the Pinewood Property to

Rushmore be prepared.

       Like he has done since the settlement agreement was first enforced by the Court over

eighteen (18) months ago, Ben has done everything in his power to avoid performing under the

Court-ordered settlement agreement. As detailed in Rushmore’s pending application, Ben has

refused to sign the sales contract, despite the fact that Rushmore and Plaintiffs have signed it, and

has completely ignored the multiple outreaches and requests that he sign the contract. Instead,

Ben has stated that the Pinewood Property will not be sold to Rushmore—despite the August 25,

2021 Order—and that he will be the one purchasing the property. Ben is also refusing to agree to

make necessary repairs following a fire at the Pinewood apartments because he asserts he will be


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purchasing the Pinewood Property and is intending to add a third floor to the building. Setting

aside the fact that Ben has no authority to direct the Court-appointed Special Fiscal Agent to refrain

taking any action since Ben was barred from having any management rights in November 2015

and the parties agreed and the Court ordered that “the Pinewood Complex will continue to be

managed by the current management company under the Court’s existing order consistent with

past practice,” Ben’s conduct and statements make clear that he has no intention to do what this

Court has ordered him to do.

          Because it is obvious that Ben will never do what the Court orders him to do, Plaintiffs

respectfully request that in accordance with Rule 4:59-2(a), the Court appoint a special agent on

behalf of Ben and BR Lakewood to execute the sales contract and any all other documents

necessary to finalize the sale of the Pinewood Property to Rushmore, and to award Plaintiffs their

reasonable attorneys’ fees and costs in having to once again seek judicial intervention in this

matter.




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                                         BACKGROUND

       On March 10, 2020, Defendants filed a motion to enforce the settlement, which was granted

by order dated May 8, 2020. The May 8, 2020 Order provided that the terms of the settlement

were set forth in the Term Sheet attached as Exhibit A to the March 10, 2020 Certification of Bruce

Nagel, with the following exceptions: “Section 3(i) – (iii) is excised – the parties agreed to public

sale; and Section V is amended – tax efficiencies are agreed to – to the extent they benefit both

parties.” See Exhibit “A” attached to the Certification of Matthew N. Fiorovanti, Esq. (the

“Fiorovanti Cert.”). The Term Sheet provided, in pertinent part:

       The Parties agree to sell the Pinewood Complex to a third party purchaser or to
       either Chana Ringel or Benjamin Ringel, solely or in partnership or conjunction
       with any person or entity, via an arm’s length sales process (‘Sale Process’)
       intended to maximize the value of the Pinewood Complex, to be brokered by a
       mutually acceptable real estate broker (the ‘Broker’) pursuant to a listing agreement
       with the Broker in a form mutually acceptable to the Parties. Within fourteen (14)
       days from the date of the full execution of the Term Sheet, the Parties shall select
       the Broker. In the event the Parties cannot agree on the Broker within this fourteen
       (14) day period, the CR Parties shall propose the names of three (3) brokers to the
       BR Parties, who shall select one of the proposed brokers to serve as the Broker
       within seven (7) days. The Sale Process shall provide for the sale of the Pinewood
       Complex to the highest bidder pursuant to a binding agreement without any
       contingencies to closing including without limitation any due diligence or mortgage
       contingency. The proceeds of such sale (net of any customary closing costs,
       apportionment of Property Expenses, and out of pocket costs and expenses
       associated with the sale incurred by, or payable to, the Broker) shall be split equally
       between the CR Parties and the BR Parties, subject to the amount to the $2.5 million
       of escrowed funds from each side ($5 million in total). In the event of such
       contingency, the Parties agree to fully cooperate with the sale of the Pinewood
       Complex, including signing all necessary documents, facilitating access to the
       Pinewood Complex to the Broker, other brokers, and prospective buyers, and
       promptly providing or authorizing the provision of such financial and other
       information as may be requested by prospective buyers. The Parties shall have no
       discretion over the terms and consideration of any sale by the Broker other than
       that such sale shall comply with this provision and the Sale Process. [Ibid.
       (emphasis added)].

       Since the May 8, 2020 Order, for the past eighteen (18) months, Defendants have done

everything possible not to comply with the settlement. On July 7, 2020, Defendants filed a motion



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to amend the May 8, 2020 Order. See Exhibit “B” attached to the Fiorovanti Cert. Through the

motion, Defendants sought to change or eliminate certain provisions in the Settlement Agreement,

and to add additional provisions.

       On September 4, 2020, the Court rejected most of the requests made by Defendants (other

than revisions that both parties agreed to) and entered orders which provided that the May 8, 2020

Order was amended and supplemented to provide that “the Term Sheet annexed hereto as Exhibit

‘A’ is hereby enforced in its entirety.” See Exhibit “C” attached to the Fiorovanti Cert. The

Court explained its reasons in a comprehensive Statement of Reasons which accompanied its

orders. See Exhibit “D” attached to the Fiorovanti Cert.

       On September 11, 2020, Defendant then filed a motion for reconsideration of the

September 4, 2020 Order, which was denied by order dated October 16, 2020. See Exhibit “E”

attached to the Fiorovanti Cert.

       Thereafter, the parties engaged Gebroe Hammer as the broker to list and market the

Pinewood Property for sale in accordance with the Court-ordered settlement agreement. Yet

despite the fact that Defendants had originally proposed Gebroe Hammer, consistent with their

attempts to throw up as many roadblocks as possible to the sale, on May 25, 2021, Defendants

submitted an Order to Show Cause seeking the entry of an order “[a]dopting the highest bid from

AJH Management LLC regarding the sale of the [Pinewood Property] and awarding the contract

to AJH Management LLC,” or “[i]n the alternative, appointing a special master to oversee a bid

off or private auction between the two highest bidders for the Pinewood Property – AJH

Management LLC and Rushmore Capital and in the event Rushmore Capital is involved, fully

disclosing the relationship between Mr. Brecher/Gebroe Hammer and Rushmore Capital.” See

Exhibit “F” attached to the Fiorovanti Cert.




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       On May 26, 2021, Plaintiffs filed a cross-motion seeking the entry of an order: (A)

authorizing and compelling the sale of the Pinewood Property to Rushmore in accordance with the

terms and conditions set forth in an offer dated April 23, 2021; (B) appointing Richard Kelen, Esq.

of the law firm Feinstein Raiss Kelen to serve as the neutral real estate counsel to represent BCR

Pinewood LLC in connection with the sale of the Pinewood Property to Rushmore; and (C)

authorizing and directing Mr. Kelen to prepare and deliver a written contract for the sale of the

Pinewood Property on commercially reasonable terms with no mortgage contingency and with a

prompt closing date to Rushmore within three (3) days of the return date. See Exhibit “G”

attached to the Fiorovanti Cert.

       By order dated June 4, 2021, the Court concluded that Mr. Brecher did not have a conflict

of interest or any bias that would prevent him from acting as the broker, and denied Defendants’

application to disqualify Mr. Brecher as the broker for the sale of the Pinewood Property. See

Exhibit “H” attached to the Fiorovanti Cert. However, the Court rejected the most recent bids

received by Mr. Brecher “as a result of the confusion attendant to the recent round of bids,” and

ordered that Mr. Brecher “will continue to market and sell the subject property in a process to be

determined by him to be appropriate, solely in his discretion.” Ibid.

       Thereafter, Mr. Brecher solicited and obtained “final bids” from the prospective

purchasers under the mandate set forth in the June 4, 2021 Order. By letter dated July 29, 2021,

Mr. Mandelbaum, who was requested by Mr. Brecher to oversee the bidding for the Pinewood

Property, advised Judge Hodgson that the bids were open that day “and a successful bidder was

selected.” See Exhibit “I” attached to the Fiorovanti Cert. That “successful bidder” was

Rushmore, with a winning bid in the amount of $47,100,000.




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       Once again, Defendants refused to accept the outcome of the bidding process or comply

with the Court-ordered settlement agreement. Instead, by letter dated August 3, 2021, counsel

for Defendants stated to the Court that “based upon all the facts and circumstances, the bid by

[Defendants] is the highest and best bid as it nets the parties more than any of the other bids.”

See Exhibit “J” attached to the Fiorovanti Cert. (Aside from the net proceeds assertion being

false, this was the first time that Defendants ever took the position that the “highest bid” actually

meant “most net proceeds”—a position that is contrary to the plain language of the Court-ordered

settlement agreement as well as Defendants’ prior interpretation of the agreement.)

       Given Defendants’ refusal to accept Rushmore as the highest bidder, Plaintiffs were

forced to file another Order to Show Cause on August 11, 2021, seeking an order declaring and

adjudging that Rushmore was the highest bidder for the purchase of the Pinewood Property for

the purchase price of $47,100,000, and authorizing Mr. Mandelbaum to finalize the written

contract for the sale of the Pinewood Property to Rushmore.

       On August 17, 2021, Defendants filed a cross-motion seeking an order declaring and

adjudging that BR Lakewood was the highest bidder for the purchase of the Pinewood Property

for the purchase price of $46,391,000 – which is obviously lower than Rushmore’s bid of

$47,100,000 as well as another bid for the property – and authorizing Mr. Mandelbaum to finalize

the written contract for the sale of the Pinewood Property to Rushmore.

       On August 23, 2021, the Court entered an order denying Defendants’ cross-motion for an

order declaring BR Lakewood, LLC the highest bidder. See Exhibit “K” attached to the

Fiorovanti Cert.

       On August 25, 2021, the Court entered an order granting Plaintiffs’ application and

declared Rushmore to be the highest bidder for the Pinewood Property for the purchase price of




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$47,100,000, and authorized Mr. Mandelbaum to finalize the written contract for the sale of the

Pinewood Property to Rushmore. See Exhibit “L” attached to the Fiorovanti Cert.

       Unsurprisingly, Defendants have once again refused to cooperate with the sale, and have

instead continued to do what they have done for the past year and a half: failed to comply with

the settlement agreement and numerous orders entered by the Court. Plaintiffs incorporate by

reference the factual recitations set forth in Rushmore’s application to enforce the settlement

agreement. As set forth in the Certification of Issac Scheinerman submitted on behalf of

Rushmore, despite the fact that Rushmore and Plaintiffs have executed a revised sales contract,

Defendants have refused to do so despite the fact that settlement agreement as ordered by the

Court requires Defendants to “fully cooperate with the sale of the Pinewood Complex including

signing all necessary documents.” As set forth in Rushmore’s application, Defendants have

completely ignored all outreaches and requests to proceed with the execution of the contract.

       In addition, as set forth in the accompanying Certification of Chana Ringel (the “Chana

Cert.”), Ben has taken the position that the Pinewood Property will not be sold to Rushmore—

despite the August 25, 2021 Order—and that he will be purchasing the property himself. There

was recently a fire at the Pinewood Property, which resulted in significant damage to several of

the apartments at the complex. Ben has refused to approve the necessary repairs because he

claims “he is buying the property” and is preparing architectural plans to put a third floor on the

building. Ben has no right to interfere with performing such repairs, as Ben was barred by the

Court from having any management rights in November 2015 and the parties agreed and the Court

ordered that “the Pinewood Complex will continue to be managed by the current management

company under the Court’s existing order consistent with past practice.” More importantly

for purposes of this application, Ben’s conduct and statements make clear that he has no intention




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of complying with the Court’s numerous orders which require the Pinewood Property to be sold

to Rushmore.

          Because it is obvious that Ben will never do what the Court orders him to do, Plaintiffs

respectfully request that in accordance with Rule 4:59-2(a), the Court appoint a special agent on

behalf of Ben and BR Lakewood to execute the sales contract and any all other documents

necessary to finalize the sale of the Pinewood Property to Rushmore, and to award Plaintiffs her

reasonable attorneys’ fees and costs in having to once again seek judicial intervention in this

matter.




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                                       LEGAL ARGUMENT

                                               POINT I

                THE COURT SHOULD FIND DEFENDANTS IN
                CONTEMPT OF COURT THROUGH DEFENDANTS’
                CONTINUING REFUSAL TO COMPLY WITH THE MAY 8,
                2020 ORDER, SEPTEMBER 4, 2020 ORDERS AND AUGUST
                25, 2021 ORDER AND APPOINT A SPECIAL AGENT ON
                BEHALF OF BENJAMIN RINGEL AND BR LAKEWOOD,
                LLC UNDER R. 4:59-2(a) TO EXECUTE THE SALES
                CONTRACT      AND   ALL     OTHER    DOCUMENTS
                NECESSARY TO FINALIZE THE SALE OF THE
                PINEWOOD PROPERTY TO RUSHMORE CAPITAL, LLC

         Under R. 1:10-3, a litigant in any action may seek relief by application in the event of

contempt of court. Rule 1:10-3 “allow[s] for judicial discretion in fashioning relief to litigants

when a party does not comply with a judgment or order.” North Jersey Media Group, Inc. v. State,

Office of Governor, 451 N.J. Super. 282, 296 (App. Div. 2017) (quoting In re N.J.A.C. 5:96 &

6:97, 221 N.J. 1, 17-18 (2015)). “The particular manner in which compliance may be sought is

left to the court’s sound discretion.” Ibid. (quoting Bd. of Educ. of Middletown v. Middletown

Twp. Educ. Ass’n, 352 N.J. Super. 501, 509 (Ch. Div. 2001)).

         In addition to the broad enforcement authority conferred under R. 1:10-3, Rule 4:59-2(a)

provides:

         If a judgment or order directs a party to perform a specific act and the party fails to
         comply within the time specified, the court may direct the act to be done at the cost
         of such defaulting party by some other person appointed by the court, and the act
         when so done shall have like effect as if done by the defaulting party.

         “Whether by designation of an attorney-in-fact, fiscal agent, or by other equitable

appointment, the court of chancery is not powerless to devise practical means of rendering justice

in the face of problems created by a litigant.” Julius v. Julius, 320 N.J. Super. 297, 310 (App. Div.

1999).




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           The decision in Delaney v. Dykstra, 2019 N.J. Super. Unpub. LEXIS 1765 (N.J. Super. Ct.

App. Div. Aug. 12, 2019),1 is directly on point and constitutes compelling authority which

underscores the Court’s authority to appoint an agent on behalf of Ben and BR Lakewood to sign

the purchase agreement and all necessary documents to finalize the sale of the Pinewood Property

to Rushmore. The Delaney case arose from a dispute among four members of CC Holdings, LLC

(“CCH”) which owned and developed a mixed-use development project in Sparta. Three of the

members removed member Brian Delaney (“Delaney”) because of his alleged hostile and

combative behavior towards them and his company’s default on a loan from CCH. Id. at *1-2.

This led to separate lawsuits, which were consolidated. Id. at *2. Prior to trial, the parties reached

a settlement agreement, which was placed on the record, which detailed CCH’s purchase of

Delaney’s interest for $2.8 million. Ibid. The settlement provided for an initial payment to

Delaney in the amount of $400,000 within ten days of signing the definitive agreement, and a

payment of $1,600,000 within 60 days of when the key tenant advises that it will not exercise its

outs of the lease, known as the “go hard” date. Id. at *5.

           Shortly after the settlement was reached, an issue arose regarding the “go hard” date. Id.

at *7. As a result, another member filed a motion to secure the appointment of a special court

agent under Rule 4:59-2(a) to execute the settlement agreement on Delaney’s behalf because he

refused to sign the document. Id. at *8. The Chancery judge granted the motion and appointed a

special court agent vested with the power “to execute any and all documents on Delaney’s behalf

related to the [s]ettlement [a]greement and the [c]ourt’s October 14, 2016 [o]rder.” Ibid. Notably,

the Chancery judge also awarded the moving member his attorneys’ fees in the amount of

$5,916.44. Id. at *8-9.



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    A true and accurate copy of the Delaney decision is attached as Exhibit “L” to the Fiorovanti Cert.


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          Delaney continued to attempt to curtail the settlement agreement by filing a motion to,

among other things, enjoin the sale or encumbrance of the project without providing him thirty

days’ notice or, in the alternative, to maintain the project’s status quo. Id. at *9. This motion was

denied.

          Delaney then filed a motion to stay the order appointing a special fiscal agent to execute

the settlement agreement in anticipation of the other members completing his buyout. Id. at *10.

In response, the other members filed an application seeking specific performance to finalize the

settlement agreement with the execution of closing documents to terminate Delaney’s CCH

membership with the $2.8 million buyout. Ibid. The court granted the members’ motion to compel

the closing of Delaney’s buyout from CCH according to the settlement agreement “through the

special court agent.” Ibid. Once again, the court awarded the members their attorney’s fees and

costs in the amount of $10,017.16 to one member and $7,977.90 to the others. Id. at *10-11.

          On appeal, Delaney argued that the Chancery judge abused his discretion by prematurely

appointing a special court agent to execute the settlement agreement on his behalf. Id. at *17. The

Appellate Division disagreed. Ibid. The Appellate Division observed that the trial court concluded

that due to Delaney’s “continued resistance” to implementing the terms of the settlement

agreement, it was necessary to appoint an agent to execute the necessary documents to see to it

that the settlement would go forward “and ... this case can finally ... be resolved.” Id. at *20.

          Like Delaney, Ben has “continually resisted” performing under the Court-ordered

settlement agreement. Ben is interfering with the sale to Rushmore in violation of the settlement

agreement and multiple orders of this Court. Indeed, Ben has claimed that he will be buying the

property, not Rushmore, which is contrary to reality and multiple orders of this Court. The Court

has ruled that the Pinewood Property must be sold to Rushmore, and that a contract for sale must




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be prepared, and that the parties must sign all necessary documentation. Just as the Chancery

judge in Delaney was authorized to appoint a special agent on behalf of the defendant to sign the

settlement agreement which provided for the buyout of the defendants’ interest in the company,

this Court is authorized to appoint an agent on behalf of Ben and BR Lakewood to sign the sales

contract and all other documents necessary to finalize the sale. Enough is enough. As the

Chancery judge aptly observed in Delaney, such step is necessary to enable the settlement to move

forward so that “this case can finally be resolved.”

       The fact that Defendants have filed an appeal of the August 25, 2021 Order compelling the

sale of the Pinewood Property to Rushmore is of no consequence. Unless and until this Court or

the Appellate Division enters a stay of the enforcement of the August 25, 2021 Order, it remains

in full force and effect. See R. 2:9-5(a) (“neither an appeal, nor motion for leave to appeal, nor a

proceeding for certification, nor any other proceeding in the matter shall stay proceedings in any

court in a civil action...”); D’Arc v. D’Arc, 175 N.J. Super. 598, 601 (App. Div. 1980). Similarly,

the fact that Defendants have only recently filed a motion for a stay, in and of itself, does not

automatically mean that Defendants can simply refuse to avoid complying with the Court’s

orders—particularly since Defendants’ non-compliance has been ongoing for months. (As will be

set forth in greater detail in Plaintiffs’ opposition to Defendants’ motion for a stay, Defendants

cannot satisfy the standards for such relief as set forth in Crowe v. De Gioia, 90 N.J. 126 (1982),

which is likely why Defendants have waited five (5) months after the entry of the August 25, 2021

Order before making such specious application. To the contrary, granting such a motion will delay

resolution of the sale and these proceedings and prejudice Plaintiffs.)

       It is beyond dispute that Defendants have failed to comply with: the May 7, 2020 which

enforced the settlement agreement that required the Pinewood Property to be sold to the highest




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bidder and required Ben to fully cooperate with signing all documentation to accomplish that sale;

the September 4, 2020 Order which repeated the Court’s prior order and rejected Ben’s attempt to

change the terms of the parties’ agreement; and the August 25, 2021 Order which declared that

Rushmore was the highest bidder and ordered that a contract be prepared and entered into by the

parties. It is equally clear that regardless of how many orders the Court enters, Ben will not sign

any document to effectuate the sale of the Pinewood Property to Rushmore. A special agent should

be appointed to sign such documents on behalf of Ben and BR Lakewood, so that Defendants can

no longer avoid performing as ordered.2

                                                     POINT II

                  THE COURT SHOULD AWARD PLAINTIFFS THEIR
                  REASONABLE ATTORNEYS’ FEES AND COSTS IN
                  CONNECTION WITH THIS APPLICATION

         Plaintiffs are also entitled to their attorneys’ fees incurred in connection with this

application, as it was commenced as a result of Defendants’ repeated and continual violation of

numerous orders of the Court. See Pressler & Verniero, Current N.J. Court Rules, cmt. 4.4.5 on

R. 1:10-3 (2021) (“[T]his rule provision allowing for attorney’s fees recognizes that as a matter of

fundamental fairness, a party who willfully fails to comply with an order or judgment entitling his

adversary to litigant’s rights is properly chargeable with his adversary's enforcement expenses.”).

         Defendants have repeatedly refused to do as ordered by the Court. More egregiously, Ben

has expressly acknowledged that he will continue to refuse to do so, as he has stated that he will

be the purchaser of the Pinewood Property. Plaintiffs had no choice but to file this motion, and

the Court should award them their reasonable attorneys’ fees and costs.


2
         It should be noted that Defendants have previously been sanctioned by this Court for failure to comply with
discovery in the underlying litigation, and there are many orders that are publicly available and previously supplied to
the Court where Mr. Ringel has been sanctioned and found in contempt by other courts for failure to comply with
court orders.


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                                         CONCLUSION

         For the reasons set forth above, the court should find Defendant in contempt of Court, and

appoint a special agent on behalf of Ben and BR Lakewood to execute the sales contract and any

all other documents necessary to finalize the sale of the Pinewood Property to Rushmore pursuant

to Rule 4:59-2(a). In addition, the court should award Plaintiffs their reasonable attorneys’ fees

and costs incurred in making this motion.

                                                  GIORDANO, HALLERAN & CIESLA
                                                  A Professional Corporation
                                                  125 Half Mile Road, Suite 300
                                                  Red Bank, N.J. 07701-6777
                                                  (732) 741-3900

                                                  Efrem Schwalb, Esq.
                                                  KOFFSKY SCHWALB LLC
                                                  500 Seventh Avenue, 8th Floor
                                                  New York, NY 10018

                                                  Attorneys for Plaintiffs, Chana Ringel and CR
                                                  Lakewood, LLC, individually, and derivatively
                                                  on behalf of BCR Lakewood Holdings, LLC and
                                                  Chana Ringel, individually and derivatively on
                                                  behalf of BCR Oakridge, LLC


                                                  By:_/s Matthew N. Fiorovanti______________
                                                    MATTHEW N. FIOROVANTI
                                                    EFREM SCHWALB
Dated: January 27, 2022

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January 7, 2022                                                        Peter Harvey
                                                                       Partner
                                                                       (212) 336-2810
                                                                       pcharvey@pbwt.com
BY E-MAIL



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Matthew Fiorovanti, Esq.
Girodano Halleron & Ciesla
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Suite 300
Red Bank, NJ 07701
mfiorovanti@ghclaw.com

                Re:   Pinewood - Ringel

Dear Counsel:

                We represent BR Lakewood LLC and Mr. Ben Ringel. As you know, Pinewood
Apartments either will be retained by Ben Ringel and his children or be sold to Rushmore
Equities. Due to the recent fire at Pinewood, decisions need to be made rather quickly regarding
both its restoration and its mortgage with Investors Bank that expires in six (6) months.

               BR Lakewood LLC is prepared to purchase Chana Ringel’s share within the next
forty (40) days by paying her the same amount she would receive as if Rushmore was buying
Pinewood Apartments for $47,800,000; i.e. Rushmore’s bid. The amount Chana would receive
will be $19,594,962.50.

                 Additionally, BCR Pinewood LLC will be taking out a new mortgage and will
pay in full the Investors Bank obligation using proceeds from the new mortgage. Hence, Chana
will be released from the Investor Bank loan obligations.

               Furthermore, for tax purposes, it appears that since this is a refinance, if Ben
allows Chana to retain 1% in BCR Lakewood Holding LLC with no rights, Chana can treat the
proceeds she receives in the buyout as a refinance and such proceeds would not be subject to



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Efrem Schwalb, Esq.
Matthew Fiorovanti, Esq.
January 7, 2022
Page 2

capital gains tax. This arrangement is highly beneficial to Chana as she would save over
$8,000,000 in capital gains tax. If Chana would like to use this tax deferral strategy, your tax
counsel would need to talk to Ben’s transaction and tax counsel to appropriately structure the
transaction.

               We anticipate closing the transaction on or about February 20, 2021. We
anticipate using the same assignment documents as used in the Gertners/Clifton Center
assignment from 2021. We will wire Chana’s proceeds to Madison Title Company and it will
act as Escrow Agent.

                 Please contact me at your earliest convenience, but no later than January 14, 2022,
if your client is interested in the above proposal.

                 This letter is being sent pursuant to New Jersey Evidence Rule 408. Thus, this
letter is sent without prejudice, and both BR Lakewood LLC and Ben Ringel reserve all rights.

                                                         Very truly yours,




                                                         Peter Harvey




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Princeton, New Jersey 08543-5276
Tel. 609.452.0808
Fax 609.452.1147
Angelo A. Stio III (ID # 014791997)

Attorneys for Intervenor Rushmore Capital LLC


CHANA RINGEL AND CR LAKEWOOD, :
INDIVIDUALLY, AND DERIVATIVELY:                  SUPERIOR COURT OF NEW JERSEY
ON BEHALF OF BCR LAKEWOOD     :                  CHANCERY DIVISION
HOLDINGS, LLC,                :                  OCEAN COUNTY
                              :
     Plaintiffs,              :                  DOCKET NO. OCN-C-127-15
vs.                           :
                              :                             Civil Action
BR LAKEWOOD, LLC AND BENJAMIN :
RINGEL,                       :
                              :
     Defendants.              :
                              :
CHANA RINGEL, INDIVIDUALLY,   :
AND DERIVATIVELY ON BEHALF    :
OF BCR OAKRIDGE, LLC,         :
                              :                  DOCKET NO. OCN-C-152-16
     Plaintiffs,              :
vs.                           :                             Civil Action
                              :
BENJAMIN RINGEL, SUNSET HILL  :                                ORDER
OAKRIDGE PLAZA, LLC, JOHN     :
DOES 1-10, AND ABC            :
CORPORATION 1-10,             :
                              :
     Defendants.              :


              THIS MATTER having been open to the Court by Troutman Pepper Hamilton

Sanders LLP (Angelo A. Stio III appearing), attorneys for Intervenor Rushmore Capital

LLC (“Rushmore”) by way of an Order to Show Cause to enforce litigant’s rights under
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R. 1:10-3, and the court having considered the papers submitted by Rushmore and any

opposition papers submitted by Defendants BR Lakewood, LLC (“BR Lakewood”), Sunset

Hill Oakridge Plaza, LLC and Benjamin Ringel (“Mr. Ringel”) (collectively, the “Defendants”);

and upon consideration of oral argument, if any; and for good cause shown.

        It is on this ______ day of __________________, 2022, hereby:

        ORDERED that Rushmore’s Order to Show Cause to enforce litigant’s rights pursuant to

R. 1:10-3 is hereby GRANTED; and it is further

        ORDERED that Defendants must execute the sales contract attached to the Certification

of Issac Scheinerman as Exhibit 8 (the “Sales Contract”) within five (5) days of the date of this

Order; and it is further

        ORDERED that Defendants shall be subject to a monetary sanction of $500 per day until

they execute the Sales Contract should they fail to do so within five (5) days of the date of this

Order; and it is further

        ORDERED that Defendants shall be taken into custody by the Sheriffs and committed to

the Ocean County Jail until they execute the Sales Contract should they fail to do so within five

(5) days of the date of this Order; and it is further

        ORDERED that Defendants shall pay Rushmore for its reasonable attorneys’ fees and

costs incurred in connection to this Order to Show Cause under R. 1:10-3; and it is further

        ORDERED that Rushmore may submit a bill of costs within 10 days of this Order; and it

is further

        ORDERED that if Defendants fail to comply with this Order, Rushmore may make

further application to this Court for further and harsher sanctions by way of motion on short

notice; and it is further




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       ORDERED that a copy of this Order shall be served on all counsel of record with ____

days of receipt.



                                          __________________________________________
                                          HON. FRANCIS J. HODGSON, JR., P.J. Ch.




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CHANA RINGEL AND CR
LAKEWOOD, INDIVIDUALLY,                       SUPERIOR COURT OF NEW JERSEY
AND DERIVATIVELY ON BEHALF                  CHANCERY DIVISION: OCEAN COUNTY
OF BCR LAKEWOOD HOLDINGS,
LLC,                                                        Civil Action

      Plaintiffs,

             vs.

BR LAKEWOOD, LLC AND                                 Docket No. OCN-C-127-15
BENJAMIN RINGEL,

      Defendants,

CHANA RINGEL,
INDIVIDUALLY, AND
DERIVATIVELY ON BEHALF OF
BCR OAKRIDGE, LLC,                                  Docket No. OCN-C-152-16

      Plaintiffs,                                  CERTIFICATION OF
                                             BENJAMIN RINGEL IN SUPPORT OF
             vs.                               DEFENDANTS’ ORDER TO SHOW
                                                         CAUSE
BENJAMIN RINGEL, SUNSET
HILL OAKRIDGE PLAZA, LLC,
JOHN DOES 1-10, AND ABC
CORPORATION 1-10,

      Defendants,



     I, BENJAMIN RINGEL, being of full age, do hereby certify and

state:

     1.     I am a defendant in the above-captioned matters.                     I

have personal knowledge of this matter and the facts set forth

in this Certification.
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     2.     On February 27, 2020, two lawsuits filed by Chana

Ringel against BR Lakewood Holdings LLC, Sunset Hill Oakridge

LLC, the Ringel Children’s Trust, and me were settled through

discussions held in chambers in this Court.

     3.     On March 3, 2020, Chana Ringel attempted to rescind

her agreement to abide by the material settlement terms to which

both parties had agreed five (5) days earlier.                   The settlement

was subsequently embodied in a Term Sheet.

     4.     For the next nine months, Defendants spent over

$100,000 enforcing the terms of the Settlement Agreement (the

“Term Sheet” or “Settlement”).            Through various Orders and

Opinions, this Court upheld the Settlement and issued a Term

Sheet (the “Term Sheet”) for the parties to sign. (See Harvey

Cert. Exhibit D.)

     5.     In the Term Sheet, this Court retained jurisdiction

and sent all money claims to be arbitrated in front of a former

Chancery Court Judge.         The parties chose the Honorable Robert P.

Contillo, a retired Superior Court judge.

     6.      The Term Sheet was a full settlement of all issues

and controversies between the parties relating to the present

actions.

     7.     The Term Sheet dealt with any money damages which may

be awarded in the arbitration. (Harvey Cert. Exhibit D. ¶ 5.)



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This clause is a material terms of the settlement and is set

forth in the Term Sheet.

     8.     Despite this Court’s retaining and having jurisdiction

to enforce the terms of the Settlement Agreement, on May 30,

2021, Chana Ringel filed a Summons to commence a civil action in

the New York Supreme Court (the “New York Action”), Index No.

653518/2021. (See EXHIBIT A.)

     9.     Six months after filing the Summons in connection with

the New York Action, on November 2, 2021, Chana filed a Complaint

alleging that I had engaged in various fraudulent transfers of

assets that could affect her ability to recover any judgment in

these actions or in the arbitration. (See EXHIBIT B.)

     10.    On January 17, 2022, I moved to dismiss the New York

Action by filing a Motion and a Memorandum of Law in support of

Defendants’ Motion to Dismiss the Complaint. (See EXHIBIT C.)

     11.    On February 23, 2022, Chana Ringel filed a Memorandum of

Law in opposition to my Motion to Dismiss. (See EXHIBIT E.)

     12.    On March 4, 2022, I filed a Reply Memorandum of Law in

further support of my Motion to Dismiss. (See EXHIBIT D.)

     13.    On January 7, 2022, my attorney, Peter Harvey, sent a

letter to counsel for Chana.            The letter offers to buy-out

Chana’s interest in the Pinewood Property for approximately

$19.6 million – the same amount she agreed to accept from a

third-party Rushmore Capital, LLC.              Based on consultation with

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various tax experts, this buy-out proposal is the most tax-

efficient manner to distribute the Pinewood Property, as

required by this Court’s May 8, 2020 Order.                 (Harvey Cert.

Exhibit. L.)      Chana did not accept the proposal, despite her

contractual obligation to do so.

     14.    In response to Mr. Harvey’s letter, on January 27,

2022, Chana brought an Order to Show Cause to enforce Litigant’s

rights.    In so doing, Chana did not disclose to this Court that

she already had violated the Settlement Agreement in two

material ways, one of which was by filing the New York Action.

     15.    I have reviewed the tax aspects of the buy-out

proposal with a tax lawyer who has expertise in real estate

transactions.      I reviewed with tax counsel the ownership

structure of BCR Pinewood LLC, BCR Lakewood Holdings LLC, the

appropriate tax returns, the Settlement Agreement, and the

relevant tax codes.        That counsel has advised me that a Section

1031 exchange with a third party is not feasible under these

circumstances.      The only way to adhere to the May 8, 2020 Order

requiring that the sale of Pinewood be completed in a tax

efficient manner that benefits both parties is to follow the

methodology stated in the January 7, 2022 letter of Peter

Harvey. (See Harvey Cert. Exhibits C, L.)

     16.    Chana’s breaches of the settlement discussed in

chambers with this Court and Term Sheet have caused there to be

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only one reasonable path forward: to permit BR Lakewood LLC to

buy out Chana’s interest in the Pinewood Property and be

reimbursed for all the legal fees it has expended since February

2020 enforcing the Settlement Agreement, including defending the

New York Action.

     17.    Chana will not suffer any financial loss as a result

of this transaction.         In fact, she most likely will save over $6

million in taxes.

     18.    Chana’s counsel Mr. Schwalb represented to the New

York Supreme Court that the Settlement Agreement is only a

“partial settlement” and was never to be a full settlement. That

assertion is contradicted by the terms of the settlement

agreement. See (See EXHIBIT E at 5.)

     19.    I have spent $200,000 in legal fees defending the New

York Action and enforcing the Term Sheet.                 Chana’s actions have

been in bad faith and violate the terms of the Term Sheet.

     20.    I hold the view that Chana has acted in bad faith in

filing the New York Action.           I also believe that this Court

would not have granted relief in favor of Chana with respect to

Pinewood Property had it known that Chana had violated the Term

Sheet by filing the New York Action.


DATED:   March 9, 2022

                                                      /s/ Benjamin Ringel____

                                                            Benjamin Ringel

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                    EXHIBIT A
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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK

           CHANA RINGEL                                                  Index No.:
                                                                         Date Purchased:
                                                 Plaintiff,
                                                                         SUMMONS WITH NOTICE
                  -against-
                                                                         Plaintiffs designate New York
           BENJAMIN RINGEL; BR LAKEWOOD, LLC;                            County as the place of trial.
           RINGEL CHILDREN’S TRUST; YAEL RINGEL
           as co-trustee of RINGEL CHILDREN’S TRUST;                     The basis of venue is Plaintiff’s
           BARUCH DAVID SCHREIBER as co-trustee of                       place of residence at the time the
           RINGEL CHILDREN’S TRUST;JOHN AND                              action was commenced under
           JANE DOES 1-10; and ABC CORPS. 1-10,                          CPLR § 503.

                                                 Defendants.


          To the above named Defendants:

                  YOU ARE HEREBY SUMMONED to answer the Complaint in this action and to serve
          a copy of your answer, or, if the Complaint is not served with this Summons, to serve a Notice of
          Appearance, on the Plaintiffs’ Attorney within 20 days after the service of this Summons,
          exclusive of the day of service (or within 30 days after the service is complete if this Summons is
          not personally delivered to you within the State of New York); and in case of your failure to appear
          or answer, judgment will be taken against you by default for the relief demanded in the Complaint.

          Dated: New York, New York
                 May 30, 2021
                                                        /s/ Efrem Schwalb
                                                        Efrem Schwalb
                                                        KOFFSKY SCHWALB, LLC
                                                        Attorneys for Plaintiff
                                                        500 Seventh Avenue, 8th Floor
                                                        New York, New York 10018
                                                        (646) 553-1590

          Notice: The nature of this action against defendants is for fraudulent transfer (e.g., N.Y. Debtor &
          Cred. Law §§ 273, 273-a, 276, breach of contract, and piercing the corporate veil and alter ego
          liability. Plaintiff seeks compensatory damages in an amount to be determined at trial but not less
          than $10,000,000, punitive damages, plus attorney’s fees and costs.




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                                                          Index No. _________

                                            SUPREME COURT OF THE STATE OF NEW YORK
                                                     COUNTY OF NEW YORK

          CHANA RINGEL

                                                          Plaintiff,

                     -against-

          BENJAMIN RINGEL; BR LAKEWOOD, LLC; RINGEL CHILDREN’S TRUST; YAEL
          RINGEL as co-trustee of RINGEL CHILDREN’S TRUST; BARUCH DAVID SCHREIBER as
          co-trustee of RINGEL CHILDREN’S TRUST; JOHN AND JANE DOES 1-10; and ABC
          CORPS. 1-10

                                                          Defendants.


                                                      SUMMONS WITH NOTICE


                                                            KOFFSKY SCHWALB, LLC
                                                                Attorneys for Plaintiff
                                                      Office and Post Office Address, Telephone
                                                            500 Seventh Avenue, 8th Floor
                                                             New York, New York 10018
                                                                   (646) 553-1590

            To                                                                 Signature (Rule 130-1.1-a)


                                                                               __________________________________
                                                                               Print name beneath
          Attorneys for

          Service of a copy of the within                                                 is hereby admitted.

          Dated,

                                                                     _______________________________
                                                                     Attorneys for




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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK

           CHANA RINGEL,                                                   Index No.: 653518/2021

                                                  Plaintiff,
                                                                           COMPLAINT
                   -against-

           BENJAMIN RINGEL; BR LAKEWOOD, LLC;
           RINGEL CHILDREN’S TRUST; YAEL RINGEL
           individually and as co-trustee of RINGEL
           CHILDREN’S TRUST; BARUCH DAVID
           SCHREIBER as co-trustee of RINGEL
           CHILDREN’S TRUST; JOHN AND JANE DOES
           1-10; and ABC CORPS. 1-10,

                                                  Defendants.


                 Plaintiff Chana Ringel (“C. Ringel”), complaining of defendants, through her undersigned

          counsel, hereby alleges as follows:

                                                    Nature of Action

                 1.       This action seeks to void fraudulent transfers from Benjamin Ringel (“B. Ringel”)

          to the various defendants. C. Ringel was for several years a partner with B. Ringel in various real

          estate holdings. C. Ringel brought suit against B. Ringel for various causes of action, which suit

          is currently the subject of an arbitration in New Jersey. C. Ringel is accordingly a potential creditor

          of B. Ringel.

                 2.       B. Ringel has engaged in numerous acts of fraudulent transfer, designed to defeat

          any judgment of C. Ringel, as well as the claims and judgments of B. Ringel’s numerous other

          creditors. C. Ringel accordingly seeks a judgment against the defendants here, who are B. Ringel’s

          various transferees and alter egos.

                                                       The Parties




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                 3.      Plaintiff Chana Ringel is an individual residing in New York, New York.

                 4.      Defendant Benjamin Ringel is an individual with an address of 219 Sagg Main

          Street, Sagaponack, NY 11962.

                 5.      Defendant BR Lakewood, LLC (“BR Lakewood”) was a Delaware limited liability

          company with a registered agent of National Registered Agents, Inc., 1209 Orange Street,

          Wilmington, DE 19801. BR Lakewood is currently inactive in Delaware and not registered or

          permitted to conduct business in the State of New York. Ringel is the manager of BR Lakewood

          and has treated the company as his personal piggy bank to defraud his many creditors.

                 6.      Defendant Ringel Children’s Trust is a trust formed under or pursuant to the laws

          of the State of New York (the “Trust”) for the benefit of Marc Ringel, Sara Ringel, Jacob Wolf

          Ringel, and Edward Mayer Ringel (the “Trust”). Ringel controls the assets of the Trust and uses

          such assets to pay his own personal expenses.

                 7.      Defendant Yael Ringel, is an individual and a named trustee of the Trust with an

          address of 219 Sagg Main Street, Sagaponack, NY 11962.

                 8.      Defendant B. David Schreiber, is an individual and a named trustee of the Trust

          who resides in Lawrence, New York.

                 9.      Defendants John and Jane Does 1-10 are other parties whose identity is currently

          unknown to whom defendant B. Ringel has caused transfers of his assets to be made to or with

          whom he has deposited assets which he controls to avoid paying his creditors and are liable for B.

          Ringel’s debts as alter egos of B. Ringel or fraudulent transferees of B. Ringel’s assets.

                 10.     Defendants ABC Corps. are other entities whose identity is currently unknown to

          whom defendant B. Ringel has caused transfers of his assets to be made to or with whom he has

          deposited assets which he controls to avoid paying his creditors and are liable for B. Ringel’s debts



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          as alter egos of B. Ringel or fraudulent transferees of B. Ringel’s assets.

                                            Facts Common to All Claims

          Litigations Between C. Ringel and B. Ringel

                   11.   Currently pending in the Superior Court of New Jersey, Ocean County, are two

          civil actions between C. Ringel, B. Ringel and various entities they own, entitled Chana Ringel, et

          al. v. Benjamin Ringel, et al., Docket No. OCN-C-152-16 and Chana Ringel v. BR Lakewood,

          LLC, et al., Docket No. OCN-C-127-15.

                   12.   In these actions, C. Ringel has asserted various causes of action against B. Ringel,

          including breach of contract and breach of fiduciary duty, all related to his wrongful conduct in

          connection with their joint real estate holdings.

                   13.   After years of litigation, the parties settled part of the controversy, and agreed to

          submit the remaining claims to arbitration. The matter is currently being arbitrated before the

          Honorable Robert Contillo, retired judge of the Chancery Division of the New Jersey Superior

          Court.

                   14.   C. Ringel’s claims against B. Ringel exceed $2 million, plus interest and contractual

          attorney’s fees. She is accordingly “a creditor whose claim has not matured” within the meaning

          of NY Debtor and Creditor Law §279, which was in effect at the time of the fraudulent transfers

          complained of herein.

          B. Ringel’s Dispute With His Sister Chana Ringel

                   15.   In 2015, B. Ringel became embroiled in litigation with his sister, Chana Ringel,

          before the New Jersey Superior Court, Ringel et al. v Ringel et al., Docket No. OCN-C-127-15,

          regarding their interests in entities that owned multiple properties in Lakewood, NJ (the

          “Lakewood Properties”) (the “Lakewood Dispute”).



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                    16.   In the Lakewood Dispute, on June 17, 2015, Chana and her entity CR Lakewood,

          LLC (“CR Lakewood”) filed a verified complaint and order to show cause for preliminary

          restraints against B. Ringel and his entity BR Lakewood (another defendant here) alleging, among

          other things, that they improperly diverted distributions from an entity they jointly owned, BCR

          Lakewood Holdings, LLC, and its affiliated entities, to B. Ringel and entities controlled by B.

          Ringel.

                    17.   On November 6, 2015, the New Jersey Court entered an order enjoining B. Ringel

          from functioning as a manager of the Company and appointing Affiliated Management Co.

          (“Affiliated”) as Special Fiscal Agent to take over the management of the Company and the

          Lakewood Properties.      Since that time, BR Lakewood received hundreds of thousands of

          distributions from Affiliated which were used by B. Ringel to pay his personal bills.

                    18.   On March 21, 2016, B. Ringel filed an answer to the verified complaint in the New

          Jersey action generally denying the allegations, except he admitted that he is the sole member of

          BR Lakewood and specifically asserted that he was the “sole owner” of BR Lakewood in the

          counterclaim.

                    19.   Chana Ringel and her entity CR Lakewood filed an amended verified complaint

          against Ringel and his entity BR Lakewood, on September 18, 2017. On March 12, 2018, B.

          Ringel filed an answer to the complaint generally denying the allegations, except he again admitted

          that he is the sole owner of BR Lakewood and asserts that he is the “sole owner” of BR Lakewood,

          in his counterclaim.

          The RCG/JDWC Litigation Uncovers Fraudulent Transfers By Ringel

                    20.   RCG LV Debt IV Non-REIT Assets Holdings, LLC (“RCG”) was an entity that

          loaned money to various business entities, for which loans B. Ringel gave personal guarantees.



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                 21.     On January 8, 2016, RCG obtained and secured the entry of a judgment and decree

          against Ringel, individually, in the New Jersey Superior Court, Chancery Division of Ocean

          County under Docket No.: OCN-C-209-13 (the “Loan Dispute”), by which RCG was entitled to

          recover a judgment in the principal sum of $22,444,851.08, plus legal fees, costs, and interest.

                 22.     In 2019, RCG assigned its interest in the judgment to JDWC, LLC (“JDWC”).

                 23.     JDWC conducted due diligence and discovered B. Ringel had an interest in multiple

          LLCs formed in New Jersey including, but not limited to BCR Lakewood Holdings, LLC, BR

          Lakewood, BCR Oakridge, LLC, BCR Pinewood Realty, LLC, BCR 12th Carey Realty, LLC, BCR

          Gertners Realty, LLC, BCR Clifton Center Realty, LLC, BCR Clifton Avenue Realty, LLC, Sunset

          Hill Oakridge Plaza, LLC, and Armstrong Realty Management Corp.

                 24.     B. Ringel’s interest in those properties is worth in excess of $25 million.

          Furthermore, those properties generate substantial rental income from which B. Ringel has been

          and continues to pay his personal expenses including for expensive vacations, but not to pay his

          many judgment creditors.

                 25.     On or about October 8, 2019, JDWC filed a motion in the New Jersey Superior

          Court seeking the entry of a Charging Order seeking to compel each entity to turn over all

          distributions due to B. Ringel to JDWC to satisfy its judgment. On October 25, 2019, the New

          Jersey Superior Court entered the requested Charging Order.

                 26.     On or about March 31, 2020, B. Ringel filed a motion to modify the Charging

          Order. In support of the motion, B. Ringel submitted a certification dated March 30, 2020 (the “B.

          Ringel Certification”).




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                    27.    In the B. Ringel Certification, B. Ringel claimed that, on January 25, 2012, he

          assigned forty percent (40%) of his ownership interest in BR Lakewood to the Trust for the benefit

          of his four (4) children.

                    28.    B. Ringel also claimed that, in June of 2015 he assigned an additional forty percent

          (40%) of his ownership interest in BR Lakewood to the alleged Trust.

                    29.    A review of the assignment documents attached to the B. Ringel Certification

          shows that B. Ringel allegedly assigned the membership interest to the Trust for “love and

          affection,” which is of no value to any of B. Ringel’s creditors.

          Fraudulent Transfer of Property at 15 Washington Ave., Lawrence, New York

                    30.    B. Ringel fraudulently transferred a property located at 15 Washington Avenue,

          Lawrence, New York, which is listed as Section 41, Block 87, Lot 23 of the tax map of the Town

          of Lawrence (the “15 Washington Property”).

                    31.    B. Ringel acquired the 15 Washington Property in 2004 for substantial

          consideration.

                    32.    On or about February 24, 2016, B. Ringel transferred the 15 Washington Property

          to his wife Yael Ringel, for minimal or no consideration. This was at the time that Ringel was

          already a defendant in one of the two actions brought against him by Chana Ringel in New Jersey

          Superior Court, as well as actions brought by other creditors.

                                        As and For a First Cause of Action
                                  (Fraudulent Transfers by a Defendant Pursuant to
                               N.Y. Debt. & Cred. Law § 273-a Against All Defendants)

                    33.    C. Ringel repeats and reincorporates the foregoing paragraphs as if set forth fully

          herein.




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                    34.   B. Ringel’s transfer of 40% of his interest in BR Lakewood in 2012, his transfer of

          40% of his interest in BR Lakewood in 2015, and his transfer of the 15 Washington Property

          (collectively the “Fraudulent Transfers”) were consummated without any consideration to B.

          Ringel and the Fraudulent Transfers were not made in good faith and constitute fraudulent transfers

          under Section 273-a of the New York Debtor and Creditor Law.

                    35.   The Fraudulent Transfers were made when B. Ringel was a defendant in multiple

          actions including in the two actions brought by C. Ringel against him in New Jersey Superior

          Court.

                    36.   As a direct and proximate result of the conduct and acts set forth above, C.

          Ringelhas been injured and suffered damages in an amount to be proven at trial.

                    37.   C. Ringel is entitled to have the Fraudulent Transfers set aside, damages against the

          transferees, punitive damages to prevent others from such egregious conduct, and such other relief

          as the Court may deem just and proper.

                    38.   As a result, the Fraudulent Transfers must be set aside pursuant to Sections 278 and

          279 of the New York Debtor and Creditor Law, and judgment entered against each of the

          Defendants.

                                      As and For a Second Cause of Action
                                 (Fraudulent Transfers by an Insolvent Pursuant to
                               N.Y. Debt. & Cred. Law § 273 Against All Defendants)

                    39.   C. Ringel repeats and reincorporates the foregoing paragraphs as if set forth fully

          herein.

                    40.   The Fraudulent Transfers were made at times when B. Ringel was insolvent as his

          assets at each such time were less than the amount required to pay his liabilities on existing debts,

          or at a time when he had or was left with unreasonably small capital.



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                    41.      The Fraudulent Transfers were made when B. Ringel was a defendant in multiple

          actions including the two actions brought by C. Ringel against him in New Jersey Superior Court.

                    42.      As a direct and proximate result of the conduct and acts set forth above, C. Ringel

          has been injured and suffered damages in an amount to be proven at trial, and post-judgment

          interest as set forth in CPLR §§ 5003 and 5004.

                    43.      C. Ringel is entitled to have the Fraudulent Transfers set aside, damages against the

          transferees, punitive damages to prevent others from such egregious conduct and such other relief

          as the Court may deem just and proper.

                    44.      As a result, the Fraudulent Transfers must be set aside pursuant to Sections 278 and

          279 of the New York Debtor and Creditor Law, and judgment entered against each of the

          Defendants.

                                            As and For a Third Cause of Action
                                (Fraudulent Transfers made with Intent to Defraud Pursuant to
                                   N.Y. Debt. & Cred. Law § 276 Against All Defendants)

                    45.      C. Ringel repeats and reincorporates the foregoing paragraphs as if set forth fully

          herein.

                    46.      The Fraudulent Transfers were made with the intent to hinder, defraud, or delay C.

          Ringel and other creditors.

                    47.      The Fraudulent Transfers are replete with badges of fraud used to analyze the

          parties’ intent:

                          (a) The transfers were to parties with close relationships to B. Ringel, such as to the

                             Trust, whose beneficiaries are B. Ringel’s four children, or to the family members

                             directly;

                          (b) Such transfers were not in the usual course of business for B. Ringel;



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                       (c) B. Ringel knew that C. Ringel was a potential creditor, and many of the Fraudulent

                          Transfers were made after C. Ringel commenced one or both of the New Jersey

                          Superior Court actions against him;

                       (d) The consideration was completely inadequate; indeed, there was zero consideration

                          paid at all; and

                       (e) B. Ringel in fact retained control and/or possession of the assets that were

                          transferred and the parties to whom transfers were made.

                 48.      The Fraudulent Transfers were also made to defraud other interests and creditors,

          including RCG/JDWC, which have been pursuing claims against B. Ringel prior to any of the

          Fraudulent Transfers.

                 49.      B. Ringel has also taken additional steps to defraud his various creditors, including

          transferring his house to his wife to avoid it being levied upon by other creditors.

                 50.      As a direct and proximate result of the conduct and acts set forth above, C. Ringel

          has been injured and suffered damages in an amount to be proven at trial.

                 51.      C. Ringel is entitled to have the Fraudulent Transfers set aside, damages against the

          transferees, punitive damages to prevent others from such egregious conduct, and such other relief

          as the Court may deem just and proper.

                 52.      As a result, the Fraudulent Transfers must be set aside pursuant to Sections 278 and

          279 of the New York Debtor and Creditor Law, and judgment entered against each of the

          Defendants.

                 WHEREFORE, C. Ringel requests the Court grant it the following relief:

             A. On the first cause of action, for a declaration that the Fraudulent Transfers were fraudulent

                 transfers under § 273-a of the N.Y. Debt. & Cred. Law, setting aside the Fraudulent



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                Transfers, for a charging order to be entered against B. Ringel’s fraudulently transferred

                interests in the Entities, and for compensatory and punitive damages against the defendants.

             B. On the second cause of action, for a declaration that the Fraudulent Transfers were

                fraudulent transfers under § 273 of the N.Y. Debt. & Cred. Law, setting aside the

                Fraudulent Transfers, for a charging order to be entered against B. Ringel’s fraudulently

                transferred interests in the Entities, and for compensatory and punitive damages against the

                defendants.

             C. On the third cause of action, for a declaration that the Fraudulent Transfers were fraudulent

                transfers under § 276 of the N.Y. Debt. & Cred. Law, setting aside the Fraudulent

                Transfers, for a charging order to be entered against B. Ringel’s fraudulently transferred

                interests in the Entities, and for compensatory and punitive damages against the defendants;

             D. For an order that all of the properties of the Fraudulent Transfers be transferred to Chana

                Ringel or liquidate in sufficient amount to satisfy any judgment held by Chana Ringel.

             E. Attorney’s fees pursuant to § 276-a of the N.Y. Debt. & Cred. Law and other law; and

             F. Such other relief as the Court may deem just and proper.

          Dated: New York, New York
                 November 1, 2021
                                                       /s/ Efrem Schwalb
                                                       Efrem Schwalb
                                                       KOFFSKY SCHWALB, LLC
                                                       Attorneys for Plaintiff
                                                       500 Seventh Avenue, 8th Floor
                                                       New York, New York 10018
                                                       (646) 553-1590




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           SUPREME COURT OF THE STATE OF NEW YORK
           COUNTY OF NEW YORK
           ------------------------------------------------------------------X
           CHANA RINGEL,
                                                                                 Index No.: 653518/2021

                                                                Plaintiff,
                                          - against -


           BENJAMIN RINGEL; BR LAKEWOOD, LLC; RINGEL
           CHILDREN’S TRUST; YAEL RINGEL as co-trustee of RINGEL
           CHILDREN’S TRUST; BARUCH DAVID SCHREIBER as co-
           trustee of RINGEL CHILDREN’S TRUST; JOHN AND JANE
           DOES 1-10; and ABC CORPS. 1-10,
                                                                 Defendants.
           ------------------------------------------------------------------X



             MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION TO
                            DISMISS THE COMPLAINT




                                               BERG & DAVID, PLLC
                                               372 Doughty Boulevard
                                               Inwood, New York 11096
                                                   (718) 989-1392




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                  Defendants Benjamin Ringel (“Benjamin”), BR Lakewood, LLC (“BRL”), Ringel

          Children’s Trust (“Children’s Trust”), Yael Ringel as co-trustee of Ringel Children’s Trust’s

          (“Yael”) (collectively, “Defendants”) submit pre-answer motion to dismiss the Complaint

          pursuant to CPLR 3211 (a)(1), (a)(2), (a)(5), and (a)(7).

                                               PRELIMINARY STATEMENT

                  As set forth in the Complaint, on January 17, 2015, Plaintiff Chana Ringel (“Plaintiff” or

          “Chana”) and her entity CR Lakewood, LLC (“CRL”) commenced two actions against defendants

          Benjamin and BRL, in New Jersey, alleging various claims related to an entity BCR Lakewood

          LLC, which Benjamin and Chana owned jointly (“NJ Actions”).1 As Plaintiff acknowledges, no

          final judgment was entered in the NJ Action as Benjamin and Chana, and their related entities,

          settled part of the claims and agreed to submit the remaining claims to arbitration. Per the

          Complaint, the arbitration is currently ongoing.

                  In this action, Plaintiff seeks to unwind various transfers made by Benjamin, asserting three

          causes of action pursuant to N.Y Debt. & Cred. Law (“NYDCL”) §§ 273-a, 273, and 276. Each

          and every claim is stated in conclusory fashion and belied by the allegations in the Complaint and

          pleading standards imposed by governing law. The Complaint thus fails to state a cause of action

          and must therefore be dismissed pursuant to CPLR 3211(a)(7).

                  First, Plaintiff failed to state a cause of action pursuant to NYDCL § 273-a as no final

          judgement was entered in the NJ Action.2 Second, Plaintiff failed to state a cause of action

          pursuant to NYDCL § 273 as Plaintiff’s conclusory claim that the alleged transfers occurred when

          Plaintiff was insolvent or was left with “unreasonably small capital” is belied and contradicted by


          1
            These actions were subsequently consolidated.
          2
            Plaintiff’s reference to a judgment allegedly obtained by RCG/JDWC in an unrelated action is immaterial for
          purposes of this action as Plaintiff lacks standing to assert any claims on behalf of RCG/JDWC, which is not a party
          to this action.

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          Plaintiff’s own factual allegations in the Complaint. Third, Plaintiff failed to state a cause of action

          pursuant to NYDCL § 276 as Plaintiff fails to allege facts sufficient to find, especially under the

          heightened pleading standard for fraud under CPLR 3016(b), that the alleged transfers were done

          with actual intent to hinder, delay, or defraud Plaintiff’s ability to satisfy any future arbitration

          award issued in the NJ Action.

                  In addition, the instant action should be dismissed pursuant to CPLR 3211(a)(1) and (a)(2)

          as the documentary evidence establishes that this Court lacks subject matter over Plaintiff’s claims.

          Specifically, Plaintiff and defendants Benjamin and BRL executed a settlement agreement in the

          NJ Action, which explicitly states that all remaining unsettled claims be sent to binding arbitration

          and further states that the New Jersey Court retained jurisdiction over enforcement of the

          settlement agreement. Here, the instant action is directly related to the claims asserted by Plaintiff

          in the NJ Action. As such, this Court lacks jurisdiction to adjudicate the claims asserted in this

          action, which, by virtue of the settlement agreement executed by Plaintiff, must be raised in the

          NJ Action. Finally, the initial transfer referenced in the Complaint, which Plaintiff seeks to set

          aside, occurred over six years ago, and over two years from when Plaintiff had, or should have

          had, knowledge of the transfer. As such, this claim is barred by the statute of limitations and

          should be dismissed pursuant to CPLR 3211(a)(5).

                                                 FACTUAL BACKGROUND

                  For a recitation of the relevant facts, the Court is respectfully referred to the Affidavit of

          Benjamin Ringel, sworn to on January 17, 2022, and the exhibits annexed thereto, and to the

          Complaint, dated November 2, 2021 (NYSCEF Doc. No. 9).3


          3
            The allegations in the Complaint are accepted as true for purposes of this motion only. However, the allegations in
          the Complaint that are bare legal conclusions, inherently incredible or flatly contradicted by the evidence are not
          accepted as true. If Plaintiff’s Complaint somehow survives this motion to dismiss, Defendants expressly reserve
          their right to dispute the allegations contained in the Complaint.

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                                                     ARGUMENT

            I.    MOTION TO DISMISS STANDARD
                  A motion to dismiss pursuant to CPLR 3211(a)(l) will be granted when “the documentary

          evidence utterly refutes plaintiff's factual allegations, conclusively establishing a defense as a

          matter of law.” See e.g., Seaman v. Schulte Roth & Zabel LLP, 176 A.D.3d 538 (1st Dep’t 2019)

          (quoting Goshen v. Mutual Life Ins. Co. of N.Y., 98 N.Y.2d 314, 326 [2002]).

                  It is well settled that a forum selection clause in a settlement agreement may, under certain

          circumstances, constitute documentary evidence sufficient to provide a proper basis for dismissal

          of a complaint pursuant to CPLR 321 l(a)(1). See Landmark Ventures, Inc. v Birger, 147 A.D.3d

          497, 497 (1st Dep’t 2017) (“[A] contractual forum selection clause is documentary evidence that

          may provide a proper basis for dismissal pursuant to CPLR 3211(a)(1).”)

                  CPLR 3211(a)(2) permits dismissal when the court does not have jurisdiction over the

          subject matter of the cause of action. See CPLR 3211(a)(2). CPLR Rule 3211(a)(5) provides for

          dismissal on the grounds that a cause of action many not be maintained because it is barred by the

          applicable statute of limitations. See CPLR 3211(a)(5). On a motion to dismiss a complaint

          pursuant to CPLR 3211(a)(5) on statute of limitations grounds, the defendant must establish, prima

          facie, that the time in which plaintiff was required to commence the action, has expired. See Malast

          v. Civil Service Employees Ass'n, Inc., Local 830, 28 A.D.3d 650 (2nd Dep’t 2015). The burden

          then shifts to the plaintiff to raise an issue of fact as to whether the statute of limitations is tolled

          or is otherwise inapplicable. Id.

                  CPLR 3211(a)(7) provides for dismissal on the ground that “the pleading fails to state a

          cause of action.” On such a motion to dismiss “the court must accept all of the allegations in the

          complaint as true, and, drawing all inferences from those allegations in a light most favorable to

          the plaintiff, determine whether a cognizable cause of action can be discerned therein, not whether

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          one has been properly stated. However, the complaint must contain allegations concerning each

          of the material elements necessary to sustain recovery under a viable legal theory.”

          MatlinPatterson ATA Holdings LLC V. Federal Express Corp., 87 A.D.3d 836, 839 (1st Dep’t

          2011). Where documentary evidence is submitted, “the standard morphs from whether the plaintiff

          stated a cause of action to whether it has one,” and “if the defendant's evidence establishes that the

          plaintiff has no cause of action . . . dismissal would be appropriate.” Basis Yield Alpha Fund

          (Master) V. Goldman Sachs Group, Inc., 115 A.D.3d 126, 134 (1st Dep’t 2014).

                    In addition, CPLR §3016(b) requires that “[w]here a cause of action or defense is based

          upon … fraud … the circumstances constituting the wrong shall be stated in detail.” Where a

          fraud-based claim contains only “[b]are allegations … without any allegation of details

          constituting the wrong,” the claim should be dismissed. Central State Bank v. Am. Appraisal Co.,

          33 A.D.2d 1009, 1010 (1st Dep’t 1970), aff’d, 28 N.Y.2d 578 (1971).


              II.   PLAINTIFF FAILED TO STATE A CLAIM FOR FRAUDULENT CONVEYANCE
                    UNDER NYDCL § 273-a (FIRST CAUSE OF ACTION)

                    NYDCL § 273-a provides: “Every conveyance made without fair consideration when the

          person making it is a defendant in an action for money damages or a judgment in such an action

          has been docketed against him, is fraudulent as to the plaintiff in that action without regard to the

          actual intent of the defendant if, after final judgment for the plaintiff, the defendant fails to satisfy

          the judgment.” (emphasis added).4

                    Here, Plaintiff’s claims for fraudulent conveyance are premised on the existence of the NJ




          4
             New York recently enacted the Uniform Voidable Transactions Act (“UVTA”), replacing the state’s Uniform
          Fraudulent Conveyance Act (“UFCA”), by codifying the UVTA under the existing sections of the Debtor and Creditor
          Law. However, the pre-amendment UFCA applies to transfers that occurred prior to April 4, 2020, the effective date
          of New York’s adoption of the UVTA.


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          Actions, which Plaintiff is a party to. (See Complaint at ¶ 35) (“The Fraudulent Transfers were

          made when B. Ringel was a defendant in multiple actions including in the two actions brought by

          C. Ringel against him in New Jersey Superior Court.”)5 As Plaintiff acknowledges in the

          Complaint, no final judgement has been entered in the New Jersey Actions. (See Complaint at ¶

          13) (“After years of litigation, the parties settled part of the controversy, and agreed to submit the

          remaining claims to arbitration. The matter is currently being arbitrated ….”)

                   Based on the foregoing, because the Complaint does not allege the existence of an

          unsatisfied judgment against and of the Defendants in the NJ actions, Plaintiff’s failed to state a

          cause of action for fraudulent conveyance pursuant to NYDCL § 273-a. See Frybergh v Weissman,

          145 A.D.2d 531, 531-532 (2d Dep’t 1988) (“[T]he existence of an unsatisfied judgment is an

          essential element of [a claim pursuant to NYDCL § 273-a] and [because] the plaintiff has obtained

          no judgment against any of the defendants, his first cause of action was properly dismissed.”)

                   Notably, Plaintiff’s reference to the “RCG” action and judgment in the Complaint (see

          Complaint at ¶ 21) is completely irrelevant for purposes of this action as neither RCG nor its

          alleged assignee, JDWC (id. at ¶ 22), are parties to this action. Plaintiff thus lacks standing to raise

          any claims on their behalf. See NYDCL § 273-a (“[A] conveyance made without fair consideration

          when the person making it is a defendant in an action … is fraudulent as to the plaintiff in that

          action ….”). Here, Plaintiff does not claim that she was a party to the RCG action nor does she

          claims to be an assignee of the purported judgment. As such, Plaintiff lacks standing to assert a

          claim for fraudulent transfer pursuant to DCL § 273-a on RCG or JDWC’s behalf.

                   Accordingly, Plaintiff first cause of action, seeking to set aside the transfers pursuant to



          5
            As set forth below, the only actions referenced in the Complaint which Plaintiff is a party to, and thus has standing
          to raise as a basis for her fraudulent conveyance claims, are the New Jersey Actions. Plaintiff does not claim that she
          was a party to the RCG/JDWC judgment or that she has standing to raise any claims on RCG/JDWC’s behalf.

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          NYDCL § 273-a, fails to state a cause of action and must be dismissed pursuant to CPLR

          3211(a)(7).

          III.   PLAINTIFF FAILED TO STATE A CLAIM FOR FRAUDULENT CONVEYANCE
                 UNDER NYDCL § 273 (SECOND CAUSE OF ACTION)
                 NYDCL § 273 provides that, “[e]very conveyance made and every obligation incurred by

          a person who is or will be thereby rendered insolvent is fraudulent as to creditors without regard

          to his actual intent if the conveyance is made or the obligation is incurred without fair

          consideration.” To allege a cause of action for constructive fraudulent conveyance under NYDCL

          § 273, a plaintiff must allege that (1) the conveyance was made while the transferor was insolvent

          or was rendered insolvent by the conveyance, (2) the conveyance was made without fair

          consideration, and (3) the plaintiff was a creditor at the time of the transfer. See, e.g., Joslin v.

          Lopez, 309 A.D.2d 837, 837-38 (2d Dep’t 2003) (emphasis added), In re 50 Pine Co, 317 B.R.

          276 (Bankr. S.D.N.Y. 2004).

                     a. Plaintiff Has Not Adequately Pled Insolvency

                 “A person is insolvent when the present fair salable value of his assets is less than the

          amount that will be required to pay his probable liability on his existing debts as they become

          absolute and matured.” NYDCL § 271. “The operative reference point for determining insolvency

          is the time at which the transfer took place[.]” Kim v. Ji Song Yoo, 311 F. Supp. 3d 598, 612

          (S.D.N.Y. 2018) (citation and internal quotation marks omitted), Lzppe v. Bairnco Corp., 249 F.

          Supp. 3d 357, 379-80 (S.D.N.Y. 2003) (citing Am. Inv. Bank, NA. v. Marine Midland Bank, NA.,

          191 A.D.2d 690 [1993]). Therefore, the transferor’s insolvency, for purposes of the statute, cannot

          be presumed from subsequent insolvency at a later point in time. See O’Toole v. Karnani (In re

          Trinsum Group, Ina), 460 B.R. 379, 392 (Bankr. S.D.N.Y. 2011). A prima facie case cannot be

          made absent allegations of the fair salable value of the transferor’s assets. See Kenyon & Kenyon


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          LLP v. SightSound Tech., LLC, 151 A.D.3d 530, 531 (1st Dep't 2017).

                 Plaintiff seeks to set aside three transfers made by Benjamin; (i) transfer of 40% of his

          interest in BRL to the Children’s Trust on January 25, 2012 (“Transfer 1”); transfer of additional

          40% of his interest in BRL to the Children’s Trust in June of 2015; (“Transfer 2”); and transfer of

          property located Lawrence, New York on or about February 24, 2016 (“Transfer 3”).

                 In the Complaint, Plaintiff makes the conclusory claim that the “Fraudulent Transfers were

          made at times when B. Ringel was insolvent as his assets at each time were less than the amount

          required to pay his liabilities on existing debts, or at a time when he had or was left with

          unreasonably small capital.” See Complaint at ¶ 40. Not only does Plaintiff fail to allege any facts

          to support this conclusory allegation; this claim is belied by the allegations in the Complaint itself.

                 Specifically, Plaintiff alleges that in 2019 it was discovered that Benjamin’s interest in

          various properties and/or LLCs is worth “in excess of $25 million” and that those properties

          “generate substantial income.” See Complaint at ¶ 17. Plaintiff further acknowledges that, even

          after Transfers 1 and 2, Benjamin retained a 20% interest in BRL, from which Plaintiff claims

          Benjamin received “hundreds of thousand of distributions (sic) [since 2015].” Id. at ¶ 47.

          Accordingly, even accounting for the RCG judgment, entered on January 8, 2016, in the amount

          of $22,444,851.08 and Chana’s claim of $2 million (see Complaint at ¶ 14), Benjamin was

          sufficiently solvent, with net assets worth in excess of $2.5 million, at the time of the transfers and

          capable of covering Chana’s $2 million claim in the event she obtains an arbitration award in her

          favor. Plaintiff therefore fails to plead the requisite elements of NYDCL § 273 and this claim must

          be dismissed.

                 Additionally, although as set forth above, Plaintiff failed to plead insolvency as to all three

          transfers, at the very least, Plaintiff fails to state a cause of action to set aside Transfer 1 and



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          Transfer 2. Specifically, Transfer 1 and Transfer 2 took place in 2012 and 2015 respectively, prior

          to the entry of the RCG judgment in 2016.6 Accordingly, these transfers were made a time when,

          as Plaintiff alleges in the Complaint, Benjamin had over $25 million in assets and without any

          claimed liabilities or judgments against him. As such, these transfers were clearly not made at a

          time that would have rendered Benjamin insolvent or with unreasonably small capital for purposes

          of NYDCL § 273. Kim, 311 F. Supp. 3d at 612 (“The operative reference point for determining

          insolvency is the time at which the transfer took place.”) Further, because Transfer 1 took place

          in 2012, years before Chana commenced the NJ Actions, Chana failed to plead how she was a

          creditor of Benjamin at the time of the transfer - an essential element of a claim under NYDCL §

          273. Accordingly, at the very least, Plaintiff failed to state a cause of action under NYDCL § 273

          to set aside Transfer 1 and Transfer 2

                       b. Plaintiff Has Not and Cannot Allege Any Cognizable Harm with Respect to
                          Transfers Between BRL and the Children’s Trust

                  The instant action is premised on Chana’s claims as against both Benjamin and BRL in the

          NJ Actions. See Complaint at ¶ 11. Because BRL is a named defendant in the NJ Actions, any

          potential arbitration award or judgment obtained by Plaintiff in the NJ Actions can be enforced as

          against BRL, regardless of the percentage of Benjamin’s ownership interest in BRL. Notably,

          BRL was a party and a signatory to the Settlement Agreement executed in the NJ Actions. See

          Exhibit 3. Accordingly, Plaintiff’s claim that the transfers of Benjamin’s ownership interest in

          BRL to the Children’s Trust was made for the purpose of defrauding Plaintiff and/or to hinder her

          ability to collect on any potential award or judgment issued in the NJ Actions is nonsensical.




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           Moreover, Transfer 1, which took place in 2012, occurred even prior to the commencement of the RCG action, which
          has a 2013 docket number. See Complaint at ¶ 21.

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          IV.    PLAINTIFF FAILED TO STATE A CLAIM FOR FRAUDULENT CONVEYANCE
                 UNDER NYDCL § 276 (THIRD CAUSE OF ACTION)

                 To properly plead a claim for actual fraudulent conveyance under NYDCL § 276, “the

          claimant must allege that (1) the thing transferred has value of which the creditor could have

          realized a portion of its claim; (2) that this thing was transferred or disposed of by the debtor and

          (3) that the transfer was done with actual intent to defraud.” NYDCL § 276; Chambers v.

          Weinstein, 44 Misc.3d 1224(A), at *7 (Sup. Ct. N.Y. Cty. 2014). These allegations must meet

          New York’s heightened pleading standard requiring that the circumstances constituting the fraud

          be stated in detail. See Carlyle, LLC v Quik Park 1633 Garage LLC, 160 A.D.3d 476, 477 (1st

          Dep’t 2018). “[C]onclusory allegations regarding fraudulent intent and those made on information

          and belief fail to meet the heightened particularity requirement of CPLR § 3016(b).” Avilon Auto.

          Group v Leontiev, 2020 NY Slip Op 30837[U], *14 (Sup Ct, NY Cty. 2020). Here, Plaintiff’s

          claim that the subject transfers were made “with the intent to defraud or delay C. Ringel and other

          creditors” - is not only insufficiently plead, but it is also refuted by Plaintiff’s own claims in the

          Complaint. Specifically, as noted above, even according to Plaintiff’s own claims, the subject

          transfers did not render Benjamin insolvent as he was left with substantial assets, worth in excess

          of $2.5 million (even accounting for the RCG judgment), following the transfers. As such,

          Plaintiff’s claim that the transfers were made by Benjamin with actual intent to defraud Plaintiff

          in order to hinder ability to collect on her $2 million claim is refuted by Plaintiff’s own allegations.

          Because the factual allegations in the Complaint specifically prove that the subject transfers were

          not done with the intent to hinder Plaintiff’s ability to collect on a potential award on her pending

          claims in the NJ Actions, Plaintiff’s conclusory recitation of the alleged “badges of fraud” with




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          respect to the transfers are immaterial and do not prove “actual intent” to defraud.7

                    Accordingly, Plaintiff failed to allege a violation of NYCDL § 276 and her Third Cause of

          Action must therefore be dismissed.

              V.    THE COURT LACKS SUBJECT MATTER JURISDICTION OVER PLAINTIFF’S
                    CLAIMS
                    As set forth above, it is well settled that a forum selection clause in a settlement agreement

          may, under certain circumstances, constitute documentary evidence sufficient to provide a proper

          basis for dismissal of a complaint pursuant to CPLR 3211(a)(1). See Landmark Ventures, 147

          A.D.3d at 497. Further, stipulations made during litigation are to be strictly enforced unless “there

          is cause sufficient to invalidate a contract, such as fraud, collusion, mistake or accident. Matter of

          Frutiger, 29 N.Y.2d 143, 149-150 (1971); Matter of Davis, 292 A.D.2d 452, 738 NYS2d 884

          (2002).

                    As set forth in the accompanying affidavit of Benjamin Ringel, in 2020 Benjamin and

          Chana/Plaintiff, and the entities they controlled, partially settled the claims raised in the NJ Actions

          and agreed to submit the remaining claims to arbitration. See affidavit of Benjamin Ringel

          (“Ringel Aff.”) at ¶ 5, Exhibit 3 (“Settlement Agreement”). The Settlement Agreement contained

          a forum selection clause in that paragraph 5 required the parties to submit all remaining claims in

          the [NJ] Actions … to binding arbitration (see id.; Ex. 5 at ¶ 5) and paragraph 7 states that the

          “[New Jersey] Court shall maintain jurisdiction over the Parties to enforce the terms of the

          Settlement Agreement.” See id. at ¶ 7




          7
            Further, as set forth above, Plaintiff lacks standing to assert claims on behalf of “other creditors, including
          RCG/JDWC,” as these entities are not named plaintiffs in this action. Accordingly, Plaintiff’s claim that the subject
          transfers were made in violation of NYDCL § 276 because they were done to defraud these “other creditors” fails to
          state a cause of action and must be dismissed.

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                  Further, the claims asserted by Plaintiff in the Complaint are directly related to Plaintiff’s

          claims in the NJ Actions. Specifically, Plaintiff’s claim that she is a creditor of Benjamin is based

          solely on the pending arbitration in the NJ Actions. See Complaint at ¶¶ 1 and 47(b). Further, the

          entire purpose of this action is to recover assets in the event of an award issued in the pending

          arbitration in favor of Plaintiff.

                  As such, pursuant to the terms of the Settlement Agreement, executed by Plaintiff and

          defendants Benjamin and BRL, Plaintiff’s claims must be made in the pending arbitration or raised

          to the Court in the NJ Actions, which retained jurisdiction over the enforcement of the Settlement

          Agreement. Accordingly, pursuant to the forum selection clauses in the Settlement Agreement,

          the Court lacks subject matter jurisdiction to adjudicate Plaintiff’s claims and the Complaint should

          therefore be dismissed pursuant to CPLR 3211(a)(1) and (a)(5).

          VI.     PLAINTIFF’S CLAIMS REGARDING THE FIRS TRANSFERS FROM BRL TO
                  THE CHILDREN’S TRUST IS BARRED BY THE STATUTE OF LIMITATIONS

                  “Claims based on constructive fraud, such as those recognized by Debtor and Creditor Law

          §§ 273 and 273-a, are governed by the six-year statue of limitations set forth in CPLR 213 (1), and

          such claims arise at the time of the fraud or conveyance.” Metzger v Yuenger Woodworking Corp.,

          33 A.D.3d 678, 679 (2d Dep’t 2006). Where actual fraud is alleged, such as that recognized

          under Debtor and Creditor Law § 276, the statute of limitations is six years from the fraudulent

          transfer or two years from the time the fraud was discovered or could have been discovered,

          whichever is later.” (internal citations omitted).

                  Here, as alleged in the Complaint, Benjamin’s initial transfer of 40% of his ownership

          interest in BRL to the Children’s Trust occurred in 2012, over six years prior to the commencement

          of this action on June 2, 2021. Additionally, as set forth in the Ringel Affidavit, Plaintiff was

          aware, or could have been aware of this transfer, at the latest, on April 29, 2019, over two years

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          prior to the commencement of this action, when Plaintiff’s counsel provided a revised draft of the

          Proposed Settlement Agreement in the NJ Actions to Benjamin’s counsel, which referenced the

          Children’s Trust ownership interest in BRL.

                  Accordingly, using either the six-year time limit from the date of the transfer, or the two-

          year limit from the time Plaintiff was aware, or could have been aware, of the transfer, Plaintiff’s

          claim seeking to set aside Transfer 1 as a fraudulent transfer is barred by the statute of limitations

          and this claim must dismissed pursuant to CPLR 3211(a)(5).

                                                    CONCLUSION

                  Based on the foregoing, the Complaint should be dismissed in its entirety pursuant to CPLR

          3211(a)(1), (a)(2), (a)(5), and (a)(7).

                  WHEREFORE, it is respectfully requested that the Court grant Defendants’ motion in its

          entirety together with such other and further belief as this Court deems just and proper.

          Dated: Inwood, New York
                January 17, 2022                                BERG & DAVID, PLLC


                                                                By: /s/ Sholom Wohlgelernter
                                                                        Sholom Wohlgelernter
                                                                        Abraham David
                                                                Attorneys for Defendants
                                                                372 Doughty Blvd.
                                                                Inwood, New York 11096
                                                                (718) 989-1392




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                                     CERTIFICATION OF WORD COUNT

                 Pursuant to Rule 17 of the Commercial Division of the Supreme Court, I hereby certify

          that the foregoing Memorandum of Law contains 4,188 words, exclusive of the caption, tables,

          and signature block, as determined by Microsoft Word program used to prepare the document.

          Dated: January 17, 2022

                                                             /s/ Sholom Wohlgelernter
                                                             SHOLOM WOHLGELERNTER




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           SUPREME COURT OF THE STATE OF NEW YORK
           COUNTY OF NEW YORK
           ------------------------------------------------------------------X
           CHANA RINGEL,
                                                                                 Index No.: 653518/2021

                                                                Plaintiff,
                                          - against -


           BENJAMIN RINGEL; BR LAKEWOOD, LLC; RINGEL
           CHILDREN’S TRUST; YAEL RINGEL as co-trustee of RINGEL
           CHILDREN’S TRUST; BARUCH DAVID SCHREIBER as co-
           trustee of RINGEL CHILDREN’S TRUST; JOHN AND JANE
           DOES 1-10; and ABC CORPS. 1-10,
                                                                 Defendants.
           ------------------------------------------------------------------X



                    REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF
                      DEFENDANTS’ MOTION TO DISMISS THE COMPLAINT




                                               BERG & DAVID, PLLC
                                               372 Doughty Boulevard
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                 Defendants Benjamin Ringel (“Benjamin”), BR Lakewood, LLC (“BRL”), Ringel

          Children’s Trust (“Children’s Trust”), and Yael Ringel as co-trustee of Ringel Children’s Trust’s

          (collectively, “Defendants”) respectfully submit this reply memorandum of law in further support

          of their pre-answer motion to dismiss the Complaint pursuant to CPLR 3211 (a)(1), (a)(2), (a)(5),

          and (a)(7).

                                                PRELIMINARY STATEMENT
                 In this action, Plaintiff seeks to unwind various transfers made by Benjamin, asserting three

          causes of action pursuant to N.Y Debt. & Cred. Law (“NYDCL”) §§ 273-a, 273, and 276. First,

          as set forth in Defendant’s initial memorandum of law, the instant action must be dismissed as this

          Court lacks jurisdiction over these claims, which all relate to an underlying action in New Jersey

          in which the parties entered into a settlement/arbitration agreement whereby the New Jersey Court

          retained jurisdiction over the enforcement of the agreement as well as the satisfaction of any award

          or judgment rendered in the action. Notably, as part of the agreement the parties were required to

          place $2.5 million in escrow for the sole purpose of satisfying any claim for monetary relief by

          any party in that action. Plaintiff’s claims, which seek to unwind transfers for the purpose of

          satisfying any potential award or judgment in the New Jersey Action is thus subject to the

          settlement agreement and must be litigated in the New Jersey action.

                 Regardless, Plaintiff failed to assert a cause of action under DCL §§ 273-a, 273, and 276,

          which must therefore be dismissed pursuant to CPLR 3211(a)(7). At the outset, Plaintiff concedes

          that its cause of action under DCL § 273-a must be dismissed as no final judgement was entered

          in the NJ Action. Second, Plaintiff failed to state a cause of action pursuant to NYDCL § 273 as

          Plaintiff’s conclusory allegations of insolvency are insufficient as a matter of law and belied by

          the evidence. Third, Plaintiff failed to state a cause of action pursuant to NYDCL § 276 as Plaintiff

          fails to allege facts sufficient to find, especially under the heightened pleading standard for fraud

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          under CPLR 3016(b), that the alleged transfers were done with actual intent to hinder, delay, or

          defraud Plaintiff’s ability to satisfy any future arbitration award issued in the NJ Action. Lastly,

          Plaintiff’s claims regarding the 2012 transfer are barred by the statute of limitations and should be

          dismissed pursuant to CPLR 3211(a)(5).

                                            ARGUMENT
            I.    PLAINTIFF’S CAUSES OF ACTION ARE NOT “NEW CLAIMS” BUT RATHER
                  REMEDIES FOR CLAIMS OVER WHICH THE NEW JERSEY COURT
                  RETAINED JURISDICTION OVER


                  Plaintiff alleges in the Complaint to be a “creditor” of Benjamin Ringel as a result of the

          claims she has against him in the New Jersey Actions. See Ex. D [Complaint] at ¶ 1, 2, 11-14. In

          the instant action, Plaintiff alleges three causes of action, all seeking to set aside various transfers,

          which Plaintiff alleges to be fraudulent, for the sole purpose of satisfying any potential judgment

          or arbitration award issued against Benjamin in the New Jersey Actions. See id., see also

          Plaintiff’s Opposition at 9-10.

                  This Court, however, as set forth in Defendants’ initial memorandum of law, lacks

          jurisdiction to adjudicate these claims, as the parties agreed in an executed settlement agreement

          in the New Jersey Action, that the New Jersey Court will retain jurisdiction over all claims asserted

          in the New Jersey Actions, both the settled claims and the remaining claims referred to binding

          arbitration. See Ex. 3 at ¶¶ 5 and 7. Moreover, the New Jersey Court also retained jurisdiction

          over the enforcement of any potential judgment or arbitration award issued with respect to any

          claim asserted in the Actions. Specifically, Paragraphs 2 and 6 of the Settlement Agreement

          required each party, to place into escrow with the Court, the sum of $5 million, $2.5 million from

          each side, from the proceeds of the sale of the Pinewood Complex following the sale of the




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          Pinewood Complex (as directed pursuant to the terms of the agreement), to “be used solely to

          satisfy any claim for monetary relief by any party in the [New Jersey] Actions ….” Id. at ¶ 6.1

                   In her opposition, Plaintiff argues that the claims asserted in this action are not subject to

          the Settlement/Arbitration Agreement as they are new claims that were not asserted in the New

          Jersey Actions. This claim is meritless and contradicted by the allegations in the Complaint.

          Specifically, Plaintiff does not raise any new monetary claims against Mr. Ringel in this action,

          she merely seeks a remedy for the satisfaction of a potential monetary award issued in her favor in

          the New Jersey Action.2 See Complaint at ¶¶ 11-32. Notably, the entire purpose of the Debtor

          Creditor Law sections which Plaintiff is asserting claims under, is to preserve assets for a potential

          or matured judgment. Not to assert new monetary claims. Here, however, as noted above, pursuant

          to the terms of the Settlement Agreement, the New Jersey Court retained jurisdiction to enforce

          the terms of the Settlement Agreement as well as the satisfaction of all claims for monetary relief

          asserted in that action.

                   Accordingly, contrary to Plaintiff’s contention, she is not asserting new claims against Mr.

          Ringel in this action, rather, she is attempting to use this action to evade the terms of the Settlement

          Agreement by seeking relief which the parties explicitly agreed the New Jersey Court retained

          jurisdiction over. Accordingly, the instant action must be dismissed for lack of jurisdiction. See

          Landmark Ventures, Inc. v Birger, 147 A.D.3d 497, 497 (1st Dep’t 2017) (“[A] contractual forum




          1
            By agreeing to escrow $2.5 million for the purpose of satisfying of any claim for monetary relief by any party in
          the New Jersey Actions, the parties specifically acknowledged that their respective claims do not exceed $2.5
          million and that escrowed funds are sufficient to satisfy any potential monetary award issued by the Arbitrator. In
          fact, the Complaint alleges that Plaintiff’s claims in the New Jersey Actions, “exceed” $ 2 million, which is
          consistent with the $2.5 million held (or to be held) in escrow by the Court in the New Jersey Actions in the event
          she is the prevailing party in the pending arbitration.
          2
            To the extent Plaintiff is alleging claims with respect to other actions or judgment to which Plaintiff is not a party or
          named judgment holder, such as RCG or JDWC, these entities are not parties to this action and Plaintiff lacks standing
          to raise any claims on their behalf.

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          selection clause is documentary evidence that may provide a proper basis for dismissal pursuant

          to CPLR 3211(a)(1).”)

           II.   PLAINTIFF FAILED TO PLEAD INSOLVENCY
                 As set forth in detail in Defendants’ initial Memorandum of Law, Plaintiff’s Second Cause

          of Action for fraudulent conveyance pursuant to DCL § 273 must be dismissed as Plaintiff not

          only failed to allege facts sufficient to support her conclusory allegation that the subject transfers

          were made at a time when Mr. Ringel was insolvent, but the factual allegations in the Complaint

          actually refute this allegation. Specifically, the Complaint alleges that in 2019 it was discovered

          that Benjamin’s interest in various properties and/or LLCs is worth “in excess of $25 million” and

          that those properties “generate substantial income.” See Complaint at ¶ 17. Plaintiff further

          acknowledges that, even after Ringel transferred portions of his interest in BRL in 2012 and 2015

          to his children’s trust, Benjamin retained a 20% interest in BRL, from which Plaintiff claims

          Benjamin received “hundreds of thousand of distributions (sic) [since 2015].” Id. at ¶ 47.

          Accordingly, the allegations in the Complaint itself refute Plaintiff’s claim that Mr. Ringel was

          insolvent at the time of the alleged transfers.

                 Plaintiff argues in her opposition that she sufficiently pled insolvency by alleging that the

          transfers were made without consideration, which creates a rebuttable presumption of insolvency.

          This argument is not only meritless it supports Defendants’ position. Specifically, regardless of

          whether the transfers were made without consideration, here, as noted above, the facts alleged in

          the Complaint itself rebut the presumption of insolvency as they establish that Mr. Ringel remained

          sufficiently solvent following the alleged transfers, due to his ownership interest in properties and

          LLCs valued in excess of $25 million, well above the claimed outstanding RCG Judgement and

          Plaintiff’s $2 million claim. Moreover, Plaintiff fails to even address the fact that the alleged RCG

          Judgment, alleged to be in the amount of $22,444,851.08, was only entered in 2016, after the 2012

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          and 2015 transfers allegedly took place. The facts alleged in the Complaint thus establish that the

          alleged transfers, especially the 2012 and 2015 transfers, took place at a time when Mr. Ringel was

          sufficiently solvent.

                 Plaintiff’s argument that Mr. Ringel’s ownership interest in various properties and LLCs,

          valued in excess of $25 million, does not establish his solvency at the time of the alleged transfers

          because Plaintiff only discovered his net worth in 2019, after the subject transfers took place, is

          nonsensical. The Complaint does not allege that Mr. Ringel obtained his ownership interest in

          these properties in 2019; it alleges that his ownership interest in these properties and LLCs was

          discovered in 2019. The Complaint does not allege any facts to support this new claim that Mr.

          Ringel only obtained his interest in these assets in 2019. As such, the allegation in the Complaint

          regarding Mr. Ringel’s net-worth, which was well in excess of the alleged claims and judgment

          against him, directly refutes Plaintiff’s claim that the alleged transfers rendered him insolvent.

                 Finally, in an effort to salvage the deficiency in her pleadings, Plaintiff points to the

          allegation in the Complaint of other unidentified claims and judgments against Mr. Ringel held by

          unidentified judgment creditors. This conclusory allegation, however, is insufficient as a matter

          of law to state a claim for fraudulent conveyance premised on insolvency. See Paradigm

          BioDevices, Inc. v. Viscogliosi Bros., LLC, 842 F. Supp. 2d 661, 667 (S.D.N.Y. 2012)

          (“[C]onstructive fraudulent conveyance claims premised on the insolvency or unreasonably small

          capital of the transferor ‘cannot survive a motion to dismiss on conclusory allegations alone.’”).

                 Accordingly, Plaintiff failed to state a cause of action to set aside the subject transfers

          pursuant to DCL § 273 and Plaintiff’s Second Cause of Action must therefore be dismissed.

          III.   PLAINTIFF FAILED TO STATE A CLAIM FOR FRAUDULENT CONVEYANCE
                 UNDER DCL § 276

                 Plaintiff’s third cause of action asserting fraudulent transfer pursuant to DCL § 276 must

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          be dismissed as Plaintiff failed to allege that the subject transfers were made “with the intent to

          defraud or delay C. Ringel and other creditors.” First, as noted above, even according to Plaintiff’s

          own claims, the subject transfers did not render Benjamin insolvent as he was left with substantial

          assets, worth in excess of $2.5 million (even accounting for the RCG judgment), following the

          transfers. The fact that Mr. Ringel was left with significant assets to satisfy the claims and

          judgments alleged in the Complaint refutes Plaintiff’s claim that the transfer was made with actual

          intent to defraud based on her conclusory recitation of the alleged “badges of fraud.”3

                  Further, as set forth in Defendant’s initial memorandum of law, Plaintiff failed to allege a

          cognizable harm premised on Mr. Ringel’s transfer of his interest in BR Lakewood to his children’s

          trust because BRL is a named defendant in the NJ Actions, and any potential arbitration award or

          judgment obtained by Plaintiff in the NJ Actions can be enforced as against BRL Lakewood,

          regardless of the percentage of Benjamin’s ownership interest in BRL. Notably, BR Lakewood

          and the Ringel Children’s Trust trustees were parties and signatories to the Settlement Agreement.

          See Ex. 3.

                  Contrary to Plaintiff’s contention, the fact that BRL is a named defendant in only the New

          Jersey Actions is irrelevant as the actions were consolidated for purpose of settlement and,

          furthermore, the Settlement Agreement, specifically provided that the escrowed funds were to be

          held for purposes of satisfying “any claim for monetary relief by any Party in the Actions.” See id.

          at ¶ 6 (emphasis added). Further, Plaintiff’s claim that although BRL and Benjamin’s Ringel’s

          liability might be the same, their percentage of liability may be different, is meritless, as the parties

          specifically agreed that all parties to the Settlement Agreement, including BRL, will be equally




          3
           Further, as set forth above, Plaintiff lacks standing to assert claims on behalf of “other creditors, including
          RCG/JDWC,” as these entities are not named plaintiffs in this action.

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          liable for any judgment as evidenced by the fact that the escrow funds are to be held to satisfy any

          claim by any party regardless of the proportion of liability by any of the BR “Parties.”

                 Accordingly, Plaintiff’s claim that the transfers of Benjamin’s ownership interest in BRL

          to the Children’s Trust was made for the purpose of defrauding Plaintiff and/or to hinder her ability

          to collect on any potential award or judgment issued in the NJ Actions is refuted by the

          documentary evidence and may be dismissed.

          IV.    PLAINTIFF’S CLAIMS ARE BARRED BY THE STATUTE OF LIMITATIONS

                 As set forth in Defendants’ initial memorandum of law, Plaintiff’s claims alleging

          fraudulent transfer pursuant to DCL §§ 274 and 276 regarding the alleged 2012 transfer are barred

          by the statute of limitations. Notably, in her opposition, Plaintiff concedes that her claim under

          DCL § 273 is in fact time-barred with respect to the 2012 transfer.

                 However, contrary to Plainiff’s contention, her claim under DCL § 276 is likewise time-

          barred with respect to the 2012 transfer. As noted previously, “[w]here actual fraud is alleged, such

          as that recognized under Debtor and Creditor Law § 276, the statute of limitations is six years from

          the fraudulent transfer or two years from the time the fraud was discovered or could have been

          discovered, whichever is later.” Metzger v Yuenger Woodworking Corp., 33 A.D.3d 678, 679 (2d

          Dept. 2006). Here, Plaintiff was aware, or could have been aware of this transfer, at the latest, on

          April 29, 2019, over two years prior to the commencement of this action, when Plaintiff’s counsel

          was made aware in draft settlement papers, that Benjamin Ringel’s children’s trust had an

          ownership interest in BRL. Contrary to Plaintiff’s contention, the fact that the draft documents

          did state what percentage ownership interest the trust had is immaterial. The fact is that the

          documents referenced the trusts ownership interest, which was sufficient to put plaintiff on notice

          of the transfer, which she then could have discovered with due diligence. Further, Plaintiff’s claim



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          that even had she done proper diligence it is unlikely Mr. Ringel would have provided information

          regarding the transfer is belied by the fact that Mr. Ringel was clearly not attempting to hide the

          transfer when the aforementioned settlement documents were provided to Plaintiff’s counsel.

                  Accordingly, Plaintiff’s claim seeking to set aside the 2012 transfer pursuant to DCL § 276

          is barred by the statute of limitations and this claim must dismissed pursuant to CPLR 3211(a)(5).

                                                     CONCLUSION
                  Based on the foregoing, the Complaint should be dismissed in its entirety pursuant to CPLR

          3211(a)(1), (a)(2), (a)(5), and (a)(7).

                  WHEREFORE, it is respectfully requested that the Court grant Defendants’ motion in its

          entirety together with such other and further belief as this Court deems just and proper.

          Dated: Inwood, New York
                 March 4, 2022                          BERG & DAVID, PLLC


                                                               By: /s/ Sholom Wohlgelernter
                                                                       Sholom Wohlgelernter
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                                    CERTIFICATION OF WORD COUNT

                 Pursuant to Rule 17 of the Commercial Division of the Supreme Court, I hereby certify

          that the foregoing Memorandum of Law contains 2,702 words, exclusive of the caption, tables,

          and signature block, as determined by Microsoft Word program used to prepare the document.

          Dated: March 4, 2022

                                                            /s/ Sholom Wohlgelernter
                                                            SHOLOM WOHLGELERNTER




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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK

           CHANA RINGEL,                                             Index No.: 653518/2021

                                             Plaintiff,

                 -against-

           BENJAMIN RINGEL; BR LAKEWOOD, LLC;
           RINGEL CHILDREN’S TRUST; YAEL RINGEL
           as co-trustee of RINGEL CHILDREN’S TRUST;
           BARUCH DAVID SCHREIBER as co-trustee of
           RINGEL CHILDREN’S TRUST; JOHN AND
           JANE DOES 1-10; and ABC CORPS. 1-10,

                                             Defendants.


                                 MEMORANDUM OF LAW IN OPPOSITION
                                      TO MOTION TO DISMISS




                                                    KOFFSKY SCHWALB, LLC
                                                    Efrem Schwalb
                                                    Tal S. Benschar
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                                                    Attorneys for Plaintiff




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                 Plaintiff Chana Ringel (“C. Ringel”) submits this memorandum of law in opposition to

          Defendants’ motion to dismiss.

                                           PRELIMINARY STATEMENT

                 As set forth in the Complaint, Defendant Benjamin Ringel (“B. Ringel”) has been planning

          to defraud his many creditors since 2012, by establishing trusts for his children and moving assets

          into them. The allegations of the Complaint clearly state multiple claims of fraudulent transfer

          under New York law against the Defendants. Defendants’ motion contains mostly meritless

          arguments, including ones that are knowingly false. One example suffices to illustrate the point.

          Defendants argue that this Court lacks subject matter jurisdiction because, as part of a settlement,

          the parties agreed to submit the “remaining claims” in two New Jersey actions to arbitration. But

          a review of the plain language of the arbitration agreement reveals that this argument is baseless.

          The agreement was made after five years of litigation in two still-pending actions in New Jersey

          Chancery Court. The agreement settles parts of those disputes, and provides “[t]he Parties shall

          submit all remaining claims in the Actions” and then references specific claims in the two

          actions, known as the “BCR Lakewood action” and the “Oakridge action.” (B. Ringel Aff. Exh.

          3 at 2, Dkt. 20). As the language states, the parties clearly intended only to submit the unsettled

          portions of the claims already pending in New Jersey – not new claims like this one.

                 Worse yet, as Defendants know, when they attempted to introduce new claims into the

          actual arbitration, the arbitrator denied that effort as beyond the scope of the arbitration agreement

          because the parties agreed to arbitrate only claims that remained in those two pending actions. Yet

          they waste this Court’s time with already rejected arguments.

                 As demonstrated below, the Complaint properly pleads multiple claims of fraudulent

          transfer against the Defendants. Consequently, the motion should be denied.




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                                                        FACTS

          Background

                 This action seeks to void fraudulent transfers from Benjamin Ringel to the various

          defendants. C. Ringel, his sister, was for several years a partner with B. Ringel in various real

          estate holdings. She brought two suits against B. Ringel in New Jersey Chancery Court asserting

          various causes of action relating to, among other things, Mr. Ringel looting the companies they

          owned together, which are currently the subject of an arbitration in New Jersey. B. Ringel has

          engaged in numerous acts of fraudulent transfer, designed to defeat any judgment of C. Ringel, as

          well as the claims and judgments of B. Ringel’s numerous other creditors. (Compl. ¶¶ 1-2).

                 Currently pending in the Superior Court of New Jersey, Ocean County, are two civil actions

          between C. Ringel, B. Ringel and various entities they own, entitled Chana Ringel, et al. v.

          Benjamin Ringel, et al., Docket No. OCN-C-152-16 (the “Oakridge Action”) and Chana Ringel

          v. BR Lakewood, LLC, et al., Docket No. OCN-C-127-15 (the “BR Lakewood Action.”). In these

          actions, C. Ringel has asserted various causes of action against B. Ringel, including breach of

          contract and breach of fiduciary duty, all related to his wrongful conduct in connection with certain

          joint real estate holdings. (Compl. ¶¶ 11-12). Copies of the most recent pleadings, which include

          the various claims and counterclaims asserted, are submitted as Schwalb Aff. Exhs. A to E). Upon

          motion of C. Ringel, the New Jersey Court enjoined Mr. Ringel from co-managing five properties.

                 After years of litigation, the parties settled part of the controversy, and agreed to submit

          the remaining claims to arbitration. The matter is currently being arbitrated before the Honorable

          Robert Contillo, retired judge of the Chancery Division of the New Jersey Superior Court. The

          Complaint alleges that C. Ringel’s claims against B. Ringel exceed $2 million plus interest and

          contractual attorney’s fees. (Compl. ¶¶ 13-14)



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          The Fraudulent Transfers

                  Two of the three fraudulent transfers at issue concern B. Ringel’s ownership interest in a

          holding company named BR Lakewood LLC, which is also a named defendant here. On March

          21, 2016, B. Ringel filed an answer to the verified complaint in one of the New Jersey actions,

          generally denying the allegations, except he admitted that he is the sole member of BR Lakewood

          and specifically asserted that he was the “sole owner” of BR Lakewood in the counterclaim.

          (Compl. ¶ 18; Schwalb Aff. Exh. D, Counterclaims, ¶ 1 at 12, affirmatively alleging that

          “Counterclaimant Benjamin Ringel (‘Ben’) is the sole member of BR Lakewood.”). He reaffirmed

          that statement in a filing in New Jersey in March 2018. (Compl. ¶ 19; Schwalb Aff. Exh. E,

          Counterclaims, ¶ 1 at 16).

                  Yet, in an action in New Jersey brought by another of B. Ringel’s creditors, in March 2020, he

          filed a certification claiming that, on January 25, 2012, he assigned forty percent (40%) of his

          ownership interest in BR Lakewood to the Ringel Children’s Trust, which was created for the benefit

          of his four (4) children. He further claimed that, in June of 2015, he assigned an additional forty

          percent (40%) of his ownership interest in BR Lakewood to the Trust. A review of the assignment

          documents attached to the B. Ringel Certification shows that B. Ringel allegedly assigned the

          membership interest to the Trust for “love and affection,” which is of no value to any of B. Ringel’s

          creditors. (Compl. ¶¶ 27-29). These two transfers are alleged to be fraudulent, and C. Ringel seeks

          their reversal.

                  The third fraudulent transfer involves the transfer of a property named 15 Washington

          Avenue, Lawrence, New York.          B. Ringel acquired that property in 2004 for substantial

          consideration. On or about February 24, 2016, B. Ringel transferred the 15 Washington Property to

          his wife Yael Ringel, for minimal or no consideration. This was at a time when B. Ringel was already

          a defendant in one of the New Jersey Actions. (Compl. ¶¶ 30-32).

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                                                      ARGUMENT

          I.      Legal Standards And Claims

                  A.      Motion to Dismiss Standards

                  “On a motion to dismiss pursuant to CPLR 3211, the pleading is to be afforded a liberal

          construction and the court is to accept the facts as alleged in the complaint as true, accord plaintiffs

          the benefit of every possible favorable inference, and determine only whether the facts as alleged

          fit within any cognizable legal theory.” Schmidt-Sarosi v. Offices for Fertility and Reproductive

          Medicine, P.C., 195 A.D.3d 479, 480 (1st Dept. 2021)(citing Leon v. Martinez, 84 N.Y.2d 83, 87–

          88 (1994)). “On a CPLR 3211(a)(1) motion to dismiss based on documentary evidence, a

          dismissal is warranted only if the documentary evidence submitted conclusively establishes a

          defense to the asserted claims as a matter of law.” Id.

                  “Factual affidavits . . . do not constitute documentary evidence within the meaning of the

          statute.” Art & Fashion Grp. Corp. v. Cyclops Prod., Inc., 120 A.D.3d 436, 438 (1st Dept. 2014).

          B. Ringel submits an affidavit (Dkt. 17) on this motion in which he purports to explain away two

          of the alleged fraudulent transfers. Such a submission, aside from being false, is completely

          improper on this motion, see GEM Holdco, LLC v. Changing World Techs., L.P., 127 A.D.3d 598,

          599 (1st Dept. 2015) (“affidavits . . . are not properly considered on a motion to dismiss”), and the

          affidavit should be disregarded.      The Complaint expressly alleges contrary to B. Ringel’s

          explanation; the assertions there are completely false, and will be proven so in the course of this

          litigation.




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                  B.      Debtor and Creditor Law

                  The Legislature amended the Debtor and Creditor Law (“DCL”) in 2019, but only for

          fraudulent transfers that occur after April 4, 2020. See L.2019, c. 580, § 2. As all the transfer in

          the Complaint preceded that date, the pre-2020 version of the DCL applies here.

                  C. Ringel asserts three alternative bases to void the fraudulent transfers: a transfer while a

          defendant under DCL § 273-a; a transfer while insolvent under DCL § 273; and a transfer made

          with intent to defraud under DCL § 276. Each of these have different legal standards, and different

          statutes of limitations, so each legal claim must be considered separately.

          II.     The Claims In This Case Are Not Subject To The Parties’ Arbitration Agreement

                  B. Ringel and C. Ringel agreed to a partial settlement of the New Jersey Actions, and to

          refer the remaining claims in those actions to arbitration (which is now ongoing). Defendants

          argue that the claims in this action are subject to that agreement and must be brought in the

          arbitration, and hence this Court lacks subject matter jurisdiction over them. (Def. Memo. 13-14)

          This argument is frivolous.

                  The parties’ settlement which occurred during the trial of the BCR Lakewood and Oakridge

          actions resolved some of their disputes in the two New Jersey Actions. It then states that “[t]he

          Parties shall submit all remaining claims in the Actions” and then references certain claims in the

          “BCR Lakewood action” and the “Oakridge action.” (B. Ringel Aff. Exh. 3 at 2, Dkt. 20). The

          terms clearly refer to the two actions then pending between the parties. (Id., Exh. 2 at 2, Dkt. 19)

          The parties agreed to submit the remaining claims in those pending actions, not anything else. A

          review of the pleadings in the two actions (Schwalb Aff. Exhs. A to E) shows that the claims and

          counterclaims say nothing about the fraudulent transfers and C. Ringel’s current claims.

                  In short, all C. Ringel agreed to submit to arbitration were the claims in the two actions

          then-pending in New Jersey Superior Court. The claims asserted in this action were not then

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          pending, and are not subject to the arbitration provision. Indeed, as B. Ringel well knows, the

          arbitrator already ruled as much! When B. Ringel attempted to add new claims not in the parties’

          pleading before the case went to arbitration. The arbitrator ruled, that unless the parties’ consented

          to add new claims, these claims were not before him, i.e., only the remaining claims that were

          asserted against one another in the New Jersey court were to be arbitrated. (Schwalb Aff. ¶ 4 and

          Exh. F).

          III.     The DCL § 273-a Claims Should Be Dismissed Without Prejudice As Premature

                   Defendants argue that the claims under DCL § 273-a are premature, as no final judgment

          has yet been entered in C. Ringel’s favor. (Def. Memo. at 7-9). C. Ringel agrees that these claims

          are premature. See Robles v. Patel, 165 A.D.3d 858, 860 (2d Dept. 2018); Frybergh v Weissman,

          145 A.D.2d 531, 531-532 (2d Dep’t 1988).

                   Because C. Ringel cannot bring a claim under DCL § 273-a until final judgment is entered,

          the statute of limitations does not begin to run until that time, and she will then have six years to

          bring such a claim. See Setters v. AI Properties & Devs. (USA) Corp., 139 A.D.3d 492, 493 (1st

          Dept. 2016); Commissioners of State Ins. Fund v. P.S.G. Const. Co., 91 A.D.3d 643, 644 (2d Dept.

          2012).

                   The DCL § 273-a claims should, accordingly, be dismissed without prejudice as premature.

          When C. Ringel obtains a final judgment, she can reassert those claims.

          IV.      The DCL § 273 Claims Adequately Plead Insolvency

                   Defendants next argue that the DCL § 273 claims do not adequately plead the fact of B.

          Ringel’s insolvency at the time of the transfers. (Def. Memo. 9-11). The standard for pleading

          insolvency is a low bar and “ultimately a question of fact.” See, e.g., Sullivan v. Kodsi, 373 F.

          Supp. 2d 302, 308 (S.D.N.Y. 2005) (“[P]laintiff alleges insolvency on the face of the Complaint:



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          ‘[Defendant] was insolvent or became insolvent at the time of the transfers.”’); see also Bd. of

          Managers Of Be@William Condominium v. 90 William St. Dev. Grp. LLC, 2019 WL 1170871, at

          *4 (Sup. Ct. Mar. 13, 2019).

                 The Complaint alleges that B. Ringel had numerous judgments and claims asserted against

          him at the time that he made the fraudulent transfers, and that he was insolvent at the time of the

          transfers because his assets at each such time were less than the amount required to pay his

          liabilities, or he was left with unreasonably small capital. (Compl. ¶¶ 2, 21, 32, 35, 40-41). That

          is sufficient to plead insolvency under New York law.

                 But the Complaint does more than that. All three of the fraudulent transfers are alleged to

          have been without consideration to Mr. Ringel’s family members. (Compl. ¶¶ 29, 32, 47(d)).

          These facts create a rebuttal presumption of insolvency. See Wimbledon Fin. Master Fund, Ltd.

          v. Bergstein, 166 A.D.3d 496, 497 (1st Dept. 2018); Kopicel v. Schnaier, 145 A.D.3d 599, 600 (1st

          Dept. 2016). That presumption shifts the burden to the transferor to show that he was not

          insolvent. Battlefield Freedom Wash, LLC v. Song Yan Zhuo, 148 A.D.3d 969, 971 (2d Dept.

          2017). The presumption is thus sufficient for a plaintiff to make out a prima facie case for

          summary judgment, which will be entered if the transferor fails to rebut the presumption.

          Wimbledon Fin. Master Fund, Ltd., 166 A.D.3d at 497. For the same reason, allegations that give

          rise to the presumption are obviously sufficient to plead insolvency. In re Norstan Apparel Shops,

          Inc., 367 B.R. 68, 79 (Bankr. E.D.N.Y. 2007). The Complaint’s allegations that each of the

          challenged transfers were made without or with inadequate consideration suffice to create a

          presumption of insolvency, and hence to plead same.

                 Defendants nevertheless argue that the allegations of the Complaint that in 2019, it was

          discovered by another creditor that B. Ringel’s interest in various properties were “in excess of



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          $25 Million,” and that the judgments against him are less than that amount, he was solvent. (Def.

          Memo. at 10). This argument is both flawed and improper on a motion to dismiss.

                 First, as Defendants acknowledged, the allegation about the ownership of assets was “in

          2019,” while the transfers at issue took place in 2012, 2015 and 2016, and they assume that the

          two transfers totaling 80 percent of property interests that Ringel made in 2012 and 2015 were

          invalid. Moreover, as Defendants themselves acknowledge, “[t]he operative reference point for

          determining insolvency is the time at which the transfer took place.” (Def. Memo. at 9). B.

          Ringel’s purported solvency years after the time of transfer is irrelevant.

                 Further, Defendants’ argument assumes that the only claims against B. Ringel are that of

          C. Ringel and RCG (which together totalled more than $25 million). But, in fact, it is alleged that

          there were outstanding “claims and judgments of B. Ringel’s numerous other creditors” (Compl.

          ¶ 2), and that he has “many creditors” (Compl. ¶ 5), including “many judgment creditors” (Id. ¶

          24), all of whom he has sought to defraud by these transfers. B. Ringel’s attempt to have himself

          declared solvent as a matter of law by ignoring all but two of his creditors is risible.

                 Whether Ringel was solvent or insolvent when he made the three fraudulent transfers at

          issue here is a factual issue that cannot be resolved on a motion to dismiss. C. Ringel has

          adequately pleaded his insolvency, and indeed, the pleading of the lack of consideration creates a

          presumption of insolvency. No more is required at this stage, and at trial it will be shown that in

          fact the transfers beginning in 2012 were made at a time when either he was insolvent, rendered

          him insolvent or left him with unreasonably small capital.

          V.     C. Ringel Was Already A “Creditor” Of B. Ringel in 2012

                 Defendants next argue that, as to the 2012 transfer, C. Ringel cannot maintain an action for

          fraudulent transfer, as she was not then a “creditor,” having only brought suit against him in 2015



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          and 2016. (Def. Memo. 11). This is legally erroneous. The DCL defines a creditor as “a person

          having any claim, whether matured or unmatured, liquidated or unliquidated, absolute, fixed or

          contingent.” DCL § 270 (emphasis added). Even before suit is filed, it is settled law that when a

          cause of action by one person accrues against another, he or she becomes a “creditor” within the

          meaning of the DCL. “Where an individual has a tort claim against the conveyor, she or he

          becomes a creditor at the moment the claim accrues, viz., at the moment of injury.” Cheek v.

          Brooks, 188 A.D.3d 785, 786 (2d Dept. 2020).

                 Review of the two Complaints brought by C. Ringel in New Jersey indicates that Mr.

          Ringel’s wrongful conduct began before 2012. For example, the claims that B. Ringel breached

          his fiduciary duties and looted the companies they owned together commenced before 2012

          causing plaintiff to suffer damages. (See, e.g., Schwalb Aff. Exh. C, ¶¶ 32-44; Schwalb Aff. Exh.

          A).

                 Since the wrongful actions that form the basis of C. Ringel’s claims in the two New Jersey

          actions commenced well before the January 2012 transfer, she was already a “creditor” as that

          term is defined in the DCL, even if she did not file suit until 2015 and 2016.

          VI.    That One Of The New Jersey Actions Is Also Against BR Lakewood Does Not
                 Preclude C. Ringel’s Fraudulent Transfer Claims

                 Defendants next argue that because BR Lakewood is a named defendant in one of the New

          Jersey actions, any award obtained against B. Ringel can also be enforced against that company,

          and hence B. Ringel’s transfer of 80% of his interest in that company to the Trust did not hinder

          C. Ringel as a creditor. (Def. Memo. at 11). This argument is meritless for several reasons. First,

          it ignores that there are two actions pending in New Jersey, and BR Lakewood is a defendant in

          only one of them (see Schwalb Aff. Exhs. A, C) and so obviously will have no liability in the

          case to which it is not even a party.

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                 Furthermore, even in the one action in which BR Lakewood is a defendant, while the

          liability of the B. Ringel and BR Lakewood may be identical, the defendants’ liability could be

          different. It is thus quite possible that there will be a judgment entered against B. Ringel that is

          not the same as BR Lakewood. Finally, a plaintiff is entitled to a judgment against two defendants

          if there is a basis for that liability as is the case here. Consequently, this argument is meritless.

          VII.   The Actual Fraud Claim Pleads Intent To Defraud As It Alleges Multiple Badges Of
                 Fraud

                 Defendants next argue that the claim of fraudulent transfer by actual fraudulent intent fails

          to plead fraud with particularity as required by CPLR 3016(b). (Def. Memo. at 12-13). Notably,

          however, the only pleading defect claimed is in the allegations of fraudulent intent; the other

          elements of the claim are not challenged. This argument fails for the following reasons.

                 When pleading a claim of fraudulent transfer under DCL § 276, it is sufficient to satisfy

          CPLR 3016(b) if “plaintiff allege[s] the overall fraudulent scheme in detail” and “fraudulent intent

          is fairly inferred from such details.” Marine Midland Bank v. Zurich Ins. Co., 263 A.D.2d 382,

          383 (1st Dept. 1999). Furthermore, “[d]ue to the difficulty of proving actual intent to hinder, delay,

          or defraud creditors, the pleader is allowed to rely on ‘badges of fraud’ to support his case, i.e.,

          circumstances so commonly associated with fraudulent transfers ‘that their presence gives rise to

          an inference of intent.’” Wall St. Assocs. v. Brodsky, 257 A.D.2d 526, 529 (1st Dept. 1999).

          “Among such circumstances are: a close relationship between the parties to the alleged fraudulent

          transaction; a questionable transfer not in the usual course of business; inadequacy of the

          consideration; the transferor's knowledge of the creditor's claim and the inability to pay it; and

          retention of control of the property by the transferor after the conveyance.” Id. See 172 Van Duzer

          Realty Corp. v. 878 Educ., LLC, 142 A.D.3d 814, 818 (1st Dept. 2016).

                 The Complaint alleges all five badges of fraud:

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                  The Fraudulent Transfers are replete with badges of fraud used to analyze the
                  parties’ intent:

                  (a) The transfers were to parties with close relationships to B. Ringel, such as to
                  the Trust, whose beneficiaries are B. Ringel’s four children, or to the family
                  members directly;

                  (b) Such transfers were not in the usual course of business for B. Ringel;

                  (c) B. Ringel knew that C. Ringel was a potential creditor, and many of the
                  Fraudulent Transfers were made after C. Ringel commenced one or both of the
                  New Jersey Superior Court actions against him;

                  (d) The consideration was completely inadequate; indeed, there was zero
                  consideration paid at all; and

                  (e) B. Ringel in fact retained control and/or possession of the assets that were
                  transferred and the parties to whom transfers were made.

          (Compl. ¶ 47, see id. ¶¶ 24, 27-29, 30-32).

                  These allegations more than suffice to plead a claim under DCL § 276. Defendants rely

          upon Avilon Auto. Group v Leontiev, 2020 NY Slip Op 30837[U], *14 (Sup Ct. NY Cty. 2020), but,

          ironically, in that case this Court actually found that fraudulent intent was properly pleaded because of

          the pleading of multiple badges of fraud. Id. at *28. The same is the case here, and this part of the

          motion to dismiss is accordingly meritless.

          VIII. The Statute Of Limitations Has Not Run On The DCL 276 Claim

                  Finally, Defendants seek dismissal of the claims in the action with respect to the 2012

          transfer as untimely and barred by the statute of limitations. (Def. Memo. at 14-15). They

          implicitly concede that the claims as to the 2015 and 2016 transfers are timely. We accordingly

          address only the 2012 transfer.

                  With respect to the claim under DCL § 273-a as it applies to the 2012 transfer, as discussed

          above, these claims are premature, not time-barred, and the statute of limitations has not even




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          begun to run. They should be dismissed without prejudice. With respect to the claim under DCL

          § 273 as it applies to the 2012 transfer, we agree that the claim is time-barred.

                 With respect to the claim under DCL § 276 as it applies to the 2012 transfer, that is not

          time barred, as the two-year discovery rule applies. “New York law provides that a claim for

          constructive fraud is governed by the six-year limitation set out in CPLR 213 (1), and that such a

          claim arises at the time the fraud or conveyance occurs.” Wall St. Assocs. v. Brodsky, 257 A.D.2d

          526, 530 (1st Dept. 1999). “In cases of actual fraud, however, the claim is timely if brought either

          within six years of the date that the fraud or conveyance occurs or within two years of the date that

          the fraud or conveyance is discovered or should have been discovered, whichever is longer.” Id.

                 Ringel did not learn of the 2012 transfer until March 2020, when she was informed of the

          certification that B. Ringel filed in the New Jersey action brought by another creditor where Mr.

          Ringel set forth those transfers and the lack of consideration for them. (C. Ringel Aff. ¶ 2). B.

          Ringel makes no claim that Plaintiff knew of the transfers, but nevertheless argues that the claim

          “should have been discovered,” because in April 2019, his counsel sent draft settlement papers

          that made reference to the Trust’s ownership interest in BR Lakewood. A review of that draft (B.

          Ringel Aff. Exh. 2, Dkt. 19) reveals that it makes only passing reference to the ownership by the

          trust. The first page states that the parties to the agreement include “ANY TRUSTS THAT OWN

          BR LAKEWOOD.” That was changed in another draft to read “Ringel Children Trust I.” That

          draft also states that “Benjamin and Ringel Children Trust I are the only members of BR

          Lakewood.” No statement is made as to what percentage the Trust owned in BR Lakewood, nor

          when any transfer may have been made, nor that the transfers were not made for fair consideration.

                 “[T[he issue of when a plaintiff, acting with reasonable diligence, could have discovered

          an alleged fraud turns upon whether the plaintiff possessed knowledge of facts from which he



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          could reasonably have inferred the fraud; although a plaintiff may not shut his eyes to facts which

          call for investigation, mere suspicion will not suffice as a ground for imputing knowledge of the

          fraud.” Saphir Int'l, SA v. UBS PaineWebber Inc., 25 A.D.3d 315, 315–16 (1st Dept. 2006). “This

          inquiry involves a mixed question of law and fact, and, where it does not conclusively appear that

          a plaintiff had knowledge of facts from which the alleged fraud might be reasonably inferred, the

          cause of action should not be disposed of summarily on statute of limitations grounds. Instead,

          the question is one for the trier-of-fact.” Id. at 316.

                  The assertion that the fraud should have been discovered in 2019 is doubly defective. First,

          the vague reference in April 2019 that the Trust had some kind of interest in BR Lakewood, with

          no indication of how much interest it owns in that company, when and how its ownership came

          about, and how much consideration the Trust remitted for that interest, is not sufficient to impute

          knowledge to C. Ringel of the fraudulent transfer. At the pleading stage, all inferences of what

          Plaintiff “should have known” must be interpreted in Plaintiff’s favor. All that B. Ringel has

          shown is that at some point in 2019, he indicated that his children’s trust had obtained some kind

          of interest in BR Lakewood. That fact, standing alone, raises no more than a “mere suspicion” of

          a fraudulent transfer, which is insufficient to start the statute of limitations. Saphir Int'l, SA, 25

          A.D.3d at 315–16.

                  Second, even assuming that C. Ringel had reason to suspect there was a fraudulent transfer,

          there is no indication that she had any way of verifying this. It is not sufficient for a plaintiff to be

          alerted to a possible fraud; the two-year statute only begins to run from the time the plaintiff “could

          with reasonable diligence have discovered it.” CPLR 213(8). Where a plaintiff lacks the means

          to discover the fraud, the statute does not begin to run. See In re Bernard L. Madoff Inv. Securities

          LLC, 445 B.R. 206, 233 (Bankr. S.D.N.Y. 2011) (although defrauded investors had “red flags” of



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          fraud, only the insiders had access to information that would allow them to discover the fraud,

          while most investors did not, and so statute of limitations did not begin to run as to them); Jenkins

          v. Jenkins, 181 Misc.2d 1, 11 (Westchester Cty. 1999) (Although wife knew about transfers at

          issue early on, it was not until she obtained discovery from the court years later that she learned of

          the fraud, and so statute of limitation did not run until then.)

                 Here, all that C. Ringel knew was that B. Ringel had twice claimed in 2016 and 2018 that

          he was the “sole” member of BR Lakewood, and yet in 2019 his children’s trust supposedly held

          some unknown percentage interest in that company, with no indication of how or when that came

          about. And, she had no way of ascertaining the facts – this was a completely private transfer,

          engineered by B. Ringel, as to which she was not provided with the details, and there is no reason

          to believe that Mr. Ringel would have provided such details as he was making transfers to avoid

          his creditors as the Complaint alleges.

             “Where it does not conclusively appear that a plaintiff had knowledge of facts from which the

          fraud could reasonably be inferred, a complaint should not be dismissed on motion and the question

          should be left to the trier of the facts.” Trepuk v. Frank, 44 N.Y.2d 723, 725 (1978). The issue of

          what Plaintiff should have known regarding B. Ringel’s fraudulent transfers in 2012 and 2015

          clearly raises questions of fact that cannot be resolved on this motion to dismiss.




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                                                 CONCLUSION

                 Defendants’ motions should be denied, except (1) the claims under DCL § 273-a should be

          dismissed without prejudice as premature and (2) the claim under DCL § 273 solely with respect

          to the 2012 transfer should be dismissed. All other claims should remain.




          Dated: New York, New York
                 February 22, 2021
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CHANA RINGEL AND CR
LAKEWOOD, INDIVIDUALLY, AND                   SUPERIOR COURT OF NEW JERSEY
DERIVATIVELY ON BEHALF OF                    CHANCERY DIVISION: OCEAN COUNTY
BCR LAKEWOOD HOLDINGS, LLC,
                                                         Civil Action
      Plaintiffs,

            vs.

BR LAKEWOOD, LLC AND
BENJAMIN RINGEL,                                  Docket No. OCN-C-127-15

      Defendants,

CHANA RINGEL, INDIVIDUALLY,
AND DERIVATIVELY ON BEHALF
OF BCR OAKRIDGE, LLC,
                                                  Docket No. OCN-C-152-16
      Plaintiffs,
                                             MEMORANDUM OF LAW IN SUPPORT OF
            vs.                              DEFENDANTS’ ORDER TO SHOW CAUSE
                                              TO ENFORCE LITIGANT’S RIGHTS
BENJAMIN RINGEL, SUNSET HILL
OAKRIDGE PLAZA, LLC, JOHN
DOES 1-10, AND ABC
CORPORATION 1-10,

      Defendants.




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                             PRELIMINARY STATEMENT

     As this Court knows, this ongoing dispute between Ben Ringel

and Chana Ringel has lasted for several years.                     In August 2021,

pursuant to the terms of a settlement agreement between the parties

(the “Term Sheet”) or “Settlement Agreement”), this Court declared

Rushmore Capital, LLC (“Rushmore”), the winning bidder on the

Pinewood Property.         This Court retained jurisdiction over this

dispute and the Term Sheet.           Since then, Defendants have filed an

appeal of that decision, and Plaintiffs and Rushmore have been

attempting to forcibly and prematurely execute that sale.                            The

settlement agreement also declared that all remaining claims would

be sent to arbitration.          As noted above, this Court has exclusive

jurisdiction over the execution of the settlement terms.

     However, despite Plaintiffs’ ongoing efforts to characterize

Defendants as unnecessarily litigious and in breach of the parties’

settlement terms, it actually is Plaintiffs who breached the

settlement agreement first.              In May 2021 — months before this

Court’s August 2021 Order declared Rushmore the winning bidder on

the Pinewood Property — Chana commenced a new action in New York

Supreme Court (the “New York Action”) by issuing a Summons. Later,

Chana filed a Complaint in the New York Action claiming that Ben

had been fraudulently transferring his assets in a way that would

affect her ability to recover any judgment obtained in the actions

pending in this Court, including in the related arbitration.                         This
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separate New York litigation constitutes a clear breach of the

settlement agreement, which expressly reserved for this Court all

issues related to the execution of the settlement agreement.

     Moreover, in January 2022, Defendants offered to buy-out

Chana’s interest in Pinewood Property for approximately $19.6

million.     This buy-out would not only be the most tax-efficient

way to dispose of the property as a whole, but it also would save

Chana millions of dollars in tax liability.                      As this Court is

aware, both the Term Sheet and this Court’s May 8, 2020 Order

explain that any disposition of the Pinewood Property must be done

in a way that achieves all available tax savings.                         Instead of

accepting Defendants’ offer, Chana filed an Order to Show Cause

before this Court, attempting to force the sale of the Pinewood

Property to Rushmore before Defendants even had a chance to finish

briefing the appeal of that matter.                 Chana’s refusal to accept

Defendants’ offer and attempt to force the sale of Pinewood

Property to Rushmore — which is a tax-inefficient transaction — is

yet another breach of the parties’ settlement agreement and this

Court’s May 2020 Order.

     Chana’s breaches of the Term Sheet constitute, as a matter of

law, unclean hands.        Given this Court’s inherent equitable powers

and personal jurisdiction over Chana herself, it has the ability

to end this bitter litigation and dispose of the Pinewood Property

in a manner that ultimately benefits everyone and harms no one.


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Specifically, for the reasons set forth below, this Court should

(1) order Chana to withdraw her complaint in the New York Action;

(2) order that BR Lakewood purchase Chana’s share of the Pinewood

Property, which would save Chana millions of dollars in tax

liability; and (3) order Chana to pay counsel fees that Defendants

have incurred in defending against the New York Action.




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                        FACTUAL AND PROCEDURAL BACKGROUND

         This case arises from two lawsuits filed by Chana Ringel and

related entities (“Plaintiffs”), against her brother, Ben Ringel,

and related entities (“Defendants”).                     The first suit, filed in

2015, is captioned as Chana Ringel v. BR Lakewood, LLC, Docket No.

OCN-C-127-15.          The second was filed in 2016 and captioned as Chana

Ringel, et al. v. Benjamin Ringel, et al., Docket No. OCN-C-152-

16.

         Trial in both actions commenced in February 2020.                        (Harvey

Cert. Exhibit A at 3.)1              At the close of the third day of trial,

the parties engaged in direct settlement discussions in this

Court’s chambers. (See Harvey Cert. Exhibit B.) These discussions

were held both in chambers and, separately, among counsel and the

parties.         The talks proved to be fruitful.                    A settlement was

reached between the parties. (Harvey Cert. Exhibit B at 4-5.)

However, despite the discussion and agreement to certain material

terms, Chana delayed the execution of the Term Sheet, causing

Defendant to have to file a motion to enforce the settlement.

(Harvey Cert. Exhibit B.)

         Pursuant to the discussion leading up to the Term Sheet, the

material terms of the settlement agreement were, among other

things, that (1) the “Pinewood property would be listed for sale



1
  “Harvey Cert.” refers to the Certification of Peter Harvey in support of
Defendants’ Order to Show Cause and accompanying Exhibits.


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with a broker and publicly sold, with each party retaining the

right to bid on the property,” (2) the “four remaining properties

comprising BCR Lakewood would be divided” among the parties, and

(3)   “all   remaining     issues     in   the    case    would    be   resolved     in

arbitration.”      (Harvey Cert. Exhibit B at 4-5.)

      On May 8, 2020, the trial court entered an Order granting

Defendants’ motion to enforce the settlement.                        (Harvey Cert.

Exhibit C.)     Specifically, the Court ordered that the terms of the

settlement were those set forth in the Term Sheet attached as

Exhibit A to a March 10, 2020 Certification submitted by prior

counsel.     (Harvey Cert. Exhibit C at 2.)                In recognition of the

potential negative tax implications from the sale of the Pinewood

Property, the Court made this important change to the terms of the

agreement:

             Section V is amended – tax efficiencies are
             agreed to - to the extent they benefit both
             parties.

(Harvey Cert. Exhibit C at 2.)

      The Term Sheet, dated October 26, 2020, memorialized the terms

of the parties’ agreement (the “Term Sheet” or “Agreement”), which

was meant to settle all issues and controversies between the

parties relating to the present actions.                 (Harvey Cert. Exhibit D;

Ringel Cert. ¶ 6.)           The Term Sheet divides equally among the

parties four of the five parcels of real estate at issue in the

lawsuits.     (Harvey Cert. Exhibit D.)             The parties further agreed


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to sell the fifth parcel - the “Pinewood Property” – as part of a

court-supervised bidding process.                  (Harvey Cert. Exhibit D at 1-

2.)       The parties stipulated that the remaining claims would be

submitted        to   binding     arbitration       with    a   “mutually     acceptable

arbitrator.”           (Harvey Cert. Exhibit D at 2.)               The parties chose

to arbitrate before the Honorable Robert P. Contillo.                             (Ringel

Cert. ¶ 5.)2          Additionally, the trial court retained jurisdiction

over the parties to enforce the Agreement.                      (Harvey Cert. Exhibit

D at 3.)

         A.     Chana Breaches the Term Sheet by Commencing Another
                Action in New York State Court

         Despite the Term Sheet’s clear instruction that all claims

outside of the issues surrounding the five real estate parcels

should be submitted to arbitration, on May 30, 2021, Chana filed

an action in New York Supreme Court (the “New York Action”).

(Ringel Cert. Exhibits A, B.)                     The lawsuit alleges that Ben

fraudulently transferred assets while he was a defendant in the

two above-captioned lawsuits, in violation of New York state laws.

(Ringel Cert. Exhibit B.)                Specifically, Chana alleges that Ben

transferred his ownership interest in a parcel of property at 15

Washington Avenue, Lawrence, New York to his wife, Yael Ringel,

for no meaningful consideration.                  (Ringel Cert. Exhibit B at 6.)

Chana also alleges that Ben twice transferred 40% of his ownership


2 “Ringel Cert.” refers to the Certification of Benjamin Ringel in support of
Defendants’ Order to Show Cause and accompanying Exhibits.


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interest in BR Lakewood, once in 2012 and once in 2015, without

any meaningful consideration. (Ringel Cert. Exhibit B at 6.) Chana

claimed that she was entitled to have each fraudulent transfer set

aside under New York Debtor and Creditor Law.                         (Ringel Cert.

Exhibit B at 6-9.)

     Throughout       the   New    York    complaint,      Chana     references       the

actions she brought in New Jersey Superior Court.                        (See, e.g.,

Ringel Cert. Exhibit B at 1, 3, 6.)                    Chana claims that Ben’s

transfers could affect her ability to recover “any judgment” in

the actions before this Court.            (Ringel Cert. Exhibit B at 1.)              On

January 17, 2022, Ben moved to dismiss the complaint. (Ringel Cert.

Exhibit C.) Then, on February 23, 2022, Chana submitted papers in

opposition to Ben’s motion to dismiss.                (Ringel Cert. Exhibit E.)

Ben filed a reply in support of his motion to dismiss on March 4,

2022. (Ringel Cert. Exhibit D.)

     The New York Action is an explicit violation of the Term

Sheet.    Under the settlement agreement, the parties were required

to submit “all remaining claims” to arbitration, and this Court

retained jurisdiction to enforce “the terms of the Settlement

Agreement.”     (Harvey Cert. Exhibit D at 2, 3.)

     B.     This Court Awards the Pinewood Property to Rushmore
            Without Knowing of Chana’s First Breach of the Term
            Sheet

     In August 2021, after the bidding process for the Pinewood

Property concluded, Plaintiffs and Defendants each filed motions



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concerning the sale of the Pinewood Property.                   Chana moved for an

order   declaring       Rushmore      the       winning   bidder,      arguing        that

Rushmore’s final bid was a higher face value dollar amount.

(Harvey Cert. Exhibit F.)           Ben cross-moved for an order declaring

BR Lakewood the winning bidder, grounding the motion in simple

math and logic: BR Lakewood’s bid was the highest net value amount

and would maximize the Pinewood Property’s value since it would

yield the most money to the parties.                 (Harvey Cert. Exhibit G.)

BR Lakewood’s bid was not only the highest, but also the only bid

that offered the tax efficiencies this Court sought to achieve in

its May 8th Order. (See Ringel Cert. ¶¶ 13, 15.)

     Unaware of Chana’s prior breach, on August 25, 2021, this

Court granted Plaintiffs’ Order to Show Cause seeking to declare

Rushmore the highest bidder under the Agreement.                       (Harvey Cert.

Exhibit E.)     On October 5, 2021, Defendants filed a timely Notice

of Appeal, and on October 7, 2021, the Appellate Division filed a

notice of docketing.         (Harvey Cert. Exhibit H.)             Defendants filed

their opening appellate brief on January 20, 2022.                     (Harvey Cert.

Exhibit I.)

     Rushmore and Chana have each filed an Order to Show Cause to

effectuate the sale of the Pinewood Property.                         (Harvey Cert.

Exhibits K, M.)          Ben, meanwhile, filed for a motion to stay

proceedings in this Court while the merits of the sale are pending

on appeal.     (Harvey Cert. Exhibit J.)


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      C.    Chana Again Breaches the Term Sheet

      As Defendants were preparing for the appeal, on January 7,

2022, counsel for Defendants submitted a letter to counsel for

Plaintiffs offering a mutually beneficial way to resolve the

disagreement over the Pinewood Property.                   (Harvey Cert. Exhibit

L.)   Specifically, the letter offered to buy-out Chana’s interest

in the Pinewood Property for approximately $19.6 million.                      (Harvey

Cert. Exhibit L at 1.)           As outlined in the January 7 letter, the

proposed transaction would permit Chana to save over $8 million in

capital gains tax.        (Harvey Cert. Exhibit L at 1-2.)                Separately,

a partner at a law firm with expertise in tax law has concluded

that the most tax-efficient way to dispose of the Pinewood Property

— pursuant to this Court’s May 8, 2020 Order — would be through

the proposed transaction outlined in the January 7, 2022 letter.

(Ringel Cert. ¶ 15.)          Rather than respond to the January 7, 2022

letter and accept the offer, Chana brought an Order to Show Cause

in the present actions, seeking to forcibly sell the Pinewood

Property to Rushmore.         (Ringel Cert. ¶ 14.)          This application also

constitutes a breach of the Term Sheet and this Court’s May 8,

2020 Order, both of which direct the parties to seek out tax

savings strategies.         (Harvey Cert. Exhibit D at 2; Harvey Cert.

Exhibit C at 2.)

      Defendants’ ongoing efforts to enforce the Term Sheet — which

Chana has now breached twice — have caused Defendants to spend



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over $100,000 in legal expenses.               (Ringel Cert. ¶ 4.)          Chana has

been using these actions and the New York Action in furtherance of

her personal feud with Ben.            (Ringel Cert. ¶ 20.)

       At this point, the most reasonable and tax-efficient method

by which this Court can dispose of the Pinewood Property would be

to reverse the August 2021 Order awarding the property to Rushmore

and ordering Chana to accept BR Lakewood’s offer to buy out Chana’s

interest in the Pinewood Property.




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                                      ARGUMENT

I.   THIS COURT SHOULD EXERCISE ITS PERSONAL JURISDICTION OVER
     CHANA AND ORDER HER TO WITHDRAW HER COMPLAINT IN THE NEW
     YORK ACTION

     The New York Action is a clear breach of the Term Sheet.                         As

the proper execution of the Term Sheet falls under this Court’s

exclusive jurisdiction, this Court should exercise its personal

jurisdiction over Chana and order her to withdraw the complaint in

the New York Action.        Granting this relief is common in New Jersey

jurisprudence, particularly where, as here, Chana has subjected

Ben to vexatious and redundant litigation in violation of the Term

Sheet, which was meant to put an end to this ongoing legal feud.

     A plaintiff implicitly consents to personal jurisdiction in

the court where she chooses to file suit.                    See Robb v. Shore Bus

Transp. Co., 159 A. 527, 528 (N.J. Super. Ct. 1932).                      Under well-

settled    New    Jersey     law,    so    long    as    a    court    has    personal

jurisdiction over a party, it may order her to refrain from

“prosecuting suits in other jurisdictions where such action would

be contrary to equity and good conscience.”                      John Hancock Mut.

Life Ins. Co. v. Fiorilla, 83 N.J. Super. 151, 155 (Ch. Div. 1964).

These orders “are In personam judgments against the party who has

instituted the foreign litigation.”               Id.

     A court may order a party to withdraw a complaint in a foreign

jurisdiction for any one of the following three reasons: “(1) to

prevent vexatious and oppressive litigation and/or to prevent a



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multiplicity of litigation, (2) to prevent an evasion of some

policy of the forum state, or (3) to allow the court which first

obtains possession of the controversy to dispose of it.”                              Id.

(internal citations omitted).

      While this Court may issue an injunction for any one of the

above-mentioned reasons, all three are applicable here.                          First,

the   litigation      in    New    York       is    undisputedly     “vexatious       and

oppressive.”      Id.    Chana has no right to harass Ben by initiating

duplicative actions in foreign jurisdictions.                    Chana is bound to

litigate any violations of the settlement agreement in the forum

she   previously      agreed      to:   New        Jersey   Superior    Court.        See

O’Loughlin v. O’Loughlin, 6 N.J. 170, 181 (1951) (“No one at the

common law has a right to have his controversy adjudicated in any

particular court.”)         To the extent Chana was concerned with any

allegedly fraudulent transactions that could have affected any

possible judgment from these actions or from the arbitration, Chana

should have brought such claims to the attention of this Court —

not a state court in New York.                To protect Ben from the costs and

hardship associated with litigating duplicative actions in two

forums, this Court should enjoin Chana’s New York Action.

      Second,     allowing     the      New    York    Action   to     proceed    would

undermine New Jersey’s “strong public policy” in favor of enforcing

settlement agreements.            Dep’t of Pub. Advocate, Div. of Rate

Counsel v. New Jersey Bd. of Pub. Utils., 206 N.J. Super. 523, 528


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(App. Div. 1985).         In New Jersey, the “settlement of litigation

ranks high” in its public policy.              Jannarone v. W. T. Co., 65 N.J.

Super. 472, 476 (App. Div. 1961).                 To further this policy, New

Jersey courts “strain to give effect to the terms of a settlement

wherever possible.” New Jersey Bd. of Pub. Utils., 206 N.J. Super.

at 528.     Here, the Term Sheet provides that all claims must be

submitted to arbitration and any breach of the Agreement must be

brought to and adjudicated by only this Court.                   (See Harvey Cert.

Exhibit D at 2-3.)        An order enjoining Chana from pursuing the New

York Action would be in furtherance of the New Jersey public policy

favoring    settlement       of   litigation.          Accordingly,       the    second

element — “to prevent an evasion of some policy of the forum state”

— is also met.       Fiorilla, 83 N.J. Super. at 155.

     Finally, the Term Sheet was executed on October 26, 2020 —

long before Chana commenced the New York Action on May 30, 2021.

Accordingly, it is this Court — and not the New York Supreme Court

— that has “first obtain[ed] possession of the controversy.”                          Id.

     As all three elements described in Fiorilla are met, and as

this Court has personal jurisdiction over Chana, this Court can

and should order Chana to withdraw the complaint in the New York

Action.    Failure to do so would expose Defendants to duplicitous

and oppressive litigation.




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II.   BECAUSE CHANA HAS BREACHED THE TERM SHEET MULTIPLE TIMES,
      THIS COURT SHOULD REVERSE THE ORDER AWARDING THE PINEWOOD
      PROPERTY TO RUSHMORE

      Chana has now breached the Term Sheet twice.                          First, as

discussed, she has filed the New York Action, despite the Term

Sheet’s clear instruction that any money claims would be submitted

for arbitration and that controversies under the Term Sheet would

be under this Court’s jurisdiction.                  Second, Chana rejected BR

Lakewood’s offer to buy out Chana’s interest in the Pinewood

Property, which was the most tax-efficient way to dispose of the

Pinewood Property.         These breaches — the first of which occurred

before this Court awarded the Pinewood Property to Rushmore — have

injured Ben.     Accordingly, this Court has ample grounds to reverse

the August 2021 Order awarding the Pinewood Property to Rushmore.

      Under New Jersey law, a settlement agreement is governed by

principles of contract law.              Brundage v. Estate of Carambio, 195

N.J. 575, 600 (2008).          While courts strive to enforce settlement

agreements, recession of the settlement agreement is appropriate

when a party has “gained an unfair advantage by virtue of a

fraudulent misrepresentation, and monetary damages alone will not

satisfy the injury sustained by the aggrieved party.”                        Benjoray,

Inc. v. Academy House Child Dev. Ctr., 437 N.J. Super. 481, 488

(App. Div. 2014).          The purpose of rescinding a contract is to

“restore the parties to the status quo ante and prevent the party

who   is   responsible      for    the    misrepresentation         from    gaining    a


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benefit.”      Bonnco Petrol, Inc. v. Epstein, 115 N.J. 599, 612

(1989).

     This Court should reverse its decision to award the Pinewood

Property to Rushmore.          At the time this Court issued its August

25, 2021 Order, it did not know that Chana had already breached

the Term Sheet by commencing the New York Action in May 2021.

(Harvey Cert. Exhibit E; Ringel Cert. Exhibit A.)                     Had this Court

known of this breach, it probably would not have never awarded

title to the Pinewood Property to Rushmore.

     Awarding the Pinewood Property to Rushmore also has given

rise to yet another breach of the Term Sheet. The award to Rushmore

is in direct contradiction with this Court’s May 8, 2020 Order

requiring    the    parties      to   account      for   “tax     efficiencies”       in

disposing of the property.            (Harvey Cert. Exhibit C.)            Throughout

this litigation, Plaintiffs and Rushmore have consistently argued

that the most tax-efficient way to transfer the Pinewood Property

would be in connection with a Section 1031 exchange.                      However, as

analyzed by a law firm with expertise in this area of the law, a

Section 1031 exchange would not be feasible.                  (Ringel Cert. ¶ 15.)

Instead, the most tax efficient way to transfer the Pinewood

Property — and the transaction that also would yield the highest

net proceeds to both parties — is a sale of the Pinewood Property

to Defendant BR Lakewood, LLC.             (Ringel Cert. ¶ 15.)           The pending

sale to Rushmore, therefore, would breach the Term Sheet and this


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Court’s instructions to dispose of the Pinewood Property in a

manner that seeks out all tax savings strategies.

     Chana’s refusal of the January 7, 2022 offer to buy out her

interest in the Pinewood Property also constitutes a breach of

those   instructions.          (Ringel     Cert.    ¶¶    13,    14.)        Instead   of

accepting the tax-efficient offer, Chana has been seeking to

forcibly sell the Pinewood Property to Rushmore. As that compelled

sale is not a tax efficient transaction, such a result would breach

the Term Sheet and violate this Court’s May 8, 2020 Order. (Harvey

Cert. Exhibits C, D.)

     Ordering Chana to accept BR Lakewood’s offer to buy out her

interest in the Pinewood Property is especially appropriate, given

that her intentional breaches of the Term Sheet have left her with

unclean hands.       Associated E. Mortg. Co. v. Young, 163 N.J. Super.

315, 330 (Ch. Div. 1978) (“The unclean hands doctrine refuses

relief to a plaintiff whose conduct has violated the court’s

conscience, good will or other equitable principles.”).                        Although

rarely used, it is nevertheless “an available tool for a court of

equity’s    use,     not   out   of   regard     for     defendant      or   to   punish

plaintiff,     but    upon   larger     considerations          that    make   for     the

advancement of right and justice.”                   Hageman v. 28 Glen Park.

Assoc., LLC, 402 N.J. Super. 43, 55 (Ch. Div.                    2008).

     Here, should BR Lakewood be given the opportunity to buy-out

Chana’s interest in the Pinewood Property, it would not harm Chana


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at all.      Instead, it would create millions of dollars of tax

savings for Chana and be the most efficient way to dispose of the

property, finally ending the years of bitter litigation in this

case. (Ringel Cert. ¶¶ 13, 15, 17.) Because Chana has now breached

the Term Sheet in two separate instances, this Court should use

its inherent equitable powers to end this litigation and dispose

of the Pinewood Property in a way that hurts no one and benefits

everyone — requiring BR Lakewood to buy out Chana’s interest in

the Pinewood Property.

III. THIS COURT SHOULD ORDER CHANA TO PAY COUNSEL FEES INCURRED
     IN CONNECTION WITH THE NEW YORK ACTION

     Chana’s      decision      to    unnecessarily        engage      in    redundant

litigation in New York, despite the clear import of the Term Sheet,

has caused Ben to incur unnecessary and burdensome counsel fees.

Because Chana is at fault, this Court should order her to pay

counsel fees incurred in connection with Ben’s defense of the New

York Action.

     Rule 1:10-3 provides that courts may “make an allowance for

counsel fees to be paid by any party to the action to a party

accorded relief under this rule.”                R. 1:10-3; see also Wear v.

Selective Ins. Co., 455 N.J. Super. 440, 459 (App. Div. 2018) (“The

decision to award counsel fees [under Rule 1:10-3] ‘rests within

the discretion of the trial court.’” (quoting Maudsley v. State,

357 N.J. Super. 560, 590 (App. Div. 2003)).




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      Chana’s    decision      to   circumvent       this    Court    and    file     the

duplicative and vexatious New York Action is “clear evidence” of

her   “willful     non-compliance”         with    the    parties’      Term     Sheet.

Inselberg v. Bisignano, No. A-3511-18T3, 2020 WL 2120267, at *5

(N.J. Super. Ct. App. Div. May 4, 2020). As discussed above, Chana

not only has violated the Term Sheet, but she also failed to

disclose her breach of the agreement to this Court.                       As a result

of Chana’s recalcitrant conduct, Ben has been forced to litigate

the same underlying dispute in two different forums at great

expense.      For these reasons, this Court should grant Ben the

counsel fees incurred as a result of having to defend the New York

Action.




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                                     CONCLUSION

       For the reasons set forth above, this Court should (1) order

Chana to withdraw her complaint in the New York Action; (2) order

that BR Lakewood purchase Chana’s share of the Pinewood Property,

which    would    save     Chana   herself       millions     of   dollars      in    tax

liability; (3) order Chana to pay counsel fees that Defendants

have    incurred    over    the    years    in    an   attempt     to    enforce      the

settlement agreement and defend against the New York Action; and

(4) grant such other relief as the Court deems equitable and just.



                                          PATTERSON BELKNAP WEBB & TYLER LLP


                                    By:    __/s/ Peter C. Harvey_________
                                           PETER C. HARVEY, ESQ.

                                           Attorneys for Defendants-
                                           Appellants BR Lakewood, LLC,
                                           Benjamin Ringel, and Sunset
                                           Oakridge Plaza, LLC


DATED:    March 9, 2022




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CHANA RINGEL AND CR
LAKEWOOD, INDIVIDUALLY,                       SUPERIOR COURT OF NEW JERSEY
AND DERIVATIVELY ON BEHALF                   CHANCERY DIVISION:OCEAN COUNTY
OF BCR LAKEWOOD HOLDINGS,
LLC,                                                         Civil Action

      Plaintiffs,

             vs.

BR LAKEWOOD, LLC AND                                 Docket No. OCN-C-127-15
BENJAMIN RINGEL,

      Defendants,

CHANA RINGEL,
INDIVIDUALLY, AND
DERIVATIVELY ON BEHALF OF
BCR OAKRIDGE, LLC,                                   Docket No. OCN-C-152-16

      Plaintiffs,                                                 ORDER

             vs.

BENJAMIN RINGEL, SUNSET
HILL OAKRIDGE PLAZA, LLC,
JOHN DOES 1-10, AND ABC
CORPORATION 1-10,

      Defendants.



      THIS MATTER HAVING BEEN OPEN TO THE COURT by Defendants

Benjamin Ringel, BR Lakewood, LLC, and Sunset Hill Oakridge Plaza,

LLC   (“Defendants”),        by   and    through     their     counsel,      Patterson

Belknap Webb & Tyler LLP (Peter C. Harvey, Esq., appearing) seeking

relief pursuant to Rule 4:52 by way of Order to Show Cause, and

the Court having read the papers filed in support thereof and in
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opposition thereto, and the Court having heard oral argument on

the application, and based upon the pleadings and proceedings had

to date herein; and good cause having been shown;


     It is on this _________ day of March 2022,


     ORDERED and declared that, having filed an Action in New York

Supreme Court on May 30, 2021 (the “New York Action”), Plaintiffs

Chana Ringel and CR Lakewood, LLC individually, and derivatively

on behalf of BCR Lakewood Holdings, LLC and BCR Oakridge, LLC

(“Plaintiffs”) have breached and violated the Term Sheet dated

October 26, 2020, memorializing the parties’ settlement in this

case;


     ORDERED that Plaintiffs withdraw the New York Action;


     ORDERED and declared that, as a result of such breach, the

Term Sheet is now null and void;


     ORDERED that the Pinewood Property shall be transferred to

Defendant BR Lakewood, LLC, who shall purchase Chana Ringel’s share

in the Pinewood Property for the amount proposed in Defendants’

letter to Plaintiffs, dated January 7, 2022.


     IT IS FURTHER ORDERED that Plaintiffs shall pay Defendants

their reasonable attorneys’ fees and costs incurred in connection

with enforcing the Term Sheet and defending against the improperly

filed New York Action, in an amount to be determined by the Court.

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     IT IS FURTHER ORDERED that a copy of this Order shall be

served on all parties by electronic filing.


DATED:   March ____, 2022



                                 ______________________________________
                                 HON. FRANCIS R. HODGSON, JR.
                                 Presiding Judge
                                 Chancery Division



This motion was:
__ Opposed
__ Unopposed




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CHANA RINGEL AND CR
LAKEWOOD, INDIVIDUALLY,                       SUPERIOR COURT OF NEW JERSEY
AND DERIVATIVELY ON BEHALF                   CHANCERY DIVISION:OCEAN COUNTY
OF BCR LAKEWOOD HOLDINGS,
LLC,                                                      CIVIL ACTION

      Plaintiffs,

             vs.

BR LAKEWOOD, LLC AND                               Docket No. OCN-C-127-15
BENJAMIN RINGEL,

      Defendants,

CHANA RINGEL,
INDIVIDUALLY, AND
DERIVATIVELY ON BEHALF OF
BCR OAKRIDGE, LLC,                                 Docket No. OCN-C-152-16

      Plaintiffs,                                   CERTIFICATE OF SERVICE

             vs.

BENJAMIN RINGEL, SUNSET
HILL OAKRIDGE PLAZA, LLC,
JOHN DOES 1-10, AND ABC
CORPORATION 1-10,

      Defendants.
       OCN-C-000127-15
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     I, Peter C. Harvey, hereby certify that on the 9th day of

March 2022, a true and correct copy of the Memorandum of Law in

Support of Defendants’ Order to Show Cause to Enforce Litigant’s

Rights, the accompanying Certifications of Benjamin Ringel and

Peter C. Harvey with Exhibits, and proposed orders granting

Defendants’ requested relief were served via the New Jersey

Superior Court’s electronic filing notification system upon all

counsel of record.


                                        By:    _______/s/ Peter C. Harvey__
                                                      Peter C. Harvey, Esq.

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DATED: March 9, 2022
